Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 1 of 294 Page ID
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 2 of 294 Page ID
                                  #:2296


                                                                             Page 1

  1                    IN THE UNITED STATES DISTRICT COURT
  2                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  3                             WESTERN DIVISION
  4                                   -oOo-
  5
          PAUL SNITKO, JENNIFER SNITKO, :
  6       JOSEPH RUIZ, TYLER GOTHIER,   :
          JENI VERDON-PEARSONS, MICHAEL :
  7       STORC, AND TRAVIS MAY,        :
                                        :
  8                       Plaintiffs,   :
                                        :
  9       vs.                           :   Case No.
                                        :   2:21-cv-04405-RGK-MAR
 10       UNITED STATES OF AMERICA,     :
          TRACY L. WILKISON, in her     :
 11       official capacity as Acting   :
          United States Attorney for the:
 12       Central District of California:
          and KRISTI KOONS JOHNSON, in :
 13       her official capacity as an   :
          Assistant Director of the     :
 14       Federal Bureau of             :
          Investigation,                :
 15                                     :
                          Defendants.   :
 16       =====================================================
 17
 18               VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF
 19                           LYNNE K. ZELLHART
 20                          FRIDAY, MAY 6, 2022
 21                   WITNESS APPEARING REMOTELY FROM
 22                        LOS ANGELES, CALIFORNIA
 23     REPORTED BY:             SUSAN E. BELINGHERI, CCR #655
                                   NV Firm Lic. #1F
 24
 25


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 3 of 294 Page ID
                                  #:2297


                                                                         Page 2

  1                                  APPEARANCES:
  2                      (all appearances via videoconference)
  3
                                       For the Plaintiffs:
  4
                                 THE INSTITUTE FOR JUSTICE
  5                                  Attorneys at Law
                                By: ROBERT FROMMER, ESQ.
  6                            901 N. Glebe Road, Suite 900
                                    Arlington, VA 22203
  7
  8                               For the Defendants:
  9                        ASSISTANT UNITED STATES ATTORNEY
                               ASSET FORFEITURE SECTION
 10                           By: VICTOR RODGERS, ESQ.
                          312 North Spring Street, 14th Floor
 11                          Los Angeles, California 90012
 12
                              FEDERAL BUREAU OF INVESTIGATION
 13                              OFFICE OF GENERAL COUNSEL
                                By: MEGHAN CAMPBELL, ESQ.
 14
 15
                                         The Videographer:
 16
                                  VERITEXT LEGAL SOLUTIONS
 17                                  By: TERRI PERKINS
 18
                                    The Veritext Concierge:
 19
                                            ROB BENIMOFF
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 4 of 294 Page ID
                                  #:2298


                                                                             Page 3

  1                                       I N D E X
  2
  3       EXAMINATION:                                                           PAGE
  4       By Mr. Frommer                                                               6
  5
  6
  7       EXHIBITS:                                                              PAGE
  8       Exhibit 3..........................................                         38
          Exhibit 4..........................................                         75
  9       Exhibit 5..........................................                         97
          Exhibit 6..........................................                     161
 10       Exhibit 7..........................................                     181
          Exhibit 8..........................................                     199
 11       Exhibit 9..........................................                     201
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 5 of 294 Page ID
                                  #:2299


                                                                              Page 4

  1                      PURSUANT TO NOTICE, and on Friday, the 6th

  2       day of May, 2022, at the hour of 9:08 a.m. of said day,

  3       at the offices of Bonanza Reporting & Videoconference

  4       Center, 1111 Forest Street, Reno, Nevada, before me,

  5       Susan E. Belingheri, a notary public, appeared LYNNE K.

  6       ZELLHART via videoconference.

  7                                        -oOo-

  8

  9                      THE VIDEOGRAPHER:         Good morning.        We are on

 10       the record.      The time is 9:08 a.m. on Friday, May 6th,

 11       2022.

 12                      Please note that this deposition is being

 13       conducted virtually.         Quality of recording depends on

 14       the quality of camera and internet connection of

 15       participants.       What is seen from the witness and heard

 16       on screen is what will be recorded.               Audio and video

 17       recording will continue to take place unless all parties

 18       agree to go off the record.

 19                      This is media unit number one of the video

 20       recorded deposition of Special Agent Lynne Zellhart,

 21       taken by counsel for plaintiffs, in the matter of

 22       Snitko, et al. versus United States of America, et al.,

 23       filed in the United States District Court for the

 24       Central District of California, Western Division.                      Case

 25       Number:    2:21-cv-04405-RGK-MAR.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 6 of 294 Page ID
                                  #:2300


                                                                             Page 5

  1                     This deposition is being conducted remotely,

  2       using virtual technology.          My name is Terri Perkins,

  3       representing Veritext Legal Solutions, and I'm the

  4       videographer.      The court reporter is Susan Belingheri

  5       from the firm Veritext Legal Solutions.               I am not

  6       related to any party in this action, nor am I

  7       financially interested in the outcome.

  8                     If there are any objections to proceeding,

  9       please state them at the time of your appearance.

 10                     Counsel and all present, including remotely,

 11       will now state their appearances and affiliations for

 12       the record, beginning with the noticing attorney.

 13                     MR. FROMMER:        Hello.     My name is Robert

 14       Frommer.    I represent Plaintiffs Paul and Jennifer

 15       Snitko, and the other in this class -- class action.

 16       And I'm with The Institute for Justice.

 17                     MR. RODGERS:        Assistant United States

 18       Attorney Victor Rodgers, appearing on behalf of the

 19       defendants.     And Meghan Campbell is here as well from

 20       the Federal Bureau of Investigation.

 21                     THE VIDEOGRAPHER:         Will the court reporter

 22       please swear in the witness.           And then, counsel, you may

 23       proceed.

 24

 25


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 7 of 294 Page ID
                                  #:2301


                                                                               Page 6

  1                                 LYNNE K. ZELLHART,

  2                         having been remotely duly sworn,

  3                   was examined and testified as follows:

  4

  5                                       EXAMINATION

  6       BY MR. FROMMER:

  7          Q.     Thank you.      And thank you for being here today.

  8       I really appreciate it.

  9                 If we could, if you could just tell me -- state

 10       your full name and title for the record, please.

 11          A.     Sure.     Lynne K. Zellhart.         Z-e-l-l-h-a-r-t.          I'm

 12       a special agent with the FBI.

 13          Q.     Okay.     And I'm Robert Frommer.          My name is Robert

 14       Frommer.      I'm an attorney with The Institute for

 15       Justice.      We're a nonprofit public interest law firm.

 16       And as I just stated, we represent the plaintiffs in

 17       this class action challenge concerning the government's

 18       execution of a seizure warrant at U.S. Private Vaults

 19       back in March 2021.

 20                 Now, before we begin, I want to give some ground

 21       rules.     Have you -- well, let me ask a question first.

 22       Have you ever been deposed before?

 23          A.     I have.

 24          Q.     How many times would you say, approximately?

 25          A.     Once.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 8 of 294 Page ID
                                  #:2302


                                                                              Page 7

  1          Q.    Oh, just once.        Okay.    With FBI agents, I always

  2       figure you guys get, like, deposed all the time.                      So,

  3       yeah, when I talked to the other agent, he had never

  4       been deposed, and -- so that's interesting.

  5                Okay.    Well, let me go through some ground rules,

  6       then, for this deposition, just so we're -- have the --

  7       the same understanding.

  8                I will be asking you questions, and the court

  9       reporter will be recording my questions -- well, and as

 10       well as your answers.          To assist the court reporter,

 11       I'll be sure to speak clearly and audibly, and would

 12       kindly ask that you do the same.              Also, please answer

 13       each question verbally.          I have a bad habit of this

 14       myself, I'll go "uh-huh" or "uh-uh," but the court

 15       reporter can't record gestures like that.                 So -- like

 16       shaking your head or nodding.            So will you be sure to

 17       provide clear and verbal responses, "yes" and "no,"

 18       answers like that?

 19          A.    Yes.

 20          Q.    Okay.    Thank you.

 21                Another issue, and one I have noticed is

 22       particularly pitched with Zoom depositions, is, you

 23       know, normally when we talk with people, we talk over

 24       each other and interrupt as part of the normal flow of

 25       conversation, but in a deposition, that's really


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  1       difficult for the court reporter to get everything down.

  2       Probably be even worse here.             So, therefore, it's

  3       important that you wait until I finish a question before

  4       you begin answering, even if you kind of know where I'm

  5       going.     And by the same token, I'll -- I'll do my best

  6       to let you finish your answer before I start asking

  7       another question.         Do you understand?

  8          A.     Yes.

  9          Q.     Okay.     Great.

 10                 Now, you were sworn in a moment ago by the court

 11       reporter.        Do you understand that you've given an oath

 12       that requires you to answer my questions truthfully and

 13       completely?

 14          A.     Yes.

 15          Q.     It's interesting, right?           Because when an FBI --

 16       like, if somebody -- if you're interviewing somebody and

 17       they lie to you in the course of the investigation, it's

 18       a federal law -- it's a violation of federal law.                          But

 19       this is, like, one of the rare situations where I ask

 20       you questions and you lie -- not that I expect you to --

 21       that would itself be a violation of federal law.                       I

 22       just -- I -- that struck me earlier today.

 23                 And you understand this is the exact same oath

 24       you would take if we were in court and you were

 25       testifying in front of a judge; correct?


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                                                                               Page 9

   1          A.    Yes.

   2          Q.    Now, if you don't understand the question, please

   3      let me know.       I'll either ask the court reporter to read

   4      it back or I'll rephrase to clarify the question.                       But

   5      the important thing is I -- I want to make sure you

   6      understand the question I've asked.                And so will you

   7      tell me if you don't understand the question?

   8          A.    Yes.

   9          Q.    All right.      Now, if you just don't know the

  10      answer to a question, you know, you can say that.                       But

  11      if you do know the answer, you have to provide that

  12      answer in good faith.           And so unless you say otherwise,

  13      I'm going to assume that you understand my question, so

  14      please let me know if at any point you don't.

  15                Now, if you want to talk to Victor, that's fine,

  16      but if there's a question pending or if you're in the

  17      middle of an answer, you have to finish that answer

  18      before speaking to your lawyer.

  19                Now, because it's important to get full,

  20      complete, and accurate answers, I have to ask whether --

  21      are you taking any medication or is there any other

  22      reason why you wouldn't be able to give full, complete,

  23      and accurate testimony today?

  24          A.    No, no reason why I couldn't.

  25          Q.    Okay.    Now, periodically the government's


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   1      attorney might state an objection after I ask a

   2      question.           That doesn't mean you don't have to answer

   3      it.        All that means is the purpose of that objection is

   4      simply to record it so that if we decide to use the

   5      answer to a question in the future, the government can

   6      argue that the question was improper based on the rules

   7      of evidence.           Do you understand?

   8            A.     Yes.

   9            Q.     In fact, did you -- you went to law school;

  10      right?

  11            A.     I did.

  12            Q.     Oh, okay.      Where did you go to law school?

  13            A.     UC Davis.

  14            Q.     Oh, okay.      All right.      Okay.     Well, I'm sure that

  15      will come up after that, later.

  16                   Now, sometimes you might remember additional

  17      information, or maybe you want to clarify your answer to

  18      a previous question, and if that happens, just let me

  19      know that you'd like to add something and we'll -- we'll

  20      -- we'll do that right away so it's still fresh in your

  21      mind.        Will you do that?

  22            A.     Yes.

  23            Q.     Okay.     Now, if you'd like to take a break at any

  24      time, just let me know.              It sounds like we're going to

  25      have a hard 90-minute break every 90 minutes.                      But I'll


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 12 of 294 Page ID
                                   #:2306


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   1      finish my line of questioning, if we're in the middle of

   2      a line of questioning, and let you finish your answer,

   3      and then we can adjourn for a break.                Do you understand?

   4          A.    Yes.

   5          Q.    All right.       And during our conversation you may

   6      think of some documents or materials that might help you

   7      better remember an answer.             If you think of a -- oh,

   8      there is something that would better help me answer

   9      this -- please let me know, because it's possible that

  10      we might have those materials.              Even though we just got

  11      documents from Defendants yesterday, we might be able to

  12      go through and see if we can find those to help you

  13      craft a better answer.             So will you do that, let me

  14      know?

  15          A.    Yes.

  16          Q.    Okay.    Okay.     Well, before we begin, then, let me

  17      ask you -- I've just asked you a bunch of questions.                      Do

  18      you have any questions for me?

  19          A.    No.

  20          Q.    All right.       Fine.     Didn't have to.       Not going to

  21      hold it against you.

  22                All right.       Now, before we begin talking, I want

  23      to get some basic background.             And I know I already

  24      asked this a little bit, but -- so could you give me

  25      your full name again, please?


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 13 of 294 Page ID
                                   #:2307


                                                                          Page 12

   1          A.    Sure.    Lynne K. Zellhart.

   2          Q.    What's the "K" for?

   3          A.    Kathryn.

   4          Q.    Oh, okay.      And -- I always hate asking people

   5      this.     Your age?

   6          A.    Fifty-four.

   7          Q.    Okay.    And where are you from originally?

   8          A.    I was born in Detroit.

   9          Q.    Oh, really?      Okay.     I was born in Toledo, Ohio.

  10      So right down -- the Tigers were my favorite, the team

  11      of my youth.

  12          A.    Yeah.

  13          Q.    And the Lions were, you know, my -- the bane of

  14      my existence.

  15                So -- okay.      So when did you move out to

  16      California?

  17          A.    My family moved to California when I was about

  18      eight.

  19          Q.    Oh, okay.      So -- oh, so pretty early.            So you

  20      lived most of your life in California, then.

  21          A.    Correct.     Yes.

  22          Q.    In -- in sort of the L.A. area?

  23          A.    Orange County.

  24          Q.    Orange County.        All right.

  25                And in terms of, like, your education, I don't


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 14 of 294 Page ID
                                   #:2308


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   1      need to know everything from, like, grade school on,

   2      but -- you know, we talked about this a little bit.                   Can

   3      you tell me, like, your college -- you went to --

   4      college degree?        And I know we just said you went to law

   5      school, so if you'd just go through those for me.

   6          A.    Sure.    I went to college at University of

   7      California, Santa Cruz.           I double majored in English and

   8      politics.      And then I went to law school at UC Davis.

   9          Q.    And when did you graduate from law school?

  10          A.    1993.

  11          Q.    1993.    Okay.

  12                And are you -- did you practice -- have you

  13      practiced -- let me give you a cleaner question than

  14      that.

  15                Once you got your law degree, did you practice

  16      law?

  17          A.    Yeah.    So I've been licensed in the state of

  18      Michigan and the state of California, and I did practice

  19      law.     Both of my -- both my licenses are currently

  20      inactive.

  21          Q.    Oh, okay.      All right.

  22                And is that just because you don't really need to

  23      have them be active while working as an FBI agent?

  24          A.    Correct.

  25          Q.    Okay.    I'm inactive in one jurisdiction for the


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 15 of 294 Page ID
                                   #:2309


                                                                          Page 14

   1      same reason.       I'm just -- well, I'm not an FBI agent,

   2      but I'm living in one place, not the other.                   So that

   3      makes sense.

   4          A.    Expensive.

   5          Q.    Tell me about it.         I always lament seeing those

   6      bar dues come in.

   7                So you said you're a special agent; is that

   8      correct?

   9          A.    Correct.

  10          Q.    And how long have you been with the FBI?

  11          A.    Since 2004.

  12          Q.    Okay.    All right.       And I think I understand this,

  13      but when you come into the FBI, you come in as a special

  14      agent; is that right?

  15          A.    Correct.

  16          Q.    After -- after you go through training and all

  17      that.

  18          A.    Yes.

  19          Q.    Okay.    I get very -- I get very tripped up by the

  20      term "special agent," because every -- all the agents

  21      are special agents, which is very confusing to me

  22      sometimes.

  23                Now, how long -- and -- how long have you been in

  24      your -- well, could you say where in the FBI you

  25      currently work?


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 16 of 294 Page ID
                                   #:2310


                                                                          Page 15

   1          A.    Los Angeles.

   2          Q.    And is there a particular unit that you work in

   3      at the L.A. field office?

   4          A.    Yes.     I'm in the white collar crime squad.

   5          Q.    Okay.     And are there -- is there just one white

   6      collar crime squad, or are there multiple?

   7          A.    There are multiple.         I'm in white collar one.

   8          Q.    And how many white collar units are there in the

   9      L.A. office?

  10          A.    Two.

  11          Q.    Okay.     Two.

  12                And so you -- you're currently with white collar

  13      crime one.        And can you tell me what you did at the FBI

  14      before you joined white collar crime one?

  15          A.    Sure.     And if I can, it's probably going to be

  16      easier to start at the beginning and go forward than to

  17      start at the end and go back.

  18          Q.    That's fine.       Whichever way you want to go.

  19          A.    Okay.     So -- so out of the academy my first

  20      office was Cleveland, I was in the Cleveland division,

  21      where I worked on a drug trafficking squad, task force.

  22      So I worked drug trafficking cases in Cleveland for

  23      about three and a half years.             And then I was

  24      transferred to the Los Angeles office, where I was

  25      assigned to a safe streets task force, which


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 17 of 294 Page ID
                                   #:2311


                                                                          Page 16

   1      investigated gangs, basically.              And worked the safe

   2      streets task force for probably about two or

   3      three years.

   4                And then I worked on another drug task force.

   5      It's called a HIDTA, which it stands for high intensity

   6      drug trafficking.         So I worked on a HIDTA squad.              From

   7      my time in the HIDTA squad, I started working money

   8      laundering cases, because the drug trafficking and the

   9      money laundering are frequently connected.                  And so I

  10      began working money laundering emphasis off of my HIDTA

  11      squad, and was assigned to a money laundering task force

  12      with -- in conjunction with L.A. County Sheriff's.                     So I

  13      was the sheriff's federal person on their money

  14      laundering task force.

  15                At -- while I was on that task force, money

  16      laundering became a white collar offense rather than a

  17      drug offense, so they sort of reconceived it at the FBI,

  18      and that's how I got to the white collar squad.

  19          Q.    Oh, okay.      So it wasn't so much that your job

  20      changed, but as -- as the classification.

  21          A.    A little bit.       But while on a white collar squad,

  22      I do -- I do all the white collar crimes.                  So I also

  23      investigate bank fraud, and credit card fraud, and --

  24      but primarily money laundering.              Money laundering is --

  25      is my -- is my primary focus.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 18 of 294 Page ID
                                   #:2312


                                                                          Page 17

   1          Q.    Okay.

   2          A.    Most of my cases are money laundering cases.

   3          Q.    All right.      So you said you were in Cleveland,

   4      and I think you said you were on a task force there;

   5      correct?

   6          A.    Correct.

   7          Q.    And then you were -- did the safe streets task

   8      force.     And then you did the -- the high intensity --

   9      I'm not even going to try to say it -- the high

  10      intensity drug task force.

  11          A.    Correct.

  12          Q.    And then -- and now you're on an anti-money

  13      laundering task force with -- with L.A. -- with the L.A.

  14      Police Department?

  15          A.    L.A. County Sheriff's.

  16          Q.    Oh, L.A. County Sheriff's.

  17          A.    And that task force resolved around, probably

  18      about 2016 or 2017.          They were on a grant, and the grant

  19      expired.      So once the grant expired, the task force

  20      expired, but I continued working money laundering.

  21          Q.    Oh, okay.      And you did that through white collar

  22      crime one.

  23          A.    Correct.

  24          Q.    Okay.    I think I get it now.           All right.        So that

  25      is a -- that's a long task force.


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                                   #:2313


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   1                So you said that you worked on all white collar

   2      crimes, but it sounds like you have sort of a special

   3      focus on anti-money laundering; is that -- is that fair

   4      to say?

   5          A.    Correct.

   6          Q.    Okay.     Now, often -- like, I know that with money

   7      laundering there's often elements of, like, asset

   8      forfeiture involved with -- well, obviously, because if

   9      money -- if it's dirty money, then it's subject to

  10      forfeiture.        And what's your familiarity with, like --

  11      with, like, civil forfeiture, asset forfeiture?

  12          A.    Prior to this case, almost none.              You know,

  13      everything I've -- almost everything I know about it I

  14      know from working U.S. Private Vaults.

  15          Q.    Really?     So in the previous task force that you

  16      were involved with, you didn't really have a connection

  17      to any civil forfeiture work?

  18          A.    No, we did.      I did, I just don't -- there -- we

  19      have people at our office who do that.                 We have agents

  20      who -- or they're -- they're paralegals, or sometimes

  21      they're retired agents who come back who handle it.                   And

  22      so a lot of times our job is to tell them what's going

  23      on, and then they sort of take the baton and run.

  24          Q.    I see.     So it sounds like -- so you're -- you're

  25      familiar with asset forfeiture, it's not your work


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   1      however; is that correct to say?

   2            A.    Right.     Right.     So -- so I will -- I will let

   3      them know when there's a forfeiture, or there's

   4      forfeiture potential, or there might be forfeiture, and

   5      then they sort of run the program.                 And may come back to

   6      me to ask me this or that, but they kind of run the

   7      show.

   8            Q.    Okay.    All right.       And who -- so there's a

   9      specialized unit at -- in the L.A. field office that's

  10      dedicated to asset forfeiture?

  11            A.    Correct.

  12            Q.    Who runs that?

  13            A.    The supervisor is -- is Jessie Murray.

  14            Q.    And you had said that you didn't really have all

  15      that much interaction with civil forfeiture or the asset

  16      forfeiture team prior to the U.S. Private Vaults case;

  17      is that correct?

  18            A.    I mean, that's -- that's true.             I -- again, I

  19      know who the asset forfeiture people are, I have spoken,

  20      you know, over the course of my career with the asset

  21      forfeiture AUSAs, but it's -- it's not primary.                        It's

  22      usually, like:          I have this asset forfeiture thing.

  23      Hey, what do I do?           And then they -- they kind of run

  24      it.

  25            Q.    I see.     So it's more like you identify a


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                                   #:2315


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   1      potential forfeiture issue, and then you hand it off to

   2      them, and then they -- and then they, as you said, take

   3      the baton and run with it.

   4          A.    Correct.     And they will come back to me with --

   5      one in particular that was an ongoing investigation, and

   6      we kind of had to file continuances with the court, it

   7      was under seal, and it would come back to me and I would

   8      explain where we were in the investigation.                   So there's

   9      back and forth, but I'm not -- I never am leading that

  10      part of the investigation.

  11          Q.    Okay.    So, you know, you said that you would

  12      identify, for Jessie Murray's team, potential forfeiture

  13      issues, or potential situations where there might be

  14      forfeiture.

  15                Before Private Vaults, like, how many -- before

  16      the Private Vaults situation in particular, how many

  17      times would you say you identified forfeiture issues

  18      to -- to them, or others, at the FBI?

  19          A.    Less than ten.

  20          Q.    Okay.    All right.       And I'm not holding you to a

  21      specific number.

  22                So it sounds like it's a -- it wasn't that common

  23      of a recurrence.

  24          A.    Correct.     And also working on different task

  25      forces, as I described.           A lot of times it also wouldn't


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                                   #:2316


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   1      be us.     So if I'm working on a task force, it may be one

   2      of the other agencies who handle the forfeiture.                     So,

   3      for example, on drug task forces, we tend to seize a lot

   4      of money in drug cases, but I don't remember being very

   5      involved with that.

   6          Q.    Do you know in those situations what -- who is

   7      handling the asset forfeiture piece of it?

   8          A.    No.     And, again, I'm kind of going back into the

   9      early parts of my career.

  10          Q.    Okay.

  11          A.    And --

  12          Q.    Well, I want -- I guess I want to focus -- let me

  13      ask this:       Since you've been in the L.A. field office,

  14      how many times have you sort of -- have you identified

  15      forfeiture issues?

  16          A.    Again, I've been in the L.A. field office since

  17      2008, so --

  18          Q.    So it's not that much different than what -- than

  19      the --

  20          A.    No.

  21          Q.    -- less than ten?

  22          A.    Correct.

  23          Q.    Okay.     All right.

  24                And have you gotten training on asset forfeiture

  25      before?


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                                   #:2317


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   1            A.     Not specifically.         I've been to a bunch of

   2      trainings that will do money laundering and asset

   3      forfeiture, so I guess yes.                Sometimes U.S. Attorney's

   4      Office will hold one.              I think I've been to one or two

   5      here.        Sometimes FBI will have big, like, week-long

   6      trainings, and -- and asset forfeiture might be a block

   7      of it.        So -- so, yes, I've probably been to some

   8      training.

   9            Q.     Okay.     All right.

  10                   Is that -- and that's -- is that pretty common,

  11      for people in the money laundering, drug interdiction

  12      space, to have some training on asset forfeiture?                          In

  13      your experience.

  14            A.     Probably.

  15            Q.     Okay.     And can you explain, like, what -- what --

  16      what motivated you to join the FBI?

  17            A.     Well, 9/11 was part of it.            Kind of everybody who

  18      came in when I did at least had some motivation from

  19      9/11.        I thought it would be a good -- a good use of all

  20      of my skills; writing skills, speaking skills.                          I'm an

  21      athlete, so I thought I could pass the physical part of

  22      it.        I thought it would be a good use of my skills and

  23      that I might be able to do some good.

  24            Q.     Oh.     That's -- that's very laudable.             Thank you

  25      for doing that.


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                                   #:2318


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   1                And so -- all right.          So what did you do before

   2      you joined the FBI?          Were you in private practice?

   3          A.    Yeah.     Just prior to joining the FBI I worked for

   4      a law firm in Sacramento called Friedman, Collard,

   5      Cutter & Panneton.         I worked for, specifically for John

   6      Panneton, who's an attorney in Sacramento.

   7          Q.    Okay.     What kind of work was that?

   8          A.    It was primarily civil litigation, plaintiff

   9      civil litigation.         A little bit of white collar defense.

  10          Q.    So plaintiff civil litigation.             Let me ask you

  11      this:     Have you ever taken a deposition before?

  12          A.    Yes.

  13          Q.    Okay.     All right.      Thank you for that.

  14                So when you joined the FBI -- I understand, like,

  15      when people join the FBI there's some pretty intense

  16      training.        Did you undertake some type of training?

  17          A.    Yes.     Sixteen weeks at Quantico.

  18          Q.    Okay.     Sixteen weeks.       Wow.

  19                So what -- when you were at Quantico, like -- can

  20      you sort of describe to me the different sort of

  21      subjects that -- that the FBI would train you on?

  22          A.    Sure.     So a lot of block -- a lot of instruction

  23      on firearms, a lot of instruction on defensive tactics,

  24      there's a lot of physical fitness training.                   And then

  25      the classroom training is -- is legal, investigative.


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   1      They sort of cover everything.              Counterintelligence,

   2      counterterrorism, regular crime, all different types of

   3      crime, handling informants.             And then there's a

   4      practical portion of it where you're out doing practical

   5      applications of what you're learning in the classroom.

   6          Q.    Is that in, like, that Hogan's Alley that I've

   7      heard about?

   8          A.    Correct.

   9          Q.    Okay.     That sounds like a -- that sounds like it

  10      would be really something.            It would be -- it would be

  11      quite a learning experience, I would think.

  12                What was your impression of Hogan's Alley?

  13          A.    When you're there, you're training, so it's

  14      actually not that much fun.

  15          Q.    Oh.     I can understand that.         Having, like, the

  16      instructors look you over and making -- and saying

  17      everything you did wrong makes it a slightly more

  18      stressful situation.

  19                So you said all that was occurring over, like,

  20      four months?

  21          A.    Correct.

  22          Q.    Okay.     And I know you mentioned that they train

  23      new cadets on the law; is that right?

  24          A.    Yes.

  25          Q.    Why do they teach -- why do they teach the -- the


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                                   #:2320


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   1      cadets -- well, first off, can you explain, when you say

   2      "the law," the law, as you and I both know, is a rather

   3      broad thing.       So, like, what aspects of the law would

   4      they sort of -- would they teach to the cadets?

   5          A.    There's two blocks of instruction that are --

   6      that are called "legal."            It's mostly criminal

   7      procedure, but it also includes a lot of -- of things

   8      that are particular to us, like use of deadly force.

   9      Most of it's criminal procedure, jurisdiction, what we

  10      have -- you know, we don't have -- we can't make traffic

  11      stops.     We can't -- we can't arrest somebody for

  12      shoplifting at Costco.           We don't have jurisdiction.

  13      So -- so a lot of it's -- it's jurisdiction, it's lot of

  14      criminal procedure, and it's a lot of, like, deadly

  15      force and -- and use of force.              And there's some other

  16      things as well.

  17          Q.    Oh, okay.      So it sounds like a lot of it, then,

  18      is -- the jurisdiction one would be very helpful.                    That

  19      would be a bad thing to accidentally act when you

  20      shouldn't have.        But it sounds like a lot of it, then,

  21      is about, as you said, criminal procedure, sort of the

  22      rules and laws surrounding how you investigate crime,

  23      how you arrest people, how you, you know, search and

  24      seize.     Is that generally correct?

  25          A.    Correct.


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                                   #:2321


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   1          Q.    Okay.     And is it fair to say that they teach you

   2      that, those areas of law, the criminal procedure, so

   3      that you and the other -- once you're FBI agents, you

   4      don't inadvertently violate someone's constitutional

   5      rights?

   6                        MR. RODGERS:      Objection, speculation, lacks

   7      foundation.

   8      BY MR. FROMMER:

   9          Q.    I'm asking -- I'm asking you personally.                   Do you

  10      believe that that's one of the reasons -- is that one of

  11      the reasons you --

  12          A.    Yes.

  13          Q.    -- understood that?         Yeah.

  14                And do they teach you substantive -- like,

  15      substantive criminal law?            Like, what -- what are the

  16      various crimes?

  17          A.    Not exactly.       That would be more in the

  18      investigative training unit, where they kind of come in

  19      and you'll get a block of instruction on, like, white

  20      collar crime, and you'll get a block of instruction on

  21      drug trafficking, and how you might investigate that.

  22      But it's more geared towards how you might investigate

  23      it, not what the laws are.            So --

  24          Q.    Okay.

  25          A.    -- they don't drag out the code books and, you


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                                   #:2322


                                                                          Page 27

   1      know.

   2          Q.    Thankfully.      Okay.     That makes sense.         I

   3      understand.

   4                So they're teaching you -- to the extent they

   5      teach you substantive law, it's in -- it's in the

   6      context of how to investigate potential violations of

   7      those laws.

   8          A.    Correct.

   9          Q.    Okay.    So when you -- when you did Hogan's Alley,

  10      and -- those were all those criminal procedure, do they

  11      teach you how to make an arrest?

  12          A.    Well, I'm not -- I'm not really sure what you

  13      mean by that.

  14          Q.    Well, I mean --

  15          A.    They teach us how to put handcuffs on somebody,

  16      is that what you mean?

  17          Q.    Yeah.    Well, yeah.       Literally, like if there's a

  18      crime -- you know, if you're arresting someone for a

  19      crime you -- you handcuff them, you read them their

  20      Miranda rights.        You know, do they teach you those

  21      various sort of steps in arresting someone?

  22          A.    Yes.

  23          Q.    Okay.    And is it fair to say that the reason they

  24      teach that, in your opinion, is so that you don't

  25      accidentally make a bad arrest, an arrest that would


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                                   #:2323


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   1      later potentially get tossed out?

   2          A.    No.     Actually, I really wouldn't characterize it

   3      like that.        So what we do is so different from what

   4      police do.        I mean, we're generally going in with a

   5      warrant already.         So we usually have these big

   6      investigations that end with an indictment and arrest

   7      warrants.       And so what we're doing in Hogan's Alley and

   8      that type of training, they usually start the scenario

   9      with:     You have an arrest warrant for this guy, you have

  10      information that he's in this location, go do it.

  11          Q.    Oh, okay.      So it's mostly about -- they teach you

  12      how to make an arrest just for the -- to make sure you

  13      do the arrest correctly; is that fair?

  14          A.    Safely and correctly, yes.

  15          Q.    Okay.     And do they teach you how to apply for a

  16      search or seizure warrant?            Let me -- let me correct

  17      that.

  18                When you're doing training at Quantico, did they

  19      teach you how to apply for a search or seizure warrant?

  20          A.    Not exactly, no.

  21          Q.    You said "not exactly," so it seems like there's

  22      something that --

  23          A.    They teach you how to investigate -- investigate

  24      the case.       And they would tell you that at this point,

  25      you know, you have enough information, get with your


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                                   #:2324


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   1      AUSA and get a warrant.           But they don't go through the

   2      nuts and bolts.        You don't really do that until you get

   3      in the field and work a case and work with the United

   4      States Attorney's Office.

   5          Q.    Oh, okay.      That makes sense.         Until you're in the

   6      field, you can't really -- it's a little bit of

   7      on-the-job training?

   8          A.    Correct.

   9          Q.    Okay.    Well, do they -- okay.           So I understand

  10      the applying part.         That's more of what happens --

  11      applying for a warrant, that's more of what happens with

  12      the AUSA once you're out of Quantico and you're

  13      assigned.

  14                When you're at Quantico, do they teach you how to

  15      execute a search or seizure warrant?

  16          A.    I mean, yes.       Again, that's -- that's the

  17      tactical part.        So they would start with:            You have a

  18      warrant.      You know, go execute it.

  19          Q.    I hope they give you a little more instruction

  20      than that.

  21          A.    I don't -- I kind of don't know what you're

  22      asking.     I don't know where you're going.               I don't know

  23      what you're trying to get to.             So I'm trying to answer

  24      the questions like it's not -- how to do this really --

  25      you really learn this more in the field than you learn


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                                   #:2325


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   1      it at Quantico.

   2          Q.    Okay.     When they -- I get that, but, like, do

   3      they give -- does Quantico provide, like, materials?

   4      You said you have these blocks.              Like, do they give you,

   5      like, training guides or manuals to explain how to do

   6      things like make an arrest or execute a warrant?

   7          A.    No, not really.        I don't -- I never got a manual

   8      at --

   9          Q.    You never --

  10          A.    -- Quantico.

  11          Q.    You never got a manual at Quantico?

  12          A.    I got a manual in the field, but I never got a

  13      manual -- we didn't study off a -- of a written --

  14          Q.    Oh.

  15          A.    -- book.

  16          Q.    Okay.     What was the manual you got once you

  17      were -- got into the field?

  18          A.    It's call a DIOG.         The Domestic Investigations

  19      Operations Guide.

  20          Q.    Oh, okay.      All right.      So the DIOG is where an

  21      FBI special agent would turn to basically see what FBI

  22      policy is about how to conduct some aspect of an

  23      investigation --

  24                        MR. RODGERS:      Objection --

  25


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                                   #:2326


                                                                          Page 31

   1      BY MR. FROMMER:

   2          Q.    -- is that correct?

   3                        MR. RODGERS:      Objection, overbroad,

   4      speculation.

   5      BY MR. FROMMER:

   6          Q.    Please, go ahead and answer it.

   7          A.    The DIOG is big -- is a big, fat manual with lots

   8      of information in it.           And yes, you -- you consult it.

   9      So if you have a question about something, you -- you

  10      might go into the DIOG and look for the answer.

  11          Q.    Okay.     So, for instance, if you wanted to know

  12      how am I supposed to do this arrest, or what's the

  13      arrest procedures, you would look to the relevant

  14      portion of the DIOG for guidance.

  15          A.    You could, but you wouldn't.             You'd go to an

  16      agent who's -- who's -- you would go to a senior agent.

  17      Like, it's a -- it's very much on-the-job training.

  18      Like, when you start, you have a -- you have a training

  19      agent, and you're with other senior agents, and you

  20      learn from them, and you learn the process and the

  21      procedures.

  22                You can consult the DIOG if you have a question.

  23      If there's something -- something unusual, something you

  24      don't do all the time, something that nobody knows how

  25      to do, or there's a -- there's a question, there's an


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                                   #:2327


                                                                          Page 32

   1      issue, you would go to the DIOG and look it up and see,

   2      well, what does the DIOG say.

   3                But in general, the -- the training is -- is real

   4      life.     It's you just go do the job.             And you do it under

   5      the supervision -- supervisory of training agents.                   You

   6      know, you bring in whatever skills you have, and you --

   7      you work through your time as a probationary agent.

   8          Q.    Okay.    I think that makes sense.

   9                So is it fair to say, then, that while the DIOG

  10      exists, although the DIOG exists, that often -- in your

  11      experience, at least -- you would learn how to do things

  12      by getting advice from other FBI agents?

  13          A.    Correct.

  14          Q.    Okay.    And that the DIOG was there more as a --

  15      as a resource if you wanted it; is that correct?

  16          A.    Correct.

  17          Q.    Okay.    How many times would you say that you

  18      referred to the DIOG, actually looked up stuff,

  19      something in the DIOG, since you've been in the L.A.

  20      field office?

  21          A.    Fewer than ten.

  22          Q.    Okay.    So it's -- yeah.         And, again, I'm not

  23      asking for a precise number, but --

  24          A.    It's like an encyclopedia.            You go to it -- it's

  25      a resource.       "Resource" is great word.            It's like a


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                                   #:2328


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   1      dictionary, or encyclopedia, or a thesaurus.                   If you

   2      need it, it's there.          You go to it, you -- you find it,

   3      and you look it up.

   4          Q.    Okay.

   5          A.    But there's other ways to get answers to

   6      questions.

   7          Q.    Rather than going through a 1,200 page tome?

   8          A.    Correct.

   9          Q.    So -- all right.        So I know you -- you did the

  10      four months at Quantico, you graduated.                 Then you become

  11      an FBI special agent, and it sounds like you've been --

  12      gone quite a few different places.

  13                Once you're a special agent, do -- do they give

  14      you -- does the FBI provide any type of continuing

  15      training?

  16          A.    Yes.    There's training -- there's mandatory

  17      trainings we have to take every year, there's -- that

  18      are online, there's continuing stuff, there's trainings

  19      on all kinds of different topics that might be specific

  20      to what you're -- what you're doing or investigating.

  21      Trainings offered all the time.

  22          Q.    Okay.    And I was going to ask, like, is

  23      continuing training regular, and it sounds like it is in

  24      fact a regular activity.

  25                Do they -- does the FBI, when they provide this


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                                   #:2329


                                                                          Page 34

   1      continuing training, do they give training on, like,

   2      changes in the law?          Like, to the extent it affects

   3      how -- criminal procedure?

   4          A.    Hundred percent, yes.           We get legal training, I

   5      think, every quarter.           And that's one of the main things

   6      they do, is they'll say:            Oh, the Supreme Court case,

   7      the Booker case came out.            This is what it is, this is

   8      what it means, this is how it affects you, you know.

   9          Q.    Okay.     And --

  10                        MR. RODGERS:      I'm sorry.      Can we hold for

  11      just a second?        Are you seeing my emails that are

  12      popping up?

  13                        MR. FROMMER:      No.

  14                        MR. RODGERS:      They're not popping up?

  15      Because they're popping up on our screen.

  16                        MR. FROMMER:      No.    All -- the only thing we

  17      see is -- I see your shoulder and Special Agent

  18      Zellhart.      That's all I see.          Well, and the backpack

  19      over there behind you.

  20                        THE VERITEXT CONCIERGE:          Yeah, I'll confirm

  21      that.     This is the concierge, tech support.                I can

  22      confirm that we are not seeing your emails.

  23                        MR. RODGERS:      Thank you.      I thought I shut

  24      that off, but I'm having problems.               I'm sorry.          Go

  25      ahead.


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   1                        MR. FROMMER:      Oh, no.     It's fine.      I can

   2      understand.        That would be a slight concern.

   3                        MR. RODGERS:      Right.

   4      BY MR. FROMMER:

   5          Q.    So they give you -- it's fair to say, then, that

   6      the FBI regularly provides training on legal changes.

   7          A.    Yes.

   8          Q.    And is the -- do you understand that the -- the

   9      purpose for that to be so that when you're conducting

  10      FBI business, you do so consistent with the laws and

  11      constitution?

  12          A.    Correct.

  13          Q.    Okay.     Now, I know for Quantico a minute ago you

  14      said that they didn't really have very many training

  15      materials, but when you do this sort of continuing

  16      training, do they provide you with materials to review

  17      or use?

  18          A.    Not really.      I mean, they'll have -- sometimes

  19      they'll have, like, a PowerPoint presentation that they

  20      show you.        But there's -- it's not -- there's not like a

  21      book, or anything.

  22          Q.    Oh, okay.      All right.

  23          A.    That's the same thing at Quantico.               I could add

  24      that most of the instruction is by PowerPoint, or was in

  25      2004.     I don't know what they're doing now.                But they


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                                   #:2331


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   1      would do a PowerPoint presentation.                But you didn't, you

   2      didn't -- you didn't have it.             It wasn't handed out.           It

   3      wasn't --

   4          Q.    They didn't give you copies of the slides?

   5          A.    No.

   6          Q.    Okay.    That's -- that's interesting.

   7                Oh, yeah, I -- I talked a little bit about -- we

   8      talked a little bit about, like, asset forfeiture

   9      training generally, but, like, when you've done this

  10      continuing training, have there been any modules

  11      regarding asset forfeiture?

  12          A.    I think so, yes.

  13          Q.    Do you remember when, approximately, your last

  14      training concerning asset forfeiture was?

  15          A.    I don't.     I'm pretty sure we've done -- it was --

  16      came up in legal at some point, but I don't remember

  17      when.

  18          Q.    Okay.    That's fine.

  19                All right.      Let me -- so you have been with the

  20      FBI since -- is 2004, is that correct?

  21          A.    Correct.

  22          Q.    All right.      And based on your history, your

  23      employment history while at the FBI, you know, Cleveland

  24      and then the L.A. safe streets, and the drug -- high

  25      intensity drug task force, is it fair to say that you're


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                                   #:2332


                                                                          Page 37

   1      very experienced in drug interdiction and anti-money

   2      laundering investigations?

   3          A.    Yes.

   4          Q.    Is it fair to say you're very experienced on

   5      asset forfeiture?

   6          A.    I'm getting there.         No.    I mean, I wouldn't -- I

   7      wouldn't characterize it that way.               I am -- I'm

   8      considered a money laundering subject matter expert at

   9      the FBI, and I am not considered an asset forfeiture

  10      anything.

  11                But at this -- but like everything we do, I've

  12      done it a lot now in the last year, I've dealt with it a

  13      lot, and so what happens is people who have questions

  14      will come to me and say:            Hey, Lynne, you know, I'm

  15      having this happen.          What do I do or who do I talk to?

  16      And then I usually direct them to one of the asset

  17      forfeiture people.

  18          Q.    Okay.    So is it fair to say, like, you have

  19      learned enough so as to -- let me -- let me -- I want to

  20      make sure this actually is a clean question.

  21                Is it fair to say that with regards to asset

  22      forfeiture you've learned enough so as to properly set

  23      up a case to be able to hand it over to the asset

  24      forfeiture people?

  25          A.    I mean, yeah.       I think so, yeah.


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                                   #:2333


                                                                          Page 38

   1          Q.    Okay.     Well, it sounds like -- and you know

   2      enough about asset forfeiture to, when other people come

   3      to you with an asset forfeiture question, to either

   4      answer it or send them over to the asset forfeiture

   5      people.

   6          A.    Yeah.     The question is usually:           Who over there

   7      should I talk to?

   8          Q.    Not a particularly substantive question.

   9          A.    Yeah.     That's correct.

  10          Q.    Okay.     All right.

  11                        MR. FROMMER:      Okay.    Give me just a second,

  12      please.     All right.

  13                        All right.     I am about to introduce an

  14      exhibit.      Hopefully this goes well.

  15                        (Exhibit 3 marked at this time.)

  16      BY MR. FROMMER:

  17          Q.    All right.      You should have in that folder now an

  18      exhibit marked Exhibit 3, Zellhart Exhibit 3.                   And this

  19      is the warrant and supporting application for the U.S.

  20      Private Vaults case.           Do you see Exhibit 3?

  21          A.    Yes.

  22                        THE VERITEXT CONCIERGE:          Counsel, do you

  23      want that screen shared?

  24                        MR. RODGERS:      We have it.

  25                        THE VERITEXT CONCIERGE:          I'm asking the


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                                   #:2334


                                                                             Page 39

   1      questioning attorney, do you want this screen shared for

   2      the picture in picture purposes?

   3                         MR. FROMMER:        Yeah, please.

   4                         THE VERITEXT CONCIERGE:            Okay.    Stand by.

   5      One second.

   6                         Terri, good?

   7                         THE VIDEOGRAPHER:           Got it.     Thank you.

   8                         MR. FROMMER:        And can we go to -- do I have

   9      control over the exhibit, or --

  10                         THE VERITEXT CONCIERGE:            I'll give you

  11      control, sir.

  12                         MR. FROMMER:        Okay.     Let me go down to --

  13      I'm going to go down --

  14      BY MR. FROMMER:

  15            Q.     Well, first, Special Agent Zellhart, I purport to

  16      say that this is the warrant and supporting application.

  17      Does that -- does -- for the U.S. Private Vaults seizure

  18      warrant.         Do you agree that this is what that document

  19      is?        And you can take a few minutes to go through it, if

  20      you'd like.

  21                         MR. RODGERS:        I'm sorry.        Could you identify

  22      that -- that again?             We're going through the exhibit

  23      and, quite frankly, I missed your identification.                       Did

  24      you ask if this was the warrant for the U.S. Private

  25      Vaults matter?


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                                   #:2335


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   1                          MR. FROMMER:      Yes.    I asked if this is the

   2      warrant, the warrant application, the underlying

   3      affidavit, for the U.S. Private Vaults matter.

   4      BY MR. FROMMER:

   5            Q.    And take your time to look through it.

   6                  Did you have a chance to review the document?

   7                          MR. RODGERS:      We're -- we're still going

   8      through it.

   9                          THE WITNESS:      Okay.

  10                          MR. RODGERS:      The witness can answer, but

  11      this appears to be the -- the search warrant, the

  12      application for the search warrant, the affidavit in

  13      support of the application for the search warrant.                     The

  14      seizure warrant, the application for the seizure

  15      warrant, the affidavit in support of the application for

  16      the seizure warrant.

  17                          MR. FROMMER:      You are being far more

  18      exhaustive than I am, Victor, so thank you.

  19      BY MR. FROMMER:

  20            Q.    But Special Agent Zellhart, do you agree with

  21      your counselor's representation about what this document

  22      is?

  23            A.    Yes.

  24            Q.    Okay.     So I know before that you said you'd had

  25      some training on anti-money laundering and asset


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                                   #:2336


                                                                          Page 41

   1      forfeiture.        And so can you go to page 28?            And it's

   2      lines 22 through 25 that I'm focused on.

   3                        MR. RODGERS:      Are you referring to Bates

   4      stamped page 28?

   5                        MR. FROMMER:      USAO 28, yeah.        Sorry about

   6      that.

   7                        MR. RODGERS:      We are on that page.

   8                        MR. FROMMER:      Okay.

   9      BY MR. FROMMER:

  10          Q.    And can you read the sentence that begins on line

  11      22 and ends on line 25?

  12          A.    Sure.

  13                I have also attended a 40-hour asset

  14      forfeiture/money laundering class, two week-long money

  15      laundering facilitation conferences, and several other

  16      conferences sponsored by the various anti-money

  17      laundering interests.

  18          Q.    Okay.     And I assume, since you put that in your

  19      affidavit, that's true; correct?

  20          A.    Correct.

  21          Q.    Can you tell me a little bit about -- it says,

  22      "several other conferences sponsored by the various

  23      anti-money laundering interests," and I was just

  24      wondering if you can describe to me who some of those

  25      groups might be and the conferences you attended.


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                                   #:2337


                                                                          Page 42

   1          A.    Sure.    When I was with the Los Angeles County

   2      Sheriff's task force, that task force was set up by

   3      funding from a lawsuit Arizona -- Phoenix, Arizona did

   4      with Western Union.          As part of the settlement, Western

   5      Union funded anti-money laundering task forces across

   6      the southwest.        So they were in Phoenix, they were in

   7      San Diego, they were in Los Angeles, they were in New

   8      Mexico, I think we had one in Texas.                So the entire

   9      southwest border was funded with money laundering --

  10      anti-money laundering task forces.

  11                And those groups met -- as a group met, I think,

  12      every six months to, you know, to exchange information,

  13      to, you know, give progress reports, updates, best

  14      practices, that type of thing.              I didn't go to all of

  15      those, but I went to many of them.

  16          Q.    Okay.    So when you were talking about the

  17      conferences, you were thinking specifically about the

  18      ones with the other task force dealing with money

  19      laundering issues in the southwest; is that correct?

  20          A.    Correct.

  21          Q.    Okay.    And in the next sentence it says -- I'll

  22      just read this:

  23                I have made presentations on money laundering

  24      investigations at several training conferences,

  25      including the asset forfeiture summit for law


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                                   #:2338


                                                                          Page 43

   1      enforcement executives --

   2                And I believe -- let me see if I can turn the

   3      page.

   4                -- in March of 2018.

   5                So can you tell me a little bit about that

   6      training that you gave?

   7          A.    Yes.     I gave the money laundering portion of the

   8      training.        They -- the law enforcement officers, I

   9      think, were there for the asset forfeiture, but I was

  10      there -- I was the money laundering block of

  11      instruction.        So my presentation --

  12          Q.    Okay.

  13          A.    -- was on money laundering.

  14          Q.    Got it.     All right.      Very good.

  15                Do you happen to have any of the materials that

  16      were used at those conferences?

  17          A.    I don't know.

  18          Q.    Okay.     That's fine.

  19                I have a, just sort of a general question, and

  20      maybe you can help me with it, because I -- I saw --

  21      I've seen some -- a term that I hadn't heard about

  22      before.     It was a -- it was CATS.            It was, like, one of

  23      those acronyms, but it was called CATS.                 Do you -- do

  24      you know what CATS is?

  25          A.    I know what it is, but I don't know what it


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 45 of 294 Page ID
                                   #:2339


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   1      stands for.        So CATS ID number is a -- is an

   2      identification number we use to identify an asset.                     But

   3      I don't know what the acronym stands for.

   4          Q.    Okay.     And do you know who runs that system?

   5          A.    I don't.

   6          Q.    Okay.     Is it -- it's a DoJ system; correct?

   7          A.    I don't know.

   8          Q.    Okay.     You don't know?

   9                Okay.     And you said that's where all assets

  10      are -- is the purpose of CATS to create a record of

  11      every asset that has been seized by, I guess, the FBI

  12      and other participating agencies?

  13                        MR. RODGERS:      Objection, lacks foundation,

  14      calls for speculation.

  15                        THE WITNESS:      And I'm not sure.

  16      BY MR. FROMMER:

  17          Q.    Okay.

  18          A.    Like I said, I know from -- from a practical

  19      point of view, when we have an asset it needs a CATS ID

  20      number.     And that's why you call the asset forfeiture

  21      team and tell them what you're doing, and then they jump

  22      into action.

  23          Q.    Does every single item -- let's say I have, I

  24      don't know, you know, just like a magazine.                   Like a

  25      comic book.        Okay?   And -- and for some reason there's


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                                   #:2340


                                                                          Page 45

   1      an inventory done, and my comic book is there.                       Would

   2      that get a CATS number?

   3                      MR. RODGERS:        Lacks foundation, calls for

   4      speculation.

   5                      THE WITNESS:        Not necessarily.

   6      BY MR. FROMMER:

   7          Q.    So I guess the question is, what do you mean

   8      by -- what is -- when you use the term "asset" with

   9      regards to CATS, what -- what is your understanding of

  10      what the term "asset" means?

  11                      MR. RODGERS:        Same objections.

  12                      THE WITNESS:        And I don't -- I don't -- I

  13      don't know how to answer that.              Like, my job is very

  14      practical.      If I'm, say, in a drug case and we're

  15      seizing drug proceeds, that's -- cash is clearly an

  16      asset, and it's -- it's subject to forfeiture because

  17      it's proceeds of a crime.            So I know that.

  18                      The nuts and bolts of how that works

  19      internally is someone else's specialty.                 So what I need

  20      to know is I need to identify, hey, this is proceeds of

  21      a crime, it's cash, it's valuable.               I don't want to give

  22      this back to the bad guy.            I think this -- I think this

  23      needs a CATS ID, I think this needs asset forfeiture to

  24      be involved, and then I get them involved.

  25


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                                   #:2341


                                                                          Page 46

   1      BY MR. FROMMER:

   2          Q.    Okay.     So is it fair to say, then -- so if you

   3      find a piece of evidence, just a piece of evidence,

   4      in -- while investigating a crime, do all -- does every

   5      piece of evidence that you find get a CATS number?

   6                        MR. RODGERS:      Objection --

   7      BY MR. FROMMER:

   8          Q.    Can you -- I'm sorry.          Let me rephrase.

   9                Let's say you find a piece of evidence.                    You're

  10      going to seize the piece of evidence as part of the

  11      investigation.        Does it -- would that evidence get a

  12      CATS number?

  13                        MR. RODGERS:      Objection, lacks foundation,

  14      calls for speculation, assumes facts not in evidence.

  15                        THE WITNESS:      And the answer is no.

  16      BY MR. FROMMER:

  17          Q.    Okay.     So items --

  18          A.    No.

  19          Q.    -- that are seized -- is it fair to say, then,

  20      that items that are seized for just evidentiary purposes

  21      are not given a CATS number?

  22                        MR. RODGERS:      Same objections.

  23      BY MR. FROMMER:

  24          Q.    Based on your understanding of being an FBI agent

  25      for 18 years.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 48 of 294 Page ID
                                   #:2342


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   1                        MR. RODGERS:      Same objections.

   2                        THE WITNESS:      So it could be both.             Right?

   3      So it could have both evidentiary value and it could

   4      have forfeiture -- asset forfeiture potential.                       For

   5      example, if I seize cash that had dye pack on it from

   6      a -- from a -- which explodes in a bank robbery, that

   7      has both evidentiary value and it has potential

   8      forfeiture value.         So -- so some -- it's very dependent

   9      on the circumstances of -- of what I'm doing.                   But I can

  10      seize all kinds of general evidence that doesn't have

  11      any -- any value, any forfeiture value, and that will

  12      never get a CATS ID.

  13      BY MR. FROMMER:

  14          Q.    Okay.     So whether something -- is it fair to say,

  15      then, based on your experience as an FBI agent, that

  16      whether something gets a CATS number turns on whether

  17      it's merely evidence versus -- let me -- let me rephrase

  18      that.     I was saying that poorly.

  19                Is it fair to say, based on your experience, that

  20      CATS numbers are given to seize property where there's a

  21      potential for asset forfeiture to become involved?

  22                        MR. RODGERS:      Objection, calls for

  23      speculation, lacks foundation, assumes facts not in

  24      evidence, and may call for a legal conclusion.

  25                        THE WITNESS:      Yes.


                                     Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 49 of 294 Page ID
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   1                        MR. FROMMER:      Susan, can you do me a favor

   2      and read my last question again, just so that I can make

   3      sure that I understand that -- I'm a little confused

   4      about the "yes" here, so...

   5                (Whereupon the reporter read the record.)

   6      BY MR. FROMMER:

   7          Q.    And that -- your answer to that was "yes;"

   8      correct?

   9                        MR. RODGERS:      Same objections.

  10                        THE WITNESS:      Yes.

  11      BY MR. FROMMER:

  12          Q.    Okay.     Thank you.      All right.

  13                So I know that you have -- you've -- have you

  14      arrested people before?

  15          A.    Yes.

  16          Q.    Okay.     How many, do you think?

  17          A.    I don't know.       A lot.

  18          Q.    Probably --

  19          A.    I mean, me -- so there's a difference.                So -- so

  20      particularly early in my career when I was working big

  21      drug trafficking organizations, our cases would often

  22      end in arrests of 50 or 60 people.

  23          Q.    Wow.

  24          A.    I didn't personally put handcuffs on 50 or 60

  25      people.     But the cases I've worked have resulted in


                                     Exhibit K
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                                                                          Page 49

   1      those kind of numbers.

   2                And then contrarily, I have been on teams, arrest

   3      teams, that -- for cases I didn't work.                 So somebody

   4      else worked a case and they're arresting ten people next

   5      week, and they need -- they need agents to go help them

   6      do arrests, and I will be on an arrest team.

   7                So it's pretty hard to put a number on that.

   8      It's -- it's, you know -- it's -- it could be a lot.

   9          Q.    Okay.    That's fine.       I'm not looking for a

  10      precise number, I was just -- I figured that you had

  11      been involved with a number of arrests.                 I just wanted

  12      to make sure that that was the case.

  13          A.    Correct.

  14          Q.    So have you -- let me ask this question:                   Do --

  15      does an FBI agent apply for a warrant, or does -- well,

  16      let me ask that.         I'll just leave it there.

  17                When -- does an FBI agent apply for a warrant, or

  18      is that done by someone else?

  19          A.    So the U.S. Attorney's Office handles the

  20      application.       The FBI agent provides the affidavit, and

  21      occasionally some exhibits, maybe a photograph or

  22      something else.        That gets applied to the U.S.

  23      Attorney's Office, and then the AUSA that you're working

  24      with prepares the actual warrant, the application for

  25      warrant, the proposed order, everything else that goes


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                                   #:2345


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   1      with it, if there's a sealing order.                All of that is

   2      done at the U.S. Attorney's Office.

   3          Q.    Okay.     So your participation in the warrant

   4      application process seems -- is limited to crafting an

   5      affidavit in support of the warrant application; is that

   6      fair to say?

   7          A.    Correct.     And swearing it out in front of a

   8      judge.

   9          Q.    And how did you learn how to write a good

  10      affidavit in support of a warrant application?

  11          A.    Well, I had a good education, I was a good writer

  12      in school.        I -- I wrote one early on.           I wrote a Title

  13      III affidavit within a few months of starting the FBI.

  14      I didn't do it alone, I had some -- I had something to

  15      go by, I had a training agent, I had a supervisor, I had

  16      an AUSA working with us.            But I wrote that one, and then

  17      from there you're just sort of off to the races.                     You,

  18      like -- you know.

  19          Q.    Okay.     So it's training -- it sounds, then, that

  20      you get familiarity for how to write out an affidavit

  21      based on training and experience; is that correct?

  22          A.    Correct.

  23          Q.    Okay.     And you said that the first few times you

  24      might work with other FBI officials in crafting the

  25      affidavit; is that correct?


                                     Exhibit K
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   1          A.    Correct.

   2          Q.    Do you know if there are any forms or exemplars

   3      that FBI field offices have that are meant to guide

   4      agents when they're swearing out or writing an affidavit

   5      in support of a warrant application?

   6          A.    There might be.        There probably are.          I don't --

   7      I don't know for sure.

   8          Q.    Okay.    So there -- there may potentially be

   9      guidelines or materials to help people write an

  10      affidavit in support of a warrant application, but

  11      you're just not aware of them, personally.

  12          A.    Correct.

  13          Q.    Okay.    Well, we just talked about applying for a

  14      warrant, so I guess let's talk about the other, the flip

  15      side of that, which is executing one.

  16                Not to assume -- well, I will assume.                Have you

  17      executed warrants while at the FBI?

  18          A.    Yes.

  19          Q.    Yeah, I'm -- yeah, I'm not talking about, like,

  20      this specific one, I just meant generally.

  21                You know where I'm -- how many, approximately?

  22      Again, ballpark.         I'm not going to hold you to a

  23      specific number.

  24          A.    A lot.

  25          Q.    Okay.


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                                   #:2347


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   1          A.    The same reason.        I -- especially working a lot

   2      of drug cases, you -- you know, you get a lot of

   3      warrants.       And, again, I'm not always executing the

   4      warrants that -- that are part of my investigations.                      We

   5      also help other groups when they have -- you know, very

   6      frequently in your case you'll have, say, four locations

   7      that you would like to search.              This is somebody else's

   8      case, and they -- so they need four groups of people.

   9      And so, you know, you raise your hand and say yes,

  10      I'll -- I'll help.         You know, and then you go out and

  11      help on a warrant.         I -- honestly, very difficult to put

  12      a number on that after 18 years.

  13          Q.    Oh.

  14          A.    Because we -- we raise our hand a lot.                I do --

  15      I've done health care fraud warrants, I've done, you

  16      know, public corruption cases.              It doesn't matter, I'll

  17      do anybody's case.         If they need help you -- you

  18      volunteer to help, if you can.              And then you go out and

  19      help execute the warrant.

  20          Q.    Okay.    Well, that's -- and that's a good office

  21      culture, where people, you know, step up and volunteer

  22      to help one another out.

  23                So it sounds like we can say this is in the

  24      dozens, if not potentially hundreds of warrants that

  25      you've helped execute.


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   1          A.    Correct.     It's probably not hundreds, but it's

   2      dozens.     Lots of dozens.

   3          Q.    Now, I remember a second ago you said that, you

   4      know, you raise your hand, you know, when -- like, the

   5      specific FBI agent, special agent, who -- whose case it

   6      is needs to execute multiple search or seizure warrants

   7      at the same time.         Is it always the case that -- does

   8      the FBI only execute warrants in conjunction with other

   9      FBI personnel?

  10          A.    No.     I mean, we do work in task forces, we have

  11      quite a few task forces with other local police

  12      departments.        So I -- I know -- it's not -- and we work

  13      with other federal agencies as well, so it's not

  14      exclusive.

  15          Q.    So there could be times where the FBI works with

  16      either other federal agencies or state and local

  17      agencies as part of a task force to execute a warrant;

  18      is that correct?

  19          A.    Correct.

  20          Q.    Okay.     Is that a -- is the FBI working with other

  21      state or federal agencies to execute warrants a -- a

  22      common occurrence, in your experience?

  23                        MR. RODGERS:      Objection, lacks foundation,

  24      relevance, assumes facts not in evidence.                  Go ahead.

  25                        THE WITNESS:      Yes.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 55 of 294 Page ID
                                   #:2349


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   1      BY MR. FROMMER:

   2          Q.    Okay.     So you said that you've executed warrants

   3      before.     When you execute a warrant, is one of things

   4      you have to do is read the warrant?

   5          A.    Yes.

   6          Q.    Why do you need to read the warrant?

   7          A.    Well, I'll sort of distinguish.              If I wrote it,

   8      then, you know, I probably know it pretty well.                      If

   9      you're executing somebody else's warrant, you need to

  10      know the -- you need to know the details, you need to

  11      know the items to be seized.             What are you looking for?

  12      Is this a -- is this health care fraud?                 Is it -- is it

  13      a documents warrant?          Is it a drug warrant?           Are we

  14      looking for drugs, guns, and money?                Are we looking for

  15      paper?     What are we looking for?

  16                So you need -- you need to understand what we're

  17      looking for, where we're going to be.                Like, you're

  18      going to need to know what -- are we going to an

  19      apartment?        Are we going to a house?          Are we going to an

  20      office building?         What time are we going?           So all of

  21      those kinds of details.

  22          Q.    Okay.     So it sounds like there's multiple reasons

  23      to read a warrant before executing it; is that fair to

  24      say?

  25          A.    Correct.


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                                   #:2350


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   1          Q.    And one of them -- it sounds like one reason to

   2      read the warrant is to know the logistical details of

   3      how the warrant should be executed.                Is that fair to

   4      say?

   5          A.    Well, not too much of that is going to be in the

   6      warrant.      The warrant's pretty -- pretty bland.                  It

   7      doesn't -- it's not -- usually not heavy on those kinds

   8      of details.

   9          Q.    Oh, okay.

  10          A.    Actually, we'll prepare a plan for how to execute

  11      the warrant.

  12          Q.    Oh, okay.      So the -- the FBI actually prepares a

  13      plan -- once it receives a warrant, an agent will

  14      prepare a plan about how to execute that warrant; is

  15      that correct?

  16          A.    Correct.

  17          Q.    Okay.    And -- and that operational plan, that

  18      would have more details as to the logistics around

  19      executing a warrant; is that fair to say?

  20          A.    Correct.

  21          Q.    Okay.    Is another reason to read the warrant --

  22      and I think you already mentioned this, but is one

  23      reason to read the warrant also to ensure that you

  24      follow the instructions and limitations that are written

  25      into the warrant?


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                                   #:2351


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   1          A.    If there -- if there are any.             I don't know

   2      what -- what kind, I guess, kinds of limitation.

   3          Q.    Well, it also might say you can go here and not

   4      here.     Like a specific location that you can search, or

   5      specific items that you are looking for.

   6                Wouldn't you need to read the warrant to know

   7      where to search and what items are subject -- subject to

   8      seizure?

   9          A.    Right.     That's the most important.            So the -- we

  10      usually call it Attachment B, it's usually what it ends

  11      up being.      And that's the list of things -- like I said,

  12      that's what you're there to search for.                 So are we --

  13      what are we looking for today?              Are we looking for --

  14      for documents?        Are we looking for files?            Are we

  15      looking for only files with these names on them, or

  16      these business names?           Are we looking for drugs?             Are we

  17      looking for money?         Are we looking for guns?            Are we

  18      looking for OJ's bloody knife?              Like, what are we

  19      looking for?        That is specified in the warrant.                And

  20      that -- yes.        We -- we definitely look at that.

  21          Q.    Okay.     And it's fair to say that, you know, your

  22      authority to execute a warrant is limited by the

  23      instructions and limits that are written into the

  24      warrant; is that correct?

  25                        MR. RODGERS:      Objection, legal conclusion.


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   1                        THE WITNESS:      Yes, if there are any.

   2      BY MR. FROMMER:

   3          Q.    Sure.     To the extent there are any.

   4                But to the extent there are any limitations in

   5      the warrant, you would have to read the warrant so that

   6      you don't transgress them; is that correct?

   7                        MR. RODGERS:      Same objections.

   8                        THE WITNESS:      Correct.

   9      BY MR. FROMMER:

  10          Q.    Have you ever conducted an inventory before?

  11          A.    Prior to U.S. Private Vaults?

  12          Q.    Just -- yeah, generally.           Just ever.       As -- let

  13      me rephrase.

  14                During your time as an FBI agent, from 2004 to

  15      the -- to the present day -- or let's -- let's exclude

  16      Private Vaults, actually.

  17                So from 2004 up to March 22nd, 2021, did you ever

  18      conduct an inventory before?

  19          A.    I don't think so.

  20          Q.    Okay.     Why do you say that?

  21          A.    Well, I don't -- I don't have the specific

  22      recollection of doing so, and it doesn't -- it doesn't

  23      kind of come up regularly in the course of our jobs.                      We

  24      don't do car stops, generally.              We can, but we generally

  25      don't do car stops.          We don't do probable cause arrests,


                                     Exhibit K
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   1      where we just arrest somebody on the street.                   So it

   2      doesn't -- it doesn't come up very often in the course

   3      of our jobs.

   4                And the only reason I hesitate is having worked

   5      on so many task forces with -- with local law

   6      enforcement, I'm trying to recall if I did one with

   7      them, but I don't think so.             I can't think of a time --

   8      I can't recall a specific time when I conducted an

   9      inventory search.

  10          Q.    Okay.     That's fair.

  11                My next question was how many, but it sounds like

  12      the how many is you don't recall, and your best guess is

  13      zero.

  14          A.    Correct.

  15          Q.    Can you tell me, you know, based on your

  16      training -- well, and your law degree -- can you

  17      describe to me what the purpose -- what are the purposes

  18      behind inventory?

  19                        MR. RODGERS:      Objection to the extent it

  20      calls for a legal conclusion.

  21                        THE WITNESS:      Sure.    So an inventory search,

  22      you're taking -- we are taking custody of property.                    So

  23      we want to identify the property, we want to protect the

  24      property from damage, we want to get a record of it so

  25      that we can recall it again later.               We want to protect


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                                   #:2354


                                                                          Page 59

   1      ourselves from anything that -- like, hazardous

   2      material, and we want to also protect ourselves from an

   3      accusation later that, hey, what happened to my, you

   4      know, whatever, gold watch.             So -- so it's a -- it's a

   5      process to account for property that we are taking

   6      custody of.

   7      BY MR. FROMMER:

   8          Q.    Okay.     Is -- so I heard, and correct me if I'm

   9      wrong, that the purposes are, you know, protect the FBI

  10      from accusations that, you know, property went missing,

  11      make sure the property -- keep FBI agents safe, you

  12      know, from potentially dangerous property.

  13                Is the purpose of an inventory also to search for

  14      contraband or potential evidence of criminality?

  15          A.    No, but we're not required to ignore it either.

  16      So it's not the purpose of an inventory search, but we

  17      don't have to pretend we don't see it.                 We don't have to

  18      turn a blind eye.         If it's in plain view, it's in plain

  19      view.

  20          Q.    Well, I guess that's an interesting question.

  21      What does the term "plain view" mean to you?

  22                        MR. RODGERS:      Legal conclusion.

  23                        You can answer.

  24                        THE WITNESS:      Well, so if I -- if I --

  25      this -- in the modern day, this is -- this is easy.                   If


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 61 of 294 Page ID
                                   #:2355


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   1      I'm looking at a thumb drive, it's a thumb drive.                    I

   2      can't go into it and see what's on the thumb drive.                      So

   3      the thumb drive's in plain view.               The digital matter

   4      inside it is clearly not.            That would require an

   5      additional search warrant.            But if I'm looking at stuff

   6      and it's -- it's there, and I can see it and smell it

   7      and touch it, then it's in plain view.

   8      BY MR. FROMMER:

   9          Q.    Okay.    So if -- so like with a thumb drive, you

  10      would have to take some action to learn what was -- what

  11      the thumb drive contains; right?

  12          A.    Correct.

  13          Q.    And that would not be plain view; is that right?

  14          A.    Correct.

  15          Q.    Okay.    So if you have an envelope, like a sealed

  16      envelope, and -- that, you know, it feels like it has a

  17      letter in it, is it -- is it similarly the case that you

  18      can look at the envelope, because there's the envelope,

  19      but you can't open the envelope up to see what's inside?

  20          A.    Not necessarily.        Because if the envelope

  21      contains cash, I have to take an inventory of the cash,

  22      again to protect myself from an accusation that, hey,

  23      what happened to my 50 bucks.             Or if it contains some

  24      other valuable thing.           What happened to my birth

  25      certificate?       Or, you know, whatever.           So --


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 62 of 294 Page ID
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   1          Q.    So in that situation it would be, pursuant to the

   2      inventory policy, you might need to open the envelope to

   3      see if cash is inside?

   4          A.    Right.     Or some other -- some other item.

   5          Q.    Yeah.

   6          A.    It could be a birth certificate, driver's

   7      license.        Yeah, I don't -- I don't know.            Again, it

   8      could also contain -- it could contain Anthrax, or

   9      Fentanyl, or -- you know, you don't know what.                       So I do

  10      think you have to open the envelope.

  11          Q.    Okay.     I -- I -- but the contents of the envelope

  12      aren't in plain view; correct?              You had to --

  13          A.    Correct.

  14          Q.    You had to undertake some action to get to the

  15      contents of the envelope.

  16          A.    Right.     It's part of the inventory.

  17          Q.    That's part of the inventory.

  18                And so, for instance, if you opened up an

  19      envelope to see if there's some cash in there -- I think

  20      that was what you'd mentioned -- then that would be

  21      limited to opening the envelope and just seeing if

  22      there's any cash in there; right?

  23          A.    No.     I mean, no.     It -- like I said, it's not

  24      just cash.        It's, like -- you need to know what's in the

  25      envelope.        If you're doing -- if you're inventorying the


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         831
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 63 of 294 Page ID
                                   #:2357


                                                                          Page 62

   1      contents of whatever it is you're inventorying, you need

   2      to know what's there.           So is it -- cash is one thing it

   3      could be.      It could be, like I said, a driver's license,

   4      or a birth certificate.           Or it could -- it could be

   5      white -- a white powdery substance that's unidentified.

   6      I don't know what it is.

   7                And that's why you have to check, because for the

   8      same reasons underlying the basic policy, you're

   9      protecting -- we're protecting ourselves from hazardous

  10      material, we're protecting ourselves from an accusation

  11      of -- of theft or loss.

  12                You also need to -- there's a different way to

  13      process valuables, like cash, than there is

  14      non-valuables, for us.           So you have to know which bucket

  15      it goes into.        Does it go into -- into the protective

  16      vault where valuables are, or does it go into the

  17      general evidence?         And if you open it up and there's

  18      nothing in there but a bunch of papers, then you're,

  19      like:     Okay.    It's an envelope full of papers.                  And --

  20      and then it's -- then it's just an envelope full of

  21      papers, or an envelope with a -- with a letter.

  22          Q.    Okay.    I -- I think I understand.

  23                So you're opening up the envelope because you

  24      need to know what's inside because there are two --

  25      let's say, put it this way, there are two buckets of


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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                                         832
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 64 of 294 Page ID
                                   #:2358


                                                                          Page 63

   1      evidence.      There's regular -- there's, like, common

   2      evidence and there's valuables.              And so you need to open

   3      up the -- the letter, the envelope, so that you can see

   4      whether it contains valuables or not.                Is that fair?

   5          A.    That's one reason, yes.

   6          Q.    Okay.    But what's the other -- what's the other

   7      reason?

   8          A.    If it contains something dangerous, or

   9      potentially dangerous, that we wouldn't want to put

  10      into -- you know, that could be, again, airborne --

  11          Q.    Yeah.

  12          A.    -- white powdery substance, Fentanyl.                Those

  13      types of things.         And even if it's -- even if it's a

  14      driver's license or a birth certificate, or something

  15      like that, we're still protecting ourselves against an

  16      accusation of -- of loss.            Like:     Hey, you know, you

  17      lost my birth certificate.            Now I can't, you know, get a

  18      license, or whatever.

  19          Q.    So --

  20          A.    So --

  21          Q.    Sorry.     I didn't mean to interrupt.

  22          A.    So you're -- it's the same inventory.                It's for

  23      the same purposes.         It's to protect the FBI, it's to get

  24      an accounting of what's actually there, it's to protect

  25      us against an accusation of theft or loss, it's to


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 65 of 294 Page ID
                                   #:2359


                                                                          Page 64

   1      protect us against a hazardous material, and it's -- you

   2      know, and it's to get a full, you know, a full

   3      accounting of what's there when we return it.

   4          Q.    Okay.     I -- so -- but you said a second ago --

   5      so --

   6          A.    I guess it -- to me it doesn't matter if it's in

   7      an envelope.

   8          Q.    It doesn't matter if it's in an envelope.                  So

   9      let's say you opened up an envelope and there's just --

  10      you know, it's just a -- like a little paper with some

  11      crypto-keys on it.         You know, for cryptocurrency.              Would

  12      that be considered a valuable paper?

  13          A.    It is now.

  14          Q.    What -- because Bitcoin has gone so much up in

  15      price?

  16          A.    Yeah.     I mean, they actually -- the -- the -- I

  17      think -- yes.        Like, that -- that is now considered

  18      valuable.      It just looks like a list of fourth grade

  19      spelling words, but I think we are now putting those in

  20      valuables.        We're treating those as a valuable now.

  21          Q.    Okay.     So -- so you're going through, you're

  22      looking for valuable items, or items that could be

  23      considered valuable, like a birth certificate or these

  24      crypto-keys that we were just talking about.                   And the

  25      idea -- and you're also looking for potential dangers,


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 66 of 294 Page ID
                                   #:2360


                                                                          Page 65

   1      whether it's the Anthrax spores that we were talking

   2      about, or Fentanyl.

   3                But would it generally be appropriate to just --

   4      you know, it's a -- you open the envelope and it's a

   5      letter.     Would it be appropriate to, you know, unfold

   6      the paper, the letter, and read it?

   7          A.    No.

   8          Q.    Why not?

   9          A.    Because once I -- once I can categorize it --

  10      okay, it's a letter, it's a piece of paper -- that's

  11      all -- that's all I need to know.

  12          Q.    Okay.

  13          A.    It's an envelope with a piece of paper.

  14          Q.    All right.      And it would be inappropriate to try

  15      to read the letter to see if it had any indicia of,

  16      like, criminal wrongdoing; is that correct?

  17          A.    Correct.     Now, just to add, like sometimes if you

  18      don't know -- I know there's an exception if you don't

  19      know whose -- whose property it is, you can look to see

  20      if there's information on it that -- you know, dear

  21      so-and-so, love so-and-so.            Or there's an address or

  22      return address or some kind of -- something that would

  23      indicate whose property this is, if you don't know.

  24          Q.    Okay.

  25          A.    But in general, I wouldn't read the letter to


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 67 of 294 Page ID
                                   #:2361


                                                                          Page 66

   1      find out what the person's up to.

   2          Q.    And you wouldn't do that -- you wouldn't do that

   3      especially if you had already been able to identify the

   4      owner of the property through some other means; is that

   5      correct?

   6          A.    That's correct.

   7          Q.    Okay.

   8                        MR. FROMMER:      All right.      I know we're

   9      coming up on our 90 minutes.             Let's go off the record.

  10                        Let's take, like, a -- let's just take,

  11      like, a ten-minute break, and -- and then we'll do a

  12      block and then you can go -- and then you can go get

  13      some lunch.        Okay?

  14                        THE WITNESS:      Okay.

  15                        MR. FROMMER:      All right.

  16                        THE VIDEOGRAPHER:         We are -- we are off the

  17      record.     The time is 10:37 a.m.

  18                 (A short break was taken at this time.)

  19                        THE VIDEOGRAPHER:         We are back on the

  20      record.     The time is 10:48 a.m.

  21                        MR. FROMMER:      Thank you.

  22      BY MR. FROMMER:

  23          Q.    I'm going to briefly follow up on something we've

  24      been just previously discussing about the valuables

  25      versus not valuables that you'd find, encounter in


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 68 of 294 Page ID
                                   #:2362


                                                                          Page 67

   1      inventory.

   2                I'm guessing this is probably true for a lot of

   3      valuables, but I want to sort of focus on, like, cash,

   4      for instance.        So let's say you're doing an inventory

   5      and you find some cash.           As part of that inventory,

   6      what -- I -- it sounds like at the end of day it's

   7      supposed to go into the vault, or something.                   Or -- but

   8      can you sort of walk me through, like, the steps of what

   9      you're supposed to do in an inventory when you encounter

  10      a valuable item like cash?

  11          A.    The only inventory I can talk about is U.S.

  12      Private Vaults.        So if you want to talk about U.S.

  13      Private Vaults, like, we can do that.

  14          Q.    No, I just mean -- I mean, you've been an FBI --

  15      I don't want to talk about Private Vaults.                  I'm just

  16      talking generally about the inventory process, and I'm

  17      trying to understand, like, when during an inventory you

  18      come across a valuable like cash, for instance, what --

  19      what are the steps that you're supposed to take?

  20                      MR. RODGERS:        I'm going to object, lacks

  21      foundation, assumes facts not in evidence, calls for a

  22      legal conclusion.

  23                      THE WITNESS:        So cash is a little different

  24      from everything else.           So if it's a valuable that's not

  25      cash, say a -- a watch, that's going to be put in a --


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 69 of 294 Page ID
                                   #:2363


                                                                          Page 68

   1      in -- that's going to be stored differently.                   It's going

   2      to be stored in a vault.            It's going to be stored as

   3      valuables.        Right?    So we talked about things that are

   4      considered valuable.

   5                        Cash is a little bit different.             You don't

   6      want to have cash in the form of cash because it's -- it

   7      can get wet, or shredded, or lost, or blow away, or

   8      burnt, or --

   9      BY MR. FROMMER:

  10          Q.    Yes.

  11          A.    -- stolen.       Any number of things can happen to

  12      cash.     So cash needs to go into a financial institution.

  13                For us at the FBI, we have a contract with

  14      Loomis, which is, like, Brinks.              It's a -- it's a

  15      currency, armored car-like institution.                 And so for us,

  16      cash gets put into the noncash form as quickly as

  17      possible.        I don't want cash.       I don't -- I don't -- I

  18      want cash in the form of cash for as short a time as is

  19      humanly possible.          I want it someplace safe where it

  20      can't get lost, stolen, or damaged.

  21          Q.    Okay.     So -- so let's say you come across some

  22      cash; right?        And I understand you're just, like, I

  23      don't want any part of this cash, for all the reasons

  24      you just said.

  25          A.    Correct.


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 70 of 294 Page ID
                                   #:2364


                                                                          Page 69

   1          Q.    So I'm just trying to figure out, walk through,

   2      do you -- would an agent count the cash him- or herself?

   3                        MR. RODGERS:      Same objection.

   4      BY MR. FROMMER:

   5          Q.    -- upon finding the cash?

   6                        MR. RODGERS:      Same objection.

   7                        THE WITNESS:      So it depends how much it is.

   8      Right?     So there's some amount of cash that I'm

   9      confident I could count accurately.                Like, without

  10      making a mistake.         And -- so probably under $5,000, I'm

  11      pretty sure that myself and another agent could count

  12      it, twice, and come up with the right amount.                   Because

  13      that's the issue, is if we count it wrong, it creates a

  14      liability for us.         So generally speaking, $5,000 is

  15      something that we would count.

  16                        $100,000, I'm never counting.            So that is

  17      going to be uncounted cash until we can get it to Loomis

  18      that has these big machines that count and separate and

  19      come up with a completely reliable, accurate amount.

  20      BY MR. FROMMER:

  21          Q.    Okay.     So you're saying, like, the procedure

  22      differs a little bit about how much cash there is;

  23      right?

  24          A.    Correct.

  25          Q.    And --


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 71 of 294 Page ID
                                   #:2365


                                                                          Page 70

   1                        MR. RODGERS:      Objection, for purposes of a

   2      motion to strike, lacks foundation, calls for

   3      speculation, assumes facts not in evidence.

   4      BY MR. FROMMER:

   5          Q.    And is it fair to say when it's a small amount of

   6      cash -- I think you said 5,000 -- agents would count

   7      that by hand, they'd confirm the amount, and then they

   8      would send that money to Loomis?

   9                        MR. RODGERS:      Same objections.

  10                        THE WITNESS:      Or, at a smaller amount, it

  11      could be held by the FBI.

  12      BY MR. FROMMER:

  13          Q.    Okay.     It goes somewhere safe.

  14          A.    Correct.

  15                        MR. RODGERS:      Same objections, for purpose

  16      of motion to strike.

  17                        THE WITNESS:      Correct.

  18      BY MR. FROMMER:

  19          Q.    Okay.     And let's say there's cash that, by

  20      appearances, is more than 5,000.               In that situation is

  21      it fair to say that you -- that an FBI agent would, for

  22      lack of a better word, bag the cash and send it to

  23      Loomis?

  24                        MR. RODGERS:      Same objections.

  25                        THE WITNESS:      Yes.


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 72 of 294 Page ID
                                   #:2366


                                                                          Page 71

   1      BY MR. FROMMER:

   2          Q.    Okay.     So -- so if an FBI agent -- if you came

   3      across a big pile of cash, too big to count, you and

   4      your fellow FBI agent -- it's -- let me -- let me ask

   5      the question.

   6                Is it fair to say that the inventory is generally

   7      supposed to be conducted with at least two agents?

   8                        MR. RODGERS:      Same objection, calls for

   9      speculation, overbroad.

  10                        THE WITNESS:      Yes.    And any time we handle

  11      cash, or valuables, or drugs, you have -- you have more

  12      than one agent present.

  13      BY MR. FROMMER:

  14          Q.    Okay.     So if you and the fellow agent come across

  15      a large amount of cash -- by "large," I mean more than

  16      you would feel comfortable counting -- you and the other

  17      agent would put the cash in some sort of bag, sounds

  18      like it might get a CATS number, and -- and off it goes

  19      to -- to Loomis; is that fair?

  20                        MR. RODGERS:      Same objections.

  21                        THE WITNESS:      It might first be temporarily

  22      stored at the FBI, because you have to make an

  23      appointment with Loomis.            They need to know you're

  24      coming.     So it might have a -- it might have a

  25      temporary -- it might be temporarily placed in the vault


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 73 of 294 Page ID
                                   #:2367


                                                                          Page 72

   1      until we can get an appointment to Loomis, and then take

   2      it to Loomis.

   3      BY MR. FROMMER:

   4          Q.    Okay.     So then it -- so it's basically, for cash

   5      that you can't count, it's bag it, store it somewhere

   6      safe -- the vault, the FBI vault, for instance -- and

   7      then, at a first available opportunity, get that cash

   8      over to Loomis so that they can do the -- the automated

   9      counting and turn it into noncash.

  10                        MR. RODGERS:      Same objections.

  11                        THE WITNESS:      Correct.

  12      BY MR. FROMMER:

  13          Q.    Okay.     All right.      Do you remember if you ever

  14      got training on how to do an inventory when you were at

  15      Quantico?

  16          A.    No, I don't remember.

  17          Q.    Okay.     Do you remember ever doing, like, a

  18      continuing training about how to do an inventory?

  19          A.    I don't remember.

  20          Q.    Okay.     Then based on those, I'm saying it's

  21      probably fair to say -- and you can tell me if I'm

  22      wrong.     Have you ever taught anyone else about how to

  23      conduct an inventory?

  24          A.    No.

  25          Q.    Okay.     Do you know if there's any guidance that


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 74 of 294 Page ID
                                   #:2368


                                                                          Page 73

   1      FBI special agents would have that they could turn to to

   2      determine how to properly conduct an inventory?

   3          A.    So, it's the same -- it's going to be the same

   4      process that we use to process evidence, because we are

   5      going to create a record, we're going to secure the

   6      valuables, we're going to have labels, we have bar

   7      codes, we have forms we fill out.               Procedurally, it's

   8      going to be the same.           So yes, there's a whole bunch of

   9      procedures that we're all trained on on how to process

  10      items that are coming into our possession.

  11          Q.    The -- is it fair to say that the purposes for an

  12      inventory are different than the purposes if, for

  13      instance, you were seizing items pursuant to, like, a

  14      criminal seizure warrant?

  15          A.    Correct.     But the process for securing them is

  16      the same.

  17          Q.    Okay.    Is it fair to say, though, that in the --

  18      when you are inventorying those seized items pursuant

  19      to, like, just an inventory, as opposed to a criminal

  20      search warrant, is there certain investigatory actions

  21      that would be inappropriate in -- for an inventory, but

  22      would be appropriate when you're conducting a criminal

  23      seizure?

  24          A.    I mean, so, again, the -- like, the thumb drive.

  25      Right?     If I -- if I have a search warrant and my search


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 75 of 294 Page ID
                                   #:2369


                                                                          Page 74

   1      warrant includes going into a phone or a computer or a

   2      thumb drive, then I can take those next steps.                       I can

   3      stick that thumb drive into a computer and look at it.

   4      Which I can't do in an inventory search.

   5          Q.    Okay.     So is it similarly the case, then, that --

   6      going back to our letter that we talked about before.

   7      If you had, like, a criminal search and seizure warrant,

   8      is it fair to say that you would be able to read -- read

   9      that letter, whereas during an inventory you would not

  10      be allowed to read that letter other than for the

  11      purpose of potentially identifying the owner if you

  12      didn't know who that was already?

  13          A.    Right.     That's probably true.          I'd have to know

  14      what the warrant said and what I was doing, but

  15      generally speaking, yes, that's probably true.                       If I had

  16      a search warrant, I could probably read the letter.

  17          Q.    Okay.     Do you know if there are guidelines out

  18      there that you could turn to for how to do an inventory?

  19          A.    Yes.     It's addressed in the DIOG.

  20                        MR. FROMMER:      Let me actually introduce

  21      that.     Give me just a second, please.

  22                        Sorry.   I'm trying to figure out a place for

  23      the stamp where it doesn't obscure anything else in the

  24      exhibit.      All right.

  25                        THE VERITEXT CONCIERGE:          I can do that for


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 76 of 294 Page ID
                                   #:2370


                                                                          Page 75

   1      you, sir, if you want me to.

   2                      MR. FROMMER:        I -- I think I got it.

   3                      (Exhibit 4 marked at this time.)

   4      BY MR. FROMMER:

   5          Q.    So Exhibit 4 should now be in your folder.                 You

   6      might need to hit "refresh," from what I recall.

   7                      THE VERITEXT CONCIERGE:             Hold on a second.

   8                      Counsel, you have control of my computer.

   9                      MR. FROMMER:        Okay.     Great.

  10      BY MR. FROMMER:

  11          Q.    So this is Exhibit 4.           I -- this is an excerpt

  12      from the DIOG that Defendants produced to us during

  13      discovery.      Can you take a moment, look through it, and

  14      tell me if that seems true and accurate?

  15                      MR. RODGERS:        We're just trying to open it.

  16                      MR. FROMMER:        Take your time.

  17                      MR. RODGERS:        We're just trying to scroll up

  18      and down the document.           We're having trouble.

  19                      MR. FROMMER:        Are you having any more luck?

  20                      MR. RODGERS:        Oh.     It looks like we're

  21      viewing someone's screen, and someone's moving the

  22      exhibit up and down, but we have no control over it.

  23                      MR. FROMMER:        Yeah, that's me.        I have

  24      control over it.

  25                      MR. RODGERS:        Oh.     Okay.


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 77 of 294 Page ID
                                   #:2371


                                                                         Page 76

   1                     THE VERITEXT CONCIERGE:            Can I chime in for

   2      a second about this?         So what's going on is that if you

   3      folks are on a Windows device, you just go down to your

   4      task bar.     Make sure that you're on your own web browser

   5      and not on Zoom, and you'll be able to independently

   6      control the document.

   7                     MR. FROMMER:        Why don't we go off the

   8      record.

   9                     MR. RODGERS:        Great.

  10                     MR. FROMMER:        Yeah, just because I want you

  11      guys to figure this stuff out, and there's no reason to

  12      keep a record of us fumbling through technology.                    Yeah,

  13      just --

  14                     THE VIDEOGRAPHER:         Okay.     Let me -- let

  15      me -- let me go off the record real quick.

  16                     We are off the record.            The time is

  17      11:03 a.m.

  18        (An off the record discussion was held at this time.)

  19                     THE VIDEOGRAPHER:         We are back on the

  20      record.     The time is 11:16 a.m.

  21                     MR. FROMMER:        Thank you for bearing with us

  22      while we work through some of these technical issues.

  23                     I just introduced an exhibit, Exhibit Number

  24      4, which is a portion of the Domestic Investigations and

  25      Operations Guide that we received from Defendants in


                                    Exhibit K
                                    9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 78 of 294 Page ID
                                   #:2372


                                                                          Page 77

   1      discovery.

   2      BY MR. FROMMER:

   3          Q.    Special Agent Zellhart, have you had an

   4      opportunity to look over this excerpt?

   5          A.    I have.

   6          Q.    Okay.     And do you recognize it?

   7          A.    Yes.

   8          Q.    When would you say is the last time you looked at

   9      this section of the DIOG?

  10          A.    Yesterday.

  11          Q.    Okay.     To prepare for this deposition?

  12          A.    Yes.

  13          Q.    Okay.     Don't want to know anything about that.

  14                But other than yesterday when you were preparing

  15      for the deposition, when was -- when -- when was the

  16      last time you looked at this section of the DIOG?

  17          A.    In the late summer of 2020.

  18          Q.    In the late summer of 2020?

  19          A.    Correct.

  20          Q.    And can you tell me why you were reviewing this

  21      section of the DIOG in summer of 2020?

  22                        MR. RODGERS:      I want to caution the witness

  23      that to the extent the reason would require her to

  24      reveal an attorney-client communication, I'm instructing

  25      the witness not to answer.


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 79 of 294 Page ID
                                   #:2373


                                                                          Page 78

   1      BY MR. FROMMER:

   2          Q.    Is the -- were you told to look at this?

   3                      MR. RODGERS:        Same instruction.

   4                      MR. FROMMER:        I'm -- I'm --

   5      BY MR. FROMMER:

   6          Q.    To the extent an attorney instructed you to look

   7      at this, or advised you to look at this, who was that

   8      attorney?

   9                      MR. RODGERS:        Same objection.

  10      BY MR. FROMMER:

  11          Q.    Please answer.

  12                      MR. RODGERS:        I'm instructing the witness

  13      not to answer.

  14                      MR. FROMMER:        The identity of an attorney is

  15      not subject to the attorney-client privilege, and you

  16      know that, Victor.

  17      BY MR. FROMMER:

  18          Q.    Please answer the question.

  19                      MR. RODGERS:        Same instruction.         I have --

  20                      MR. FROMMER:        So --

  21                      MR. RODGERS:        I have no objection to you

  22      asking her whether she looked at it in 2020.

  23                      MR. FROMMER:        And I'm asking --

  24      BY MR. FROMMER:

  25          Q.    Tell me the circumstances behind your review of


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 80 of 294 Page ID
                                   #:2374


                                                                          Page 79

   1      this document in summer of 2020, to the extent you can

   2      do so without revealing a client -- attorney-client

   3      privileged material.

   4          A.    I -- I looked at it in the late summer of 2020

   5      while I was drafting the seizure warrant affidavit for

   6      U.S. Private Vaults.

   7          Q.    Okay.     Did you review this at the request of

   8      Andrew Brown?

   9                        MR. RODGERS:      Same objection, same

  10      instruction.

  11                        MR. FROMMER:      I would note for the record

  12      that this is an improper base of the attorney-client

  13      privilege.        It does not call for the -- any client

  14      confident material -- confidential material.                   I'm simply

  15      asking the identity of the person who asked her to look

  16      at this.      And, again, the identity of -- of an attorney

  17      is not privileged.

  18                        MR. RODGERS:      If you can answer the

  19      question, Special Agent Zellhart, by merely identifying

  20      an attorney with whom you spoke concerning this

  21      document, then you can provide that information, and

  22      nothing more.

  23                        THE WITNESS:      It was Andrew Brown.

  24      BY MR. FROMMER:

  25          Q.    And what were you hoping to learn from your


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 81 of 294 Page ID
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                                                                          Page 80

   1      review of this document in summer of 2020?

   2          A.    Nothing.     I wasn't hoping to learn anything.

   3          Q.    So you read this for no purpose whatsoever?

   4          A.    No.

   5          Q.    So what were you hoping to gain from reading this

   6      document, this excerpt of the DIOG in summer of 2020?

   7                       MR. RODGERS:       If you can answer that

   8      question without revealing the contents of an

   9      attorney-client communication, then please do so.

  10      Otherwise, I instruct you not to answer.

  11                       THE WITNESS:       Yeah, I'm sorry.        I can't

  12      answer that without getting into discussions.

  13      BY MR. FROMMER:

  14          Q.    Was there any document that you were drafting at

  15      the time you reviewed this -- the DIOG excerpt in summer

  16      of 2020?

  17          A.    Yes.    As I said, I was -- I was drafting the

  18      affidavit to the U.S. Private Vaults' search warrant,

  19      seizure warrant.

  20          Q.    And you -- I understand you read this -- is it

  21      true that you read this excerpt of the DIOG per the

  22      instructions of Andrew Brown?

  23                       MR. RODGERS:       If that requires you to reveal

  24      the content of an attorney-client communication, I

  25      instruct you not to answer.


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 82 of 294 Page ID
                                   #:2376


                                                                          Page 81

   1      BY MR. FROMMER:

   2          Q.    Well, let me ask this:          What did you -- what did

   3      you do with this excerpt from the DIOG in summer of

   4      2020?

   5          A.    I sent it to Andrew Brown.

   6          Q.    You sent this excerpt of the DIOG to Andrew Brown

   7      in the summer of 2020?

   8          A.    Correct.

   9          Q.    Did this excerpt from the DIOG help inform the

  10      drafting of your affidavit in support of the -- in

  11      support of the U.S. Private Vaults action?

  12          A.    No.

  13          Q.    What document were you drafting at the -- in

  14      summer of 2020, once again?

  15          A.    The search warrant affidavit and seizure warrant

  16      affidavit, which is the same affidavit.

  17          Q.    Yeah.

  18                Were -- did you consult -- did you review this

  19      excerpt of the DIOG for the purposes of drafting or

  20      helping to draft those affidavits?

  21          A.    No.

  22          Q.    Did you -- did you -- did you review this

  23      document and/or -- let me -- that's compound.

  24                Did you review this document in support of the

  25      overall warrant application in the U.S. Private Vaults


                                     Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 83 of 294 Page ID
                                   #:2377


                                                                          Page 82

   1      matter?

   2          A.    I reviewed it because I was sending it to AUSA

   3      Andrew Brown.

   4          Q.    So is it fair to say, then, that you reviewed it

   5      only because you were sending it along to AUSA Andrew

   6      Brown?

   7          A.    Correct.

   8          Q.    Do you know if there are any other legal

   9      documents -- give me one moment.               Scratch that last

  10      question.

  11                Okay.    Are you aware of any other legal documents

  12      that also provide for -- that -- that give guidance as

  13      to how to conduct an inventory?

  14          A.    No.

  15          Q.    Do you know what "The Legal Handbook For Special

  16      Agents" is?

  17          A.    No.

  18          Q.    Have you -- have you seen exemplars of FD-597s,

  19      filled out FD-597s, that were filled out pursuant to an

  20      inventory?

  21          A.    With regard to U.S. Private Vaults, yes.

  22          Q.    I mean generally, have you --

  23          A.    Yes.

  24          Q.    -- seen --

  25          A.    I'm familiar with the FD-597, yes.


                                     Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 84 of 294 Page ID
                                   #:2378


                                                                          Page 83

   1          Q.    Have you seen -- have you seen examples of filled

   2      out FD-597s in the inventory, that were filled out for

   3      the purposes of conducting an inventory, other than --

   4      in any situation other than the U.S. Private Vaults

   5      matter?

   6          A.    No.     And if I can explain, it's -- it's, again,

   7      it's this process.         The process is the same.            The FD-597

   8      is a receipt of property form that's used in a variety

   9      of situations, whether it's an inventory search or an

  10      other kind of search, or we're taking property, or

  11      leaving property, or giving property back, frankly.

  12      It's -- it's -- so I would -- I -- if I saw one that was

  13      specific to an inventory search, it wouldn't be distinct

  14      from one that was prepared for some other purpose.

  15          Q.    Okay.     Thank you for that.

  16                Before I think we talked about that -- about

  17      inventorying valuable items; correct?

  18          A.    Correct.

  19          Q.    How does an inventorying -- the inventory process

  20      change, if at all, based on the belief that valuable

  21      items are going to be inventoried?

  22                        MR. RODGERS:      Objection, vague and ambiguous

  23      as to time, calls for a legal conclusion.

  24                        THE WITNESS:      So if I suspect there's going

  25      to be valuables -- it doesn't -- again, it doesn't


                                     Exhibit K
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                                   #:2379


                                                                          Page 84

   1      matter if it's an inventory search or it's another kind

   2      of search.        Right?   Those are purpose.          Those are why

   3      we're doing it.        The process is the same.            If I know or

   4      suspect that there's going to be valuables, then it's --

   5      it's more important to have extra witnesses available.

   6                        And, again, cash cannot be handled by one

   7      person.     That -- cash and valuables cannot be handled by

   8      one person.        So if you know there's -- there's a high

   9      likelihood of cash and valuables, you know, two people.

  10      Generally speaking, there's two people there anyway.

  11      You don't usually do these processings alone.                   But when

  12      there's -- but the -- the hard rule is cash, valuables,

  13      drugs, cannot be handled by one person.

  14      BY MR. FROMMER:

  15          Q.    Okay.     So it sounds like when there's

  16      valuables -- or drugs, valuables, that you want to have

  17      multiple agents doing the inventory simultaneously

  18      together; is that correct?

  19          A.    At least two, yes.

  20          Q.    Okay.     And is one of -- is one of the reasons for

  21      that so as to prevent valuable items from somehow

  22      disappearing during an inventory?

  23          A.    Or the appearance of it, or the accusation of it.

  24      It's just good practice to have an extra witness.

  25          Q.    Okay.     And it should -- so that -- and that's so


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                                   #:2380


                                                                          Page 85

   1      that you have two people who can independently

   2      corroborate the items that they inventoried; is that

   3      correct?

   4          A.    Correct.     And our forms require two signatures on

   5      those items.       Two signatures on drugs, two signatures on

   6      valuables.

   7          Q.    Okay.    And in order to prevent either the actual

   8      disappearing of items or, you know, the accusation that

   9      items have disappeared, that -- would specificity on the

  10      FD-97, being specific about what was seized, would that

  11      help guard against claims of loss or theft?

  12          A.    Not necessarily.

  13          Q.    Why do you say that?

  14          A.    Because when we're out in the field doing things,

  15      you're not in ideal circumstances.               So this is the same

  16      as not counting cash.           You count cash and you get it

  17      wrong, you've created a problem that there didn't need

  18      to be.

  19                So if you are -- if you're overly specific and

  20      you're wrong, because you're in field where -- where

  21      conditions aren't ideal, lighting is not ideal, you

  22      know, you're not in an office, you're not in a secure

  23      spot, then that's when mistakes can be made.

  24                And it's also not the point of the inventory.

  25      It's not, like, an evaluation of valuables.                   Like --


                                     Exhibit K
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                                   #:2381


                                                                          Page 86

   1      like, it's not an appraisal.             Okay?     It's not -- we're

   2      not trying to get an appraisal.              I'm not trying to

   3      decide if this is a diamond or if it's cubic zirconia.

   4      I don't have the expertise to do it.

   5                So you just want something that's descriptive,

   6      that you can identify again later.               And that's also part

   7      of our entire process.           You put it in a bag or a box or

   8      a container, and you're identifying that item number --

   9      and it gets an item number.             Item number one.        And --

  10      and you describe it so that you can then find item

  11      number one.       And it gets an evidence number, and it gets

  12      a bar code.

  13                There's -- there's three levels of redundancy to

  14      locate and find that piece of property -- or that

  15      combination of pieces of property, sometimes we

  16      combine -- in order to know where it is at all times, to

  17      track it and to maintain its safety.

  18          Q.    Okay.    You said there are three layers of

  19      redundancy.       Can you walk me through what those layers

  20      are?

  21          A.    There's at least three, but yes.              On a piece of

  22      evidence there's a -- it receives an evidence number,

  23      what we call the 1-B number.             It receives a bar code,

  24      which is separate.         And both of those things track it

  25      through our evidence system.             There's also an evidence


                                     Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 88 of 294 Page ID
                                   #:2382


                                                                          Page 87

   1      log which the agents fill out.              There's a chain of

   2      custody log, which is separate, which shows who has

   3      handled it at every given time.              There's also the

   4      FD-597, which is the receipt of property, which contains

   5      the exact same information.             And then there's a written

   6      report.

   7                So there's actually six ways to capture this

   8      event of taking property into custody.                 Whether it's an

   9      inventory search or it's some other kind of search, it

  10      doesn't matter, our process is the same.

  11          Q.    Okay.    I'm just trying to figure this out.               It

  12      seems like the purpose of the FD-597 would be to make it

  13      clear what property had been taken; is that fair?

  14          A.    Or given back, yes.

  15          Q.    Yeah.    Or given back.        Absolutely.

  16                So that FD-597 should be complete in -- in the

  17      terms of what was seized; is that correct?

  18          A.    Complete, but it's not exhaustive.               So, for

  19      example, if I'm on a search warrant on a documents

  20      warrant and I take all the documents in your file

  21      cabinet because my warrant allows me to do that, that's

  22      going to be called miscellaneous documents from

  23      drawer -- from the top drawer in room B.                  We'll specify

  24      where it came from and what it is, but we're not going

  25      to sit there and go through each piece of paper and tell


                                     Exhibit K
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                                   #:2383


                                                                            Page 88

   1      you what each piece of paper is.                 Like, not even close.

   2            Q.    No, I -- I understand that.            That would be an --

   3      a Sisyphean task.           It would be incredibly difficult to

   4      do.

   5                  But I'm wondering, like, you know, if I -- again,

   6      I -- I like comic books.              So let's say, you know,

   7      there's, like, some comic books are being seized, and

   8      for -- as part of an inventory.                And let's say I had 20

   9      comic books, you know.             Should the FD-597 -- would it be

  10      okay if the FD-597 just said "some comic books."

  11            A.    Yeah.    I would expect that item to be "comic

  12      books."

  13            Q.    But no description of how many comic books there

  14      were?

  15            A.    Correct.     Because if I count 19 and there's 20,

  16      or I count 20 and there's 19, I've created a problem.

  17      That's not my job in the field.                My job is to bag and

  18      tag the property.           So I'm going to put it in a bag, and

  19      I'm going to tag it.            And if it's comic books, it may be

  20      valuable, so it may get -- it may get a valuable tag and

  21      a heat seal, and it's going to get 1-B number, and a bar

  22      code, and all the paperwork that goes with it, but I

  23      would be expecting it to be called "comic books."

  24            Q.    Okay.    So in my example, I guess, then, I'm

  25      thinking I had 20 comic books there, and, you know, and


                                       Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 90 of 294 Page ID
                                   #:2384


                                                                         Page 89

   1      they're being seized, and just write -- and it's just

   2      written, you know, "comic books."              It doesn't provide

   3      any sort of number.         How do -- how does that protect

   4      against one of the agents saying, "Oh, I love this

   5      edition -- this issue of Spiderman," and putting it in

   6      his or her back pocket?

   7                     MR. RODGERS:        Objection, asked and answered.

   8                     THE WITNESS:        I don't -- I don't know how

   9      to -- I don't know how to answer that.                I mean, we

  10      don't -- first of all, I guess if, you know, if you --

  11      if you want to be a thief, I mean, anybody, I guess,

  12      could be a thief.        But it's not going to happen, because

  13      we have other procedures.           There's also -- there's

  14      photographs, there's other people present, there's

  15      signatures and countersignatures.

  16                     So, you know, am I going to say that could

  17      never happen ever, ever?           I mean, no.      But it doesn't

  18      change our policy.        It doesn't change our procedures.

  19      Our procedure is you identify the item, you put it in a

  20      bag, you seal it, you label it, you do all the

  21      appropriate paperwork, you countersign it if it's -- if

  22      it's valuables, and you place it in a safe place.

  23                     And the description is so that we know we

  24      can match it up.        So, you know, item number whatever is

  25      comic books.      Oh, here's my comic books.             Item number


                                    Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 91 of 294 Page ID
                                   #:2385


                                                                          Page 90

   1      two is watches.        Oh, here's my watches.           Item number

   2      three, miscellaneous coins.             Oh, here's my coins.

   3      BY MR. FROMMER:

   4          Q.    I guess that's what I keep coming back to,

   5      because I'm thinking, like -- with my comic books, for

   6      instance.      Let's say I have my 20 comic books and, you

   7      know, and the agents who are doing the inventorying just

   8      write down "comic books," and they put 19 of the comic

   9      books in the bag, but they -- but one of them takes the

  10      20th comic book.         Okay?    And later on when the FBI is

  11      giving me my comic books back, I say, "Hey, a comic book

  12      is missing."        How -- how does the FD-597 help us resolve

  13      that dispute at that point?

  14          A.    It doesn't.

  15                        MR. RODGERS:      Objection, asked and answered.

  16      BY MR. FROMMER:

  17          Q.    Okay.     So an FD-597 would not, in some

  18      circumstances, would not be useful for actually -- would

  19      that turn -- let me ask this:

  20                Would the -- would the utility of the FD-597 to

  21      resolve our hypothetical comic book dispute turn on what

  22      the FD-597 said?         If it said 19 comic books, or -- or if

  23      it said -- if it gave a specific number of comic books,

  24      would it then have utility in resolving that dispute?

  25                        MR. RODGERS:      Objection, poses an incomplete


                                     Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 92 of 294 Page ID
                                   #:2386


                                                                             Page 91

   1      hypothetical, overbroad, assumes facts not in evidence,

   2      calls for speculation.

   3                           You can answer.

   4                           THE WITNESS:      And the -- the answer is still

   5      no.        Because even in your -- even in your example, if

   6      somebody's going to be dishonest and steal the

   7      Spiderman, then what's to stop him from writing the

   8      wrong number of comic books on the FD-597?                     If he's --

   9      if that's what he's going to do -- or two agents are

  10      going to, or four agents, or however many are there, are

  11      going to do it in concert, then what's to stop them from

  12      fabricating the FD-597?              So --

  13      BY MR. FROMMER:

  14            Q.     So -- sorry.       Please continue.

  15            A.     Yeah, that's all.         So --

  16            Q.     Okay.     I get that.

  17                   So -- I mean, I guess -- I guess there's a couple

  18      of questions, which is what -- one, which is if the

  19      FD-597 isn't going to stop, you know, theft, and it's

  20      not going to really help resolve accusations of loss or

  21      theft, then what step in the process does help resolve

  22      those accusations of loss or theft?

  23                           MR. RODGERS:      Calls for speculation, poses

  24      an incomplete hypothetical, lacks foundation, assumes

  25      facts not in evidence.


                                        Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 93 of 294 Page ID
                                   #:2387


                                                                          Page 92

   1                        THE WITNESS:      Well, see, it's the whole

   2      process.      Right?     It's not just the FD-597.            There's an

   3      entire process here on how we do this.                 There are

   4      multiple people present, there are procedures that are

   5      followed, there's -- again, there's signatures, there's

   6      countersignatures, there's six pieces of paper, there's

   7      bar codes, there's photographs, you know.                  And warrants,

   8      it doesn't matter whether it's an inventory search or a

   9      regular search warrant, we take photographs.                   There's

  10      lots of documentary evidence that we use to show our

  11      process and to show the integrity of our process.

  12      BY MR. FROMMER:

  13          Q.    Okay.     I follow that.

  14                Let's take it from, like, your perspective.

  15      Like, you know, you're not the person who did the

  16      inventorying, but, you know -- you know, I claim, you

  17      know, that there are 20 comic books, and, you know, the

  18      FD-597 just says "comic books."              And you go to the bag,

  19      and you open up the bag, and there are 19 comic books in

  20      there.     Can you truthfully say that there -- that the

  21      FBI agents only took 19 comic books?

  22                        MR. RODGERS:      Same objections, and also

  23      asked and answered.

  24                        THE WITNESS:      I mean, if I wasn't there and

  25      I didn't do it, I can't say anything about it, for sure.


                                     Exhibit K
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                                   #:2388


                                                                          Page 93

   1      BY MR. FROMMER:

   2          Q.    So you couldn't swear under oath the FBI agents

   3      only -- only seized 19 comic books, because you in fact

   4      wouldn't have personal knowledge of whether they seized

   5      19 comic books or if there was a 20th comic book that

   6      just made it into one of their back pockets; is that

   7      correct?

   8                       MR. RODGERS:       Same objections.

   9                       THE WITNESS:       Correct.

  10      BY MR. FROMMER:

  11          Q.    Is that correct?

  12          A.    Yes.

  13          Q.    Oh, sorry.      I thought you were talking to Victor

  14      instead of me.        My apologies.

  15                And -- okay.       Let me ask -- so I understand the

  16      thing about the inventories, about FD-597s.                   Are

  17      FD-597s, when they're filled out, are they supposed to

  18      be filled out in a consistent manner?                And let me

  19      explain what I mean by that.             I mean, like, if I have

  20      two agents who are conducting an inventory and filling

  21      out the FD-597s, should those agents produce the same or

  22      substantially similar inventory for a given box?

  23                       MR. RODGERS:       Objection, unclear whether the

  24      inventory relates to the FD-597 or something else.

  25                       MR. FROMMER:       I can rephrase.


                                     Exhibit K
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                                   #:2389


                                                                          Page 94

   1                        THE WITNESS:      You've also got to understand,

   2      because two agents wouldn't -- you wouldn't have two

   3      different agents writing the same --

   4                        MR. FROMMER:      I -- okay.      Let me rephrase.

   5      BY MR. FROMMER:

   6          Q.    Let's say you have two -- let's say you have two

   7      identical boxes.         Okay?    They have the same contents in

   8      them --

   9          A.    All right.

  10          Q.    -- each box.       And you have two agents who are

  11      each inventorying one of the boxes.                Should the FD-597s

  12      they produce be either the same or substantially

  13      similar?

  14                        MR. RODGERS:      Objection, vague and ambiguous

  15      with respect to the "substantially similar," assumes

  16      facts not in evidence, calls for a legal conclusion.

  17                        THE WITNESS:      Yes.

  18      BY MR. FROMMER:

  19          Q.    Was that "yes" to me?

  20          A.    Yes, it is.

  21          Q.    Okay.

  22          A.    Recognizing, like, you know, agents are human

  23      beings, so, you know, some -- there's going to be little

  24      variations, but they should be substantially the same.

  25          Q.    Okay.     But -- okay.      They should be substantially


                                     Exhibit K
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                                   #:2390


                                                                          Page 95

   1      the same.

   2                You wouldn't want, like, different levels of

   3      specificity on the FD-597 just based on who happened to

   4      do the inventory and fill out that 597; is that right?

   5                        MR. RODGERS:      Objection, incomplete

   6      hypothetical, calls for a legal conclusion, assumes

   7      facts not in evidence, lacks foundation.

   8                        THE WITNESS:      And that's a more complicated

   9      answer.     Some agents are more specific and thorough than

  10      other agents, and it depends on a variety of things.

  11      Again, it can depend on, like, where -- like, sometimes

  12      when we're in the field, we're in a -- in a -- at a

  13      table with a chair, and lots of help, and lots of time,

  14      and you can sit there and open up a cell phone and write

  15      its serial number down.           Other times that's not going to

  16      happen.     So there's some variation depending on overall

  17      circumstances.

  18                        But in general, if two agents were opening a

  19      box that had substantially the same property in it, I

  20      would expect the FD-597 to look substantially the same.

  21      BY MR. FROMMER:

  22          Q.    Okay.     Thank you for that.

  23                Is there -- does the FBI provide any training

  24      about -- concerning how to write an FD-597 in a

  25      consistent manner?         Let me rephrase.         That was --


                                     Exhibit K
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                                   #:2391


                                                                          Page 96

   1                Does the FBI provide any training as to best

   2      practices for filling out an FD-597 so that those

   3      resulting 597s that are produced would be the same or

   4      substantially similar?

   5                        MR. RODGERS:      Vague and ambiguous,

   6      incomplete hypothetical.

   7                        THE WITNESS:      And I -- I don't know.           I

   8      mean, we get training on -- I know, you know, at

   9      Quantico you do training on searches, we're all familiar

  10      with the FD-597, but I don't specifically recall a

  11      specific training on how to fill out a 597.

  12      BY MR. FROMMER:

  13          Q.    Okay.     So if you don't recall any training --

  14      so --

  15          A.    Right.

  16          Q.    -- on how to -- so, therefore, you don't

  17      recall -- is it fair to say you don't recall any

  18      training on the requisite level of specificity that you

  19      should have when filling out an FD-597?

  20          A.    Correct.

  21                        MR. FROMMER:      Okay.    All right.       Give me

  22      just a moment, please.           And I know we're running up on

  23      noon out there, so I will keep you only for a few more

  24      minutes, and then I'll release you to lunch.                   I just

  25      want to talk about one document.


                                     Exhibit K
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                                   #:2392


                                                                            Page 97

   1                          (Exhibit 5 marked at this time.)

   2      BY MR. FROMMER:

   3            Q.    Okay.     I have just introduced Exhibit 5.

   4      Zellhart Exhibit 5.            So -- tell me when you have a

   5      minute to look.

   6                          MR. RODGERS:      All right.

   7      BY MR. FROMMER:

   8            Q.    Now, I will purport that this is a copy, part one

   9      of two, of the 2013 version of the DIOG that I acquired

  10      from the FBI Vault website.               If you could take a minute

  11      or two to go through, and let me know whether you agree

  12      that that's what I -- that what I purport it to be it

  13      is.

  14                          MR. RODGERS:      Well, this is a two hundred --

  15      this document appears to be two -- hundreds and hundreds

  16      and hundreds of pages.             So -- it's 700 pages.          It's not

  17      possible for us to be able to say that it was downloaded

  18      from the website.           I mean, you can represent whatever

  19      you want to represent about it, but we can't answer that

  20      question.

  21      BY MR. FROMMER:

  22            Q.    Okay.     Have you ever looked at the 2013 version

  23      of the DIOG?

  24            A.    Probably.

  25            Q.    Okay.


                                       Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 99 of 294 Page ID
                                   #:2393


                                                                             Page 98

   1            A.     Probably back in 2013.

   2            Q.     Yeah.

   3            A.     I think that's when it came out.

   4            Q.     Yeah.     And my understanding is it got superseded

   5      in 2016 by the current version of the DIOG.

   6                   All right.      Let me turn to page -- well, before I

   7      ask, are you aware of any FBI policy that requires --

   8      requires agents, special agents, to use the least

   9      intrusive investigative technique that is capable of

  10      achieving the FBI's objective?

  11                           MR. RODGERS:      Objection, overbroad, lacks

  12      foundation.           If there's -- lacks foundation, calls for

  13      speculation.

  14                           THE WITNESS:      Yes.

  15                           MR. FROMMER:      I'm sorry.      Was that answer to

  16      us?        I -- I --

  17                           THE WITNESS:      Yes, it was.       Yes.

  18                           MR. FROMMER:      Okay.    I think I'm -- I think

  19      I'm having -- we're having a hard time hearing you.

  20      Yeah, you might want to move --

  21                           THE WITNESS:      I'll try to speak up.

  22                           MR. FROMMER:      Okay.    All right.

  23      BY MR. FROMMER:

  24            Q.     Now I just forgot what my last question was.                Oh.

  25                   Are you aware of any FBI policy that requires


                                        Exhibit K
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                                    #:2394


                                                                           Page 99

   1       agents to use the least intrusive techniques, consistent

   2       with the FBI's objectives, and I believe you said yes.

   3                         MR. RODGERS:      Same objections.

   4                         THE WITNESS:      Yes.    But yes.

   5       BY MR. FROMMER:

   6           Q.    Okay.

   7           A.    The answer's yes.

   8           Q.    Okay.     All right.      Well, let me turn to page 77

   9       of Exhibit 5.

  10                         THE WITNESS:      He's scrolling.

  11                         MR. FROMMER:      I'm going as fast as I can.

  12       Sorry.     I went a little bit too -- okay.

  13                         MR. RODGERS:      Before -- now that you're on

  14       that page, could you identify the page number at the

  15       bottom of the page you were on?              Because we're scrolling

  16       through it ourselves.

  17                         MR. FROMMER:      Sure.    It is 4-1.       I had it

  18       listed as page 77 of the PDF in my notes, if that is

  19       helpful to you.

  20                         MR. RODGERS:      It doesn't really help us.

  21       Okay.     We're close.

  22                         Okay.   We are on page four -- 4-1.

  23                         MR. FROMMER:      Okay.

  24       BY MR. FROMMER:

  25           Q.    Okay.     If you could look at 4.1.1, sub E).              So


                                      Exhibit K
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                                    #:2395


                                                                          Page 100

   1       that's the -- about two-thirds of the way down the page,

   2       and it reads:        Employ the least intrusive.            Could you

   3       read that -- that subpart E) to us, please?

   4           A.    Sure.

   5                 Assuming a lawful intelligence or evidence

   6       collection objective, i.e., an authorized purpose,

   7       strongly consider the method, technique, employed to

   8       achieve that objective that is the least intrusive

   9       available, particularly if there's a potential to

  10       interfere with protected speech and association, damage

  11       someone's reputation, intrude on privacy, or interfere

  12       with the sovereignty of foreign government, while still

  13       being operationally sound and effective.

  14           Q.    Okay.     So is it fair to say that the FBI policy

  15       is that to the extent an investigative technique could

  16       intrude on privacy, that FBI special agents should

  17       consider a technique, the least -- the -- should strive

  18       to employ the least intrusive technique available that

  19       would meet the FBI's goals?

  20                         MR. RODGERS:      Objection, calls for

  21       speculation, lacks foundation, calls for a legal

  22       conclusion, assumes facts not in evidence.

  23                         THE WITNESS:      And to answer that, I would

  24       just re-read that paragraph.             So your question was what

  25       is FBI policy, and unless this has been superseded, FBI


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                                    #:2396


                                                                          Page 101

   1       policy in regards to that is sitting there in sub

   2       paragraph E).

   3       BY MR. FROMMER:

   4           Q.    Okay.

   5           A.    That is my understanding of the policy, and I've

   6       been trained on it.

   7           Q.    Okay.     And you -- and -- so you've been trained

   8       that when conducting -- the use of any technique should

   9       be minimally invasive when there are speech or privacy

  10       concerns; is -- is that fair to say?

  11                         MR. RODGERS:      Objection, poses an incomplete

  12       hypothetical, assumes facts not in evidence, lacks

  13       foundation, calls for speculation, calls for a legal

  14       conclusion.

  15                         THE WITNESS:      Right.     And, again, I would

  16       just -- I would just point to paragraph E).                   What --

  17       what it says in paragraph E) is the FBI's policy.                     And

  18       I'm familiar with the policy, I've been trained on the

  19       policy, and -- and as it's written in sub paragraph E),

  20       I totally agree with.

  21                         MR. FROMMER:      Okay.    All right.       Okay.

  22       Let's see.

  23                         All right.     It's just about noon your time,

  24       so why don't we -- and I know we're about to hit our

  25       90 minutes, so it seems like it's a perfect time to


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                                    #:2397


                                                                          Page 102

   1       break, to go get lunch.           Last time, Victor, I think we

   2       took an hour.        I'm fine with that.         If you --

   3                         MR. RODGERS:      Good.

   4                         MR. FROMMER:      -- want to do that.

   5                         MR. RODGERS:      Yes.

   6                         MR. FROMMER:      Oh, sorry.      Yeah, let's go off

   7       the record.

   8                         THE VIDEOGRAPHER:         We are off the record.

   9       The time is 11:58 a.m.

  10                  (A lunch break was taken at this time.)

  11                         THE VIDEOGRAPHER:         We are back on the

  12       record.     The time is 12:59 p.m.

  13                         MR. FROMMER:      Thank you.      And I hope you --

  14       like I just said, I hope you had a good lunch.

  15       BY MR. FROMMER:

  16           Q.    I want to shift gears a little bit, here.                   And

  17       we've been talking about general topic stuff up until

  18       now.     I want to get a little bit more specific.                   So let

  19       me start with this:          When did you first hear about U.S.

  20       Private Vaults?

  21           A.    2015.

  22           Q.    And can you tell -- can you tell me what you had

  23       heard?

  24           A.    Yeah.     I was working with the sheriff's

  25       department on a task force, and their drug squad, or


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                                    #:2398


                                                                          Page 103

   1       drug group, had an investigation that led back to U.S.

   2       Private Vaults.

   3                 And so one of the sheriff's deputies that I work

   4       with was telling me about the place, and that it was

   5       totally anonymous, and you got in with an -- with an eye

   6       scan, and that they were not -- the U.S. Private Vaults

   7       was not recognizing the legal process, they were --

   8       they -- that they were having all kinds of problems

   9       getting into the box that they had a warrant for because

  10       of the nature of the business.

  11           Q.    So was it because they had a hard time

  12       identifying which specific box was the one that they

  13       were trying to seize?

  14           A.    Right, because of the anonymity of it.                And they

  15       were not getting cooperation from the -- the company at

  16       all.

  17           Q.    Okay.    So you first heard about USPV in 2015 as

  18       part of a separate investigation.               When did you

  19       personally start -- begin investigating U.S. Private

  20       Vaults?

  21           A.    2019.

  22           Q.    Could you say roughly when in 2019 you began?

  23           A.    Around April.

  24           Q.    Okay.    And you -- you're the lead case agent on

  25       the U.S. Private Vaults matter; right?                 Is that correct?


                                      Exhibit K
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                                    #:2399


                                                                          Page 104

   1           A.    For the FBI, yes.

   2           Q.    Oh, okay.      So there are other lead case agents

   3       for other agencies?

   4           A.    Yes.

   5           Q.    Do you know who those people are?

   6           A.    Yes.    So DEA was the -- DEA was the primary

   7       investigative agency pretty much through the

   8       investigative period.           So this was actually a DEA case

   9       that the FBI was participating with them.                  And U.S.

  10       Postal Inspector was also participating, in addition to

  11       some -- some local law enforcement as -- sometimes as

  12       needed.     But this was primarily a DEA investigation when

  13       I joined it.

  14           Q.    Okay.    I'm -- so -- so this was primarily --

  15       well, I -- I -- okay.           So it was primarily -- so was the

  16       DEA already investigating U.S. Private Vaults prior to

  17       April of 2019?

  18           A.    Yes.    And I -- I can -- if I can explain this, I

  19       think it will -- it will make it clear.

  20                 Lots of law enforcement agencies were aware of

  21       U.S. Private Vaults, going back to 2015.                  And many

  22       agencies had -- were aware of U.S. Private Vaults, were

  23       aware that criminals were regularly using U.S. Private

  24       Vaults to store criminal proceeds, and agencies had

  25       different investigations open on individual customers,


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 106 of 294 Page ID
                                    #:2400


                                                                          Page 105

   1       and that includes the DEA, who had a pretty -- a pretty

   2       significant case, or cases, against some individual

   3       customers.      But the -- the investigation against the

   4       corporation, U.S. Private Vaults as a business entity,

   5       didn't start until approximately April of 2019.

   6           Q.    So was it you who were -- the one who initiated

   7       the investigation of U.S. Private Vaults the

   8       corporation?

   9           A.    No.   It was everybody together.             So basically we

  10       concluded that after almost five years of -- of going

  11       after individual customers, we weren't -- we weren't

  12       doing anything effective.            I mean, there's some good

  13       cases, some good individual cases, but the problem was

  14       the business itself.          And so we -- the three agencies

  15       came together, along with the U.S. Attorney's Office, to

  16       try to come up with how do we address the real problem.

  17                 The underlying problem in a money laundering case

  18       is the money laundering facilitator, and U.S. Private

  19       Vaults was a facilitator.            In my world of money

  20       laundering, the facilitator is not the guy who's

  21       laundering his own dirty money, it's the lawyer, the

  22       accountant, the banker, the businessman who is -- is

  23       supposedly legitimate but is enabling the criminal, or

  24       in this case, a lot of criminals, to conduct their

  25       criminal business.


                                      Exhibit K
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                                    #:2401


                                                                          Page 106

   1                 So the question was, in that spring of that year,

   2       how do we address the real problem here, which isn't all

   3       these people, but it's the money laundering facilitator,

   4       which is U.S. Private Vaults, the business.                   And

   5       frankly, that was -- that was the concern when it was

   6       first brought to my attention in 2015.                 That's the --

   7       that's the question the sheriff's were asking as well.

   8       It was, like:        Hey, what do we do about this business?

   9       We can't have this kind of business that attracts this

  10       kind of criminal and protects this kind of criminal.

  11           Q.    Okay.    I understand that.

  12                 So in April 2019, then, the investigation of

  13       Private Vaults, the corporation, began.                 And is it

  14       correct to say that that investigation spanned multiple

  15       federal agencies, including DEA, FBI, and USPIS?

  16           A.    Correct.

  17           Q.    Are there other federal agencies that were

  18       involved?

  19           A.    No.

  20           Q.    Were there any state or local agencies that were

  21       involved in the investigation?

  22           A.    From time to time we would -- we would get the

  23       assistance of different local police departments.                    For

  24       example, DEA is actually on a task force with El Monte

  25       Police Department, and so a lot of times on our


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 108 of 294 Page ID
                                    #:2402


                                                                          Page 107

   1       different, like, operations, El Monte PD would be

   2       helping us.

   3           Q.    Okay.     And is that because you're operating under

   4       sort of that task force umbrella?

   5           A.    Correct.     And, like, a lot of times they can --

   6       it helps us to provide additional personnel.                   So -- so

   7       we don't -- we're not bringing -- so you have -- you

   8       have federal case agents, but you have local police

   9       officers and task force officers helping when you need a

  10       lot of people.

  11           Q.    Okay.     So is it fair to say, then, that the

  12       investigation that began in April of 2019 was being

  13       conducted by the task force?

  14           A.    No.     I would say that the investigation was being

  15       conducted jointly by FBI, DEA, and U.S. Postal

  16       Inspector.

  17           Q.    Okay.     All right.      And you said from time to time

  18       local agencies who might be in a task force, I think you

  19       said with DEA, might provide assistance.

  20           A.    Correct.

  21           Q.    Okay.     But it wasn't being -- but the

  22       investigation itself wasn't being done under the aegis

  23       of the -- of any particular task force; is that right?

  24           A.    That's correct.

  25           Q.    Okay.     And so is it true, then, that you helped


                                      Exhibit K
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                                    #:2403


                                                                          Page 108

   1       investigate U.S. Private Vaults from April 2019 all the

   2       time up until its indictment in March 2021?

   3           A.    Yes.

   4           Q.    Okay.     And did you present evidence or testimony

   5       to the grand jury as part of the acquisition of the

   6       indictment against U.S. Private Vaults?

   7                         MR. RODGERS:      Objection, cannot reveal grand

   8       jury --

   9       BY MR. FROMMER:

  10           Q.    I'm not asking about the substance of any -- of

  11       any testimony you would have provided, I'm just asking

  12       did you ever talk to them.

  13                         MR. RODGERS:      Can't identify the witnesses

  14       in front of the grand jury.             It's a violation of Rule

  15       6(e).

  16       BY MR. FROMMER:

  17           Q.    Were you a central figure in the U.S. Private

  18       Vaults investigation?

  19           A.    Yes.

  20           Q.    Okay.     And was the indictment that issued, did it

  21       reflect facts that you had learned through your

  22       investigation?

  23                         MR. FROMMER:      If you have an objection,

  24       Victor, say it, but I prefer you not confer with the

  25       witness off camera.


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 110 of 294 Page ID
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                                                                          Page 109

   1                         MR. RODGERS:      I'm not conferring.         The

   2       problem is you are asking her questions about a

   3       document, but she needs to look at the document to

   4       answer your question.           The indictment is attached to the

   5       search warrant affidavit, and -- and it's an exhibit to

   6       the affidavit.

   7                         MR. FROMMER:      Okay.    I mean, we could

   8       continue -- I could show you that, the indictment, if

   9       you wanted to, but it's fair to say -- but I -- I don't

  10       think it's worth the -- it seems that --

  11       BY MR. FROMMER:

  12           Q.    Do you agree that you were a central part of the

  13       investigation, and that the investigation culminated in

  14       an indictment against U.S. Private Vaults, the

  15       corporation?

  16           A.    Yes.

  17           Q.    Okay.     And just so I can be clear, the indictment

  18       was -- that issued, and your investigation was against

  19       U.S. Private Vaults, the corporation; is that right?

  20           A.    Correct.     Yes.

  21           Q.    It -- the -- your investigation and the

  22       indictment were not about any particular U.S. Private --

  23       or U.S. Private Vaults customers; is that correct?

  24           A.    That's correct.

  25           Q.    And can you explain to me, like, with U.S.


                                      Exhibit K
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                                    #:2405


                                                                          Page 110

   1       Private Vaults -- you called them a facilitator.                      And I

   2       hadn't heard that term before, so I was wondering if you

   3       could just sort of go through it for me one more time.

   4       Tell me, like, how -- what -- what a money laundering

   5       facilitator is and how USPV was a money laundering

   6       facilitator.

   7           A.    Sure.    So when you look at -- when you look at a

   8       money laundering investigation, you can have -- you can

   9       have money laundering charges against a criminal who

  10       launders their own money.            So, for example -- drug cases

  11       are super easy to understand.             So I'm a drug dealer, but

  12       I also have a flower shop, and I'm claiming that my

  13       flower shop is making oodles of money, but it doesn't

  14       really do anything.          All of that money is from my drug

  15       sales.     So I'm the money launderer, but I launder my own

  16       criminal proceeds.         So that's one type of -- of money

  17       launderer.

  18                 And -- and there's other ways.             You can -- you

  19       can take your criminal proceeds and buy a boat, or a

  20       plane, or a car.         That's also money laundering.               Right?

  21       But in those cases you're laundering your own money.

  22                 And as a -- as a money laundering investigator

  23       doing money laundering cases, we're -- our mission is

  24       more directed, if we're good and we're successful, at

  25       the money laundering facilitator.               And this is going to


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                    #:2406


                                                                          Page 111

   1       be the company, the big company, for example, that

   2       launders everybody's money.

   3                 Here in Los Angeles, the -- you may read in the

   4       newspapers, the garment district here is -- is quite

   5       famous for taking loads of drug money and swapping

   6       clothes in Mexico for drugs up here.                It's called

   7       trade-based money laundering, or sometimes it's called

   8       black market peso exchange.              Those are examples of a

   9       money laundering facilitator.              The business is the

  10       facilitator.       They make the system go.            So they are not

  11       the underlying criminal, but they are the -- the

  12       mechanism that makes it go.              Particularly important in

  13       the money realm, because money is what makes this --

  14       what makes the crimes go.

  15                 So we looked at U.S. Private Vaults as a -- a

  16       criminal facilitator.           Right?     They're making it easy

  17       and accessible and very convenient for criminals to

  18       maintain their criminal proceeds and further their

  19       criminal conduct.         So in that sense, U.S. Private Vaults

  20       was a facilitator.

  21           Q.    I see.     Okay.    I get it.

  22                 And so -- and what you're saying they were

  23       facilitating is money laundering by the customers of

  24       U.S. Private Vaults; is that right?

  25           A.    Correct.


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                    #:2407


                                                                          Page 112

   1           Q.    Got it.     Okay.     Okay.    That -- that -- that makes

   2       a bit more sense to me.

   3           A.    And the co-located gold and jewelry exchange was

   4       an intimate part of it because, as we proved, people

   5       were also trading their cash for gold, their criminal

   6       proceeds, and switching them from cash into gold, and

   7       then storing them at U.S. Private Vaults.                  So it was

   8       another layer of the criminal facilitation.                   And the

   9       customers were being coached by the employees at U.S.

  10       Private Vaults on how to do this and avoid bank

  11       reporting requirements.

  12           Q.    Okay.     Yeah.     Like how to avoid -- doing it under

  13       a $10,000 amount?

  14           A.    Correct.

  15           Q.    So it sounds, then, like your concern about this

  16       place is that it was facilitating the criminal

  17       activities -- U.S. Private Vaults and -- was it Olympic

  18       Gold and Coin, I believe?

  19           A.    (No audible response.)

  20           Q.    That those two businesses together were

  21       facilitating criminal activity by customers.

  22           A.    Correct.

  23           Q.    Okay.     All right.      And I know we had a bit of a

  24       discussion earlier about the warrant application.                    I

  25       understand now that the warrant application is put


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 114 of 294 Page ID
                                    #:2408


                                                                          Page 113

   1       together by the U.S. Attorney's Office, but that the

   2       affidavit is your creation, and your contribution to it.

   3                       MR. FROMMER:        So let me go back to -- let me

   4       see which exhibit this was.             It's Exhibit 3, if we could

   5       pull that one back up.

   6                       MR. RODGERS:        We have it on screen.

   7                       MR. FROMMER:        Okay.    All right.

   8       BY MR. FROMMER:

   9           Q.    And I wanted to -- there's a couple parts in here

  10       that I wanted to talk about.             If you could turn -- let

  11       me see.     Do I have control right now?             Yeah.     So here on

  12       page six -- I've already highlighted it, so I have --

  13       this is part of the seizure warrant.                And it says --

  14       it's describing the nests and the criminal search --

  15       does not authorize a criminal search of the contents.

  16                       MR. RODGERS:        Can you hang on just a second?

  17                       MR. FROMMER:        Yeah.

  18                       MR. RODGERS:        I'm not sure that this is part

  19       of the seizure warrant.

  20                       MR. FROMMER:        Is it the search warrant?

  21                       MR. RODGERS:        I think it's the search

  22       warrant.

  23                       MR. FROMMER:        Okay.    Well, let me move down,

  24       then.     Because this is -- let's go off the record just

  25       for a minute.


                                      Exhibit K
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                                    #:2409


                                                                          Page 114

   1                         MR. RODGERS:      Yes.

   2                         MR. FROMMER:      I just want to clear this up,

   3       because I don't want to be pointing at one thing when I

   4       should be pointing at another.

   5                         THE VIDEOGRAPHER:        We are off -- sorry.       We

   6       are off the record.          The time is 1:17 p.m.

   7        (An off the record discussion was held at this time.)

   8                         THE VIDEOGRAPHER:        We are back on the

   9       record.     The time is 1:18 p.m.

  10                         MR. FROMMER:      All right.      If you could go to

  11       page 139 of this exhibit.

  12                         MR. RODGERS:      We are on that page.

  13       BY MR. FROMMER:

  14           Q.    All right.      And I was wondering, the language in

  15       C here, talking about the warrant doesn't authorize a

  16       criminal search or seizure of the contents of the safety

  17       deposit box, and the continuing language.                  Did you draft

  18       this language, Special Agent Zellhart?

  19           A.    No.

  20           Q.    Okay.     Do you know who did?

  21           A.    Yes.

  22           Q.    Who is that?

  23           A.    Andrew Brown.

  24           Q.    Oh, okay.      All right.

  25                 And then -- and then if you could, go down to --


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 116 of 294 Page ID
                                    #:2410


                                                                          Page 115

   1       it's -- this is a large document -- the page, 224.                   USAO

   2       224.     And just tell me when you're there.

   3                         MR. RODGERS:      Okay.    Hold on a second.

   4                         We are on 224.

   5                         MR. FROMMER:      All right.

   6       BY MR. FROMMER:

   7           Q.    All right.      And I had a question about -- this is

   8       part of your affidavit; is that correct?

   9           A.    Correct.

  10           Q.    Okay.     And so the language in -- can you read the

  11       language that begins on line one and ends at line four?

  12           A.    In order to notify the owners directly, agents

  13       will, in accordance with their policies regarding an

  14       unknown person's property, look for contact information

  15       or something which identifies the owner.

  16           Q.    And then if you could, like, briefly -- if you

  17       could briefly read the footnote 40.

  18           A.    The FBI policy regarding taking custody of an

  19       unknown person's property provides, in part, that

  20       agents, quote, inspect the property as necessary to

  21       identify the owner and preserve the property for

  22       safekeeping, close quote.            The inspection should, quote,

  23       extend no further than necessary to determine ownership,

  24       close quote.

  25           Q.    And for those -- did you write those two passages


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 117 of 294 Page ID
                                    #:2411


                                                                          Page 116

   1       that you just read?

   2           A.    I did not.

   3           Q.    You did not?       Isn't this your affidavit?

   4           A.    It is.

   5           Q.    I'm -- I'm confused then.            If you -- who -- who

   6       wrote those portions of the affidavit, if you didn't?

   7           A.    Andrew Brown drafted those portions.                I reviewed

   8       them.

   9           Q.    Okay.

  10           A.    And agreed with them.

  11           Q.    Okay.     While we're already here, let's -- sorry

  12       for jumping around so much in this document, but in your

  13       affidavit -- let me -- in your affidavit, in support of

  14       the warrant application, did you suggest that everyone

  15       who had a safe deposit box at U.S. Private Vaults was a

  16       criminal?

  17                         MR. RODGERS:      Objection, the document speaks

  18       for itself.        Go ahead.

  19                         THE WITNESS:      I described situations where I

  20       was aware of criminal investigations going back to U.S.

  21       Private Vaults.        So I described situations where I knew

  22       that criminals were keeping their criminal proceeds at

  23       U.S. Private Vaults.

  24       BY MR. FROMMER:

  25           Q.    I understand in your affidavit there are a number


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 118 of 294 Page ID
                                    #:2412


                                                                          Page 117

   1       of paragraphs concerning specific -- specific instances

   2       where criminals were using the facilities at U.S.

   3       Private Vaults in some way.             But I'd like to go to page

   4       10 -- USAO 108.

   5                         MR. RODGERS:      We are on page 108.

   6       BY MR. FROMMER:

   7           Q.    Okay.     Can you read me the header on line -- line

   8       nine?

   9           A.    Sure.

  10                 It would be irrational for noncriminal customers

  11       to choose USPV.

  12           Q.    So given that statement, was it your opinion that

  13       most of the people who rented from U.S. Private Vaults

  14       were criminals in some way?

  15                         MR. RODGERS:      Objection.      The document

  16       speaks for itself, mischaracterizes the terms of the

  17       document.

  18                         THE WITNESS:      It was our position that U.S.

  19       Private Vaults was a -- sort of a criminal magnet.                   That

  20       they marketed themselves to criminals, they protected

  21       criminals, they obstructed law enforcement.                   Mike

  22       Poliak, one of the co-owners, specifically brought

  23       criminals into the business when he became a co-owner,

  24       which increased their profits.

  25                         So I was aware that there were probably a


                                      Exhibit K
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                                    #:2413


                                                                          Page 118

   1       lot of criminals secreting criminal proceeds at this

   2       business.      But I would add that Mike Poliak himself

   3       said, and I quoted in here:             You can't have every drug

   4       dealer in here, you need normal people, too.                   So even

   5       the co-owner acknowledged that it was a mix.

   6       BY MR. FROMMER:

   7           Q.    Well, I'm -- I'm -- but I guess -- let me -- I

   8       understand that, but let me just ask that question

   9       again.

  10                 So in your opinion, as reflected in this -- your

  11       affidavit, was it your opinion that most of the people

  12       who rented safe deposit boxes from U.S. Private Vaults

  13       were criminals in some way?

  14                         MR. RODGERS:      Same objections.

  15                         THE WITNESS:      So I don't know -- like,

  16       most -- I mean, I don't know.             I know there were --

  17       there were -- I was expecting a lot of criminals.                    I

  18       don't know about most.           I don't know, like, what I was

  19       expecting.        I knew that criminals used this business,

  20       and that the business protected criminals.

  21       BY MR. FROMMER:

  22           Q.    Okay.     Well, if you can see, it says there on

  23       lines -- well, it's not really lines 10 and 11, it

  24       doesn't line up.         But in your affidavit you state,

  25       quote:


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 120 of 294 Page ID
                                    #:2414


                                                                          Page 119

   1                 There's no reason for noncriminal clients to use

   2       USPV.

   3                         MR. RODGERS:      Objection, mischaracterizes --

   4       BY MR. FROMMER:

   5           Q.    Doesn't that -- doesn't that suggest that you

   6       thought that over -- that the overwhelming people --

   7       number of people, or percentage of people who were using

   8       U.S. Private Vaults would be criminals?

   9                         MR. RODGERS:      Objection, mischaracterizes

  10       the testimony, the document speaks for itself,

  11       argumentative.

  12                         THE WITNESS:      So, again, I fully expected

  13       there to be criminal customers at this business, but I

  14       don't know -- I don't sort of know how to answer your

  15       question as to whether it was all of them, it was most

  16       of them.      I don't -- I don't have a percentage.                  I

  17       know -- I know there were criminals using this

  18       business --

  19       BY MR. FROMMER:

  20           Q.    Okay.

  21           A.    -- to secrete criminal proceeds.              And I knew that

  22       at the time.        I was -- that was -- I was aware of that

  23       at the time.

  24           Q.    Okay.     And I think you said a second ago that you

  25       were expecting a lot of criminals, I think is the way


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 121 of 294 Page ID
                                    #:2415


                                                                          Page 120

   1       you phrased it; is that right?

   2           A.    Yes.

   3           Q.    Okay.     You mean as in expecting to find a lot of

   4       proceeds of criminal activity in the safe deposit boxes

   5       at U.S. Private Vaults?

   6           A.    Yes.     I anticipated that there would be criminal

   7       proceeds in the safe deposit boxes.

   8           Q.    I want to talk very briefly, and let me see if I

   9       can find the -- I'm trying to go back to the seizure

  10       warrant, so give me just a moment.

  11                 Okay.     If you could go to page USAO 137.

  12                         MR. RODGERS:      We are on that page.

  13       BY MR. FROMMER:

  14           Q.    Okay.     And I just wanted to talk about the items

  15       that the warrant authorized seizure for.                  Why don't we

  16       just take these, I think, in order.

  17                 First off, it says the business computers.

  18       Why -- why -- why did -- why did you want to seize the

  19       business computers as part -- as part -- when executing

  20       the warrant?

  21           A.    So if I can answer more generally.               The -- the

  22       items to be seized were what we decided were the

  23       facilities of this business, that this business needed

  24       to be in business.         So our thinking was what is the core

  25       of this -- what is the engine of this business?                      What do


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 122 of 294 Page ID
                                    #:2416


                                                                          Page 121

   1       you need to take away from them to take them out of

   2       business?      Because the goal of the investigation was

   3       essentially to put U.S. Private Vaults out of business.

   4       And so these were the items that we came up with that

   5       sort of, either alone or in conjunction, without which

   6       they could not continue to do business.

   7           Q.    So is it the case that you seized these items not

   8       for their evidentiary value, but in order to bring

   9       the -- bring the business to a screeching halt?

  10           A.    Correct.     And that's the difference between the

  11       search warrant and the seizure warrant.                 The search

  12       warrant authorizes search for -- as part of the criminal

  13       investigation as to looking for evidence.                  The seizure

  14       warrant was what we were seizing from the business as

  15       the facilities that the corporation used to conduct its

  16       criminal business for which it was indicted.

  17                 So the -- so it was indicted for a set of crimes,

  18       and these are the things it needed to commit those

  19       crimes.     And so this list is generated, as I said, as

  20       what do they need to continue facilitating crime.                    Like,

  21       what -- what do they need to do?               How do we take them

  22       out of business?         What is the core engine of their

  23       business?

  24           Q.    So was the purpose in seizing the nest of safe

  25       deposit boxes to prevent the continued operation of U.S.


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                                    #:2417


                                                                          Page 122

   1       Private Vaults?

   2           A.    Correct.     If we had not taken the boxes, they

   3       could have replaced the computers, the money counters,

   4       the eyeball scanners, and they would have been back in

   5       business on April 1st, and probably had more business.

   6       So the nest of security boxes was part and parcel of

   7       taking this company out of business.

   8           Q.    Couldn't the FBI just have taken over U.S.

   9       Private Vaults, appointed a receiver, and the business

  10       is out of operation?          Wouldn't that have just --

  11       wouldn't that have -- given that you're saying the

  12       purpose of these seizures is to stop U.S. Private Vaults

  13       from continuing to operate as it had, couldn't you have

  14       equally effectuated that purpose by simply taking over

  15       the business, adopting a receiver to run the place, and

  16       U.S. Private Vaults, as it was, is no more?                   So why --

  17       why wasn't that -- why didn't you do that?

  18                       MR. RODGERS:        Objection, lacks foundation.

  19                       THE WITNESS:        So we don't -- so we don't,

  20       like, take over businesses.             I don't -- I'm not aware of

  21       that happening.        Putting something through receivership

  22       is a -- is a legal thing that I don't -- I don't know

  23       how that happens.         I'm not aware of it happening, and

  24       I'm not aware of the FBI taking over a business.

  25


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   1       BY MR. FROMMER:

   2           Q.    Are you aware of any parts of the DIOG that

   3       discuss, you know, appointing a receiver, or operating a

   4       business -- or operating a business in lieu of

   5       conducting a seizure of this sort?

   6           A.    No.

   7           Q.    Would you be surprised if those portions of the

   8       DIOG exist?

   9           A.    Yes.

  10           Q.    Okay.     Do you agree that whether or not you're

  11       aware that the DIOG discusses appointing a receiver, do

  12       you agree that from -- that appointing a receiver to

  13       basically tell everyone, you know, come get your stuff,

  14       U.S. Private Vaults, as it was, is out of business,

  15       would have been less intrusive as to -- as to the box

  16       holders than the seizure that -- the seizure of the nest

  17       that the seizure warrant authorized?

  18                         MR. RODGERS:      Objection, lacks foundation,

  19       calls for a legal conclusion, assumes facts not in

  20       evidence.

  21                         THE WITNESS:      And I don't -- I don't -- I

  22       don't know the answer to that.              I don't know the process

  23       of appointing a receiver.            I've never known that to be

  24       done.     I don't know how to do that.             I don't know

  25       whether that would be less intrusive or more intrusive,


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                                    #:2419


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   1       or any different from what the ultimate outcome was.                      So

   2       I don't -- I don't know.

   3       BY MR. FROMMER:

   4           Q.    Did you ever explore alternatives to cracking

   5       open the nest of safety deposit boxes?

   6           A.    Once we -- once we completed or got our

   7       investigation into U.S. Private Vaults, as a

   8       corporation, to a certain point, then the question for

   9       us was how do we take -- how do we dismantle this

  10       criminal organization.           That's our goal.         That's the

  11       mission, is to disrupt and dismantle.                So how do we

  12       dismantle this criminal organization.

  13                 And there was, in my mind, no way to do it other

  14       than to remove the nest of safe deposit boxes, which was

  15       part and parcel of the business.               That was the point of

  16       the business.        It was the whole business.

  17           Q.    I understand that, but you never explored -- you

  18       know, before lunch we talked about the 2013 DIOG, and

  19       it's -- and a statement which I think you agree

  20       continues to be --

  21           A.    Right.

  22           Q.    -- in effect, that you should be minimally

  23       intrusive, particularly when areas involving privacy are

  24       implicated.

  25           A.    Right.


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                                    #:2420


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   1           Q.    Did you undertake --

   2           A.    So --

   3           Q.    Did you -- I -- did you undertake any attempt, or

   4       you or the people that you worked with on this

   5       investigation, make any attempt to come up with a less

   6       intrusive way of bringing U.S. Private Vaults' business

   7       to a halt?

   8           A.    So to our investigative thinking, this was the

   9       only way to achieve the goals and objectives of the

  10       mission.

  11           Q.    Did you ever explore the possibility of -- of

  12       appointing a receiver?

  13                         MR. RODGERS:      Objection, assumes facts not

  14       in evidence and lacks foundation.

  15                         THE WITNESS:      The answer to the question,

  16       though, is yes.        We did talk about different ways to do

  17       this, and concluded that this was the only way to

  18       achieve the goals and missions of the investigation.

  19       BY MR. FROMMER:

  20           Q.    Well, tell me who you discussed that with, and

  21       what were some of those alternatives.                Let's start with

  22       the first.

  23                 Who -- you're saying you had discussions about

  24       various ways of accomplishing your overall goal of

  25       shuttering U.S. Private Vaults, of ceasing its


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                                    #:2421


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   1       operations.        So who -- with whom did you have those

   2       conversations?

   3                         MR. RODGERS:      Objection.      To the extent the

   4       conversations were with Andrew Brown, I object and

   5       instruct the witness -- or any other attorney, I

   6       instruct the witness not to provide the contents of that

   7       conversation, because they're protected by the

   8       attorney-client privilege.

   9       BY MR. FROMMER:

  10           Q.    I only -- I'm asking who did you speak to.                 I'm

  11       not asking about the substance of communications.

  12           A.    I spoke with Andrew Brown.

  13           Q.    Anyone else?

  14           A.    Justin Carlson at the DEA.

  15           Q.    Who is -- and what's Mr. Carlson's position at

  16       the DEA?

  17           A.    Special agent.

  18           Q.    Anyone else?

  19           A.    Probably Lyndon Versoza, who's an inspector with

  20       U.S. Postal Inspector.

  21           Q.    Yeah.     Okay.

  22                 And when you were discussing this with them, why

  23       did you -- why did the group come to the conclusion that

  24       there was no lesser intrusive -- less intrusive way of

  25       bringing U.S. Private Vaults' operations to an end?


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                                    #:2422


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   1             A.     Well, I don't know -- I don't know how to answer

   2       that.        I know we had discussions about it, I know we had

   3       discussions about the best way to do this, I know we had

   4       discussions about, really, the big picture, how do we do

   5       this, what -- what are our options, and this is -- this

   6       is what we came to.             And I don't sort of have enough --

   7       I can't recall -- I don't know how else to answer your

   8       question.

   9             Q.     Do you recall any of the alternatives that you

  10       discussed?

  11             A.     I do discuss -- I do recall discussing taking

  12       over the business.

  13             Q.     Oh, so the -- what I was proposing.               To what --

  14             A.     Well, I don't know about the receivership part of

  15       it.        See, I don't -- I don't really understand that.

  16       So -- so I don't sort of know how to answer your

  17       question.

  18             Q.     Well, what I'm suggesting is -- and whether it's

  19       done through a receiver -- I mean, there's multiple ways

  20       it could happen.            The FBI could take over a business.

  21       I'm guessing the FBI doesn't like running businesses.

  22             A.     Correct.

  23             Q.     Or the FBI could hire someone to essentially run

  24       the business and wind up the operations.                     And that's

  25       what I'm talking about.              You know, whether it's taking


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                                    #:2423


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   1       over the business with a receivership, those both seem

   2       to have the same end of closing the business, closing

   3       its operations.        Would you agree about that?

   4                         MR. RODGERS:      Objection, lacks foundation,

   5       calls for a legal conclusion.

   6                         THE WITNESS:      I -- yeah, again, I don't -- I

   7       know I'm not being very helpful here.                I know -- I know

   8       we had discussions about it, we had discussions about

   9       how -- how can we do this, and this is what we concluded

  10       was, really, the only feasible way, or the best feasible

  11       way, to achieve our goals.            Why we didn't choose

  12       something else, I don't -- I can't really tell you that.

  13       BY MR. FROMMER:

  14           Q.    Okay.     So you mentioned taking over the business

  15       as an alternative.

  16                 Were there any other alternatives that were --

  17       that you and the other people you identified, that you

  18       discussed?

  19           A.    Yes.     We discussed nuisance abatement, which is

  20       something that we occasionally use in gang

  21       investigations when -- or in drug investigations where,

  22       for example, you have a -- a drug house on the street.

  23       You can sometimes get the city government involved and

  24       get the place declared a nuisance, and then they, like,

  25       they take it.        The city takes it and they abate it.


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                                    #:2424


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   1                 We talked about that, but concluded it wasn't

   2       feasible in this case because we weren't dealing with a

   3       house where there was -- you know, it wasn't a crack

   4       house, it was a business.            And the City of Beverly Hills

   5       doesn't really have that kind of a program the way, say,

   6       the City of Los Angeles does.             There was a number of

   7       reasons why we considered that and concluded it was not

   8       going to meet our goals and objectives.

   9           Q.    Were there -- okay.         So I have taking over the

  10       business and nuisance abatement.               Were there any other

  11       alternatives that you discussed about how to bring U.S.

  12       Private Vaults' operation to a halt?

  13           A.    Not that I can think of.

  14           Q.    And was there any -- was this a situation where

  15       the four of you would reach consensus, or was there a

  16       single decision maker?

  17           A.    I think consensus.

  18           Q.    And I understand the -- I understand the -- the

  19       nuisance abatement alternative being unfeasible,

  20       especially since you'd have to go into court and get --

  21       prove that out and get -- and that would have to be done

  22       by the local authorities.            I understand that.         But I

  23       don't understand why you couldn't -- why -- why you

  24       couldn't have taken over the business as an alternative.

  25       That doesn't seem to have the -- the practical


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                                    #:2425


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   1       difficulty that a nuisance abatement action would have.

   2       So can you explain to me what --

   3                          MR. RODGERS:        Objection --

   4                          MR. FROMMER:        I'm not done, Victor.

   5       BY MR. FROMMER:

   6             Q.     So can you explain to me why -- what wasn't

   7       feasible about taking over the business as an

   8       alternative to seizing the nest?

   9                          MR. RODGERS:        Objection, lacks foundation,

  10       calls for speculation, assumes facts not in evidence,

  11       and calls for a legal conclusion.

  12                          THE WITNESS:        Right.     The best I can tell

  13       you is that the FBI is just not in the business of

  14       taking over businesses.              We're not in the business of

  15       running a business, or taking over a business.                          And to

  16       the -- the extent -- what we did effectively and

  17       efficiently took U.S. Private Vaults out of business, as

  18       opposed to the amount of just the personnel and the time

  19       and the complications of taking over a business.                          We

  20       don't run businesses.              We don't have the personnel for

  21       it.        We don't, like -- it's just not something that we

  22       do with any regularity.              And I'm not familiar with it.

  23       And in my training and experience, I've never seen it

  24       done.

  25


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                                    #:2426


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   1       BY MR. FROMMER:

   2           Q.    So is it fair to say, then, it's not an issue of

   3       impracticality or a FAR, like the nuisance action, it's

   4       just something that -- that taking over a business was

   5       not something that was done in the FBI's usual course of

   6       business; is that correct?

   7                         MR. RODGERS:      Objection.      Same objections.

   8       Plus that poses an incomplete hypothetical.

   9                         THE WITNESS:      Yes.    I mean, it's just --

  10       again, in my experience, I don't know of an instance

  11       where we had gone in and taken over a business.                      I'm not

  12       saying it hasn't happened, I'm just saying I don't know

  13       of an instance where it's been done.                And just in terms

  14       of resources and personnel, it -- it -- it's not

  15       feasible.      It's less feasible than what we actually did.

  16       BY MR. FROMMER:

  17           Q.    All right.      Can you describe to me -- okay.               So

  18       let's move a little bit past the application for the

  19       seizure warrant, and let's talk about the steps that

  20       were undertaken in preparing to execute the warrant.

  21       The seizure warrant.

  22           A.    Okay.

  23           Q.    Okay.     My first question is a pretty basic one,

  24       is that who at the FBI was involved in the discussions

  25       about how to execute the seizure warrant?


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                                    #:2427


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   1           A.    Myself, my supervisor at the time, Rich Rod- --

   2       or, I'm sorry, Rich Alexander.              Another agent on my

   3       squad who was assisting, Madison MacDonald.                   People in

   4       our evidence group.

   5           Q.    What do you mean by "evidence group"?                You mean,

   6       like, evidence control?

   7           A.    Yeah.    We have -- we have a whole team of -- of

   8       employees who are in charge of our evidence.                   They're

   9       not agents, they're evidence technicians.                  So they were

  10       involved.      Our facilities people were involved, who do

  11       things like bring equipment and tables and chairs and --

  12       honestly, the -- I could go on and on with this.                     The,

  13       like, the whole field office was -- was sort of

  14       involved.      I mean, not everybody, but there were a lot

  15       of levels of -- of people involved in the planning.                      The

  16       planning was very complicated.

  17           Q.    Why was the planning so complicated?

  18           A.    Because we understood that this was going to be a

  19       big undertaking, and that it was going to take time, and

  20       it was going to take people, and it was going to -- we

  21       also didn't know -- you know, there was a lot of unknown

  22       things.     Like we didn't know how difficult or easy it

  23       was going to be to get into the vault area.                   There were

  24       just a lot of moving parts.

  25                 We were also executing residential search


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                                    #:2428


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   1       warrants on the U.S. Private Vaults' principals at the

   2       same time.        So there was that that was going on.                 There

   3       was -- it was -- it was very complicated.                  They were a

   4       lot of people involved.           And, you know, if I could sit

   5       down and make a list, that would be different.                       I mean,

   6       off the top of my head, I'm just saying there were a lot

   7       of different parts of the FBI which were involved in the

   8       planning of the execution of these warrants.

   9           Q.    Okay.     Let me just run a few names by you, and

  10       you can tell me if they're involved or not.

  11           A.    Sure.

  12           Q.    I understand that giving a comprehensive list

  13       could be difficult.

  14                 Ryan Heaton?

  15           A.    So Ryan was the team leader of the group that

  16       searched U.S. Private Vaults.             So, again, we had the

  17       search warrant where we're searching for evidence of a

  18       crime, and then we had the seizure warrants.                   So it's

  19       slightly two different things.              But Ryan was the team

  20       leader of the search team that was searching U.S.

  21       Private Vaults, like, the business, for evidence.

  22           Q.    Uh-huh.     Okay.

  23                 And you previously mentioned Rich Alexander.

  24           A.    Correct.

  25           Q.    Krysti Hawkins?


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                                    #:2429


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   1           A.    So she's -- she's Rich Alexander's boss.                   So

   2       she's an assistant special agent in charge, or an ASAC,

   3       for short.        She's the next level of supervisor.                She was

   4       certainly, you know, aware and briefed on -- on what we

   5       were doing, but I wouldn't necessarily say she had any

   6       hands-on involvement.           She -- she was present at least

   7       part of every day we were executing, and she was

   8       involved in -- in helping solve problems.                  She was kind

   9       of as high as we usually needed to go if we were having

  10       a -- having an issue or having some problem that needed

  11       to be solved.        So she was involved to that extent.

  12           Q.    Okay.     So in more of a supervisory role.

  13           A.    Correct.     Yes.

  14           Q.    And you previously mentioned Madison MacDonald.

  15                 How about Brent James?

  16           A.    So Brent James was the team leader of the group

  17       that executed the search warrant at the residence of

  18       Mark Paul, who was one of the owners of U.S. Private

  19       Vaults.

  20           Q.    Okay.     So he was involved with the search warrant

  21       at one of the principals.            So was he involved in how to

  22       execute the seizure warrant at the business?

  23           A.    I believe he also participated in the inventory

  24       search for a shift.           So the searches were done in -- the

  25       inventory searches were done in six-hour shifts, and a


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 136 of 294 Page ID
                                    #:2430


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   1       variety of agents participated in that.                 And so I

   2       believe that in addition to doing the warrant at Mark

   3       Paul's house, I believe he also did one, or maybe two,

   4       shifts on inventory search.

   5           Q.    Okay.    A second ago you said something.                  You

   6       mentioned that Ms. Hawkins, Krysti Hawkins, would help,

   7       I think the phrase you used was solve problems.

   8           A.    Correct.

   9           Q.    And I was wondering, like, what kind of problems

  10       are you talking about?

  11           A.    So, for example, the evidence wasn't getting

  12       processed fast enough.           It was backlogged.         And

  13       because -- because the computers were slow, or because

  14       we didn't have enough people, we were not processing and

  15       moving the evidence through fast enough.                  It was -- it

  16       was a -- a log jam.          And so she had the authority to

  17       come in and tell the evidence people, like, how to get

  18       past this.

  19                 So, for example, as I said, there's a number of

  20       redundancies in our system.             So where there was a log

  21       jam, we went with a bar code, and then we generated the

  22       secondary number later.           We didn't stop the process

  23       because both numbers weren't generated.                 You needed a

  24       supervisor to be able to authorize that.                  So both -- the

  25       redundancy still existed, it's just we didn't have to


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 137 of 294 Page ID
                                    #:2431


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   1       wait for the second number to move the process along.

   2                 And that's the kind of thing -- I know that's

   3       very -- very bureaucratic, but that's the kind of thing

   4       only a supervisor, somebody at a higher level, can

   5       authorize.        So -- so when that became -- that was a

   6       problem, and that was the solution, and she instructed

   7       the evidence people:          Put a bar code on it, generate the

   8       1-B number later, but don't hold up the process because

   9       it doesn't have a number.

  10           Q.    The 1-B number being the CATS number?

  11           A.    No.     CATS number is totally different.             A 1-B

  12       number is just an internal number.               We still -- as I

  13       said, we have redundancies in our system.                  So there's --

  14       there's a -- every evidence item has a bar code and a

  15       bar code number, and then separately it has a different

  16       number.     We have two sets of numbers on every piece of

  17       property that -- evidence property that we take into our

  18       custody.        And in case one fails, the other is still

  19       there.

  20           Q.    I see.

  21                 And so when you're saying that you had a log jam

  22       that Krysti helped solve --

  23           A.    Yes.

  24           Q.    -- was that with respect to processing -- doing

  25       the inventories, processing the inventories for the


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 138 of 294 Page ID
                                    #:2432


                                                                          Page 137

   1       seizure of -- of the nest, of the content of the nest?

   2           A.    Yes.    For, like, for getting it -- for example,

   3       for getting valuables into the valuables vault.                      They

   4       need to go through this process.               They needed to have

   5       all of the process complete.             And we don't want -- we

   6       don't want valuables piling up, we want them completed

   7       and into the vault.          You know, in a safe place.

   8                 The same thing with the cash, we needed to get

   9       the cash -- like I said, I did not want to be sitting on

  10       cash one second longer than necessary.                 So it was

  11       important that that be taken away safely and put in a

  12       safe place as quickly as possible.               And she helped make

  13       a lot of that happen when it was not happening fast

  14       enough.

  15           Q.    Okay.     I understand that.

  16                 So it sounds like -- it sounds like the execution

  17       of the seizure warrant was sort of a priority action

  18       item for the L.A. field office; is that correct?

  19           A.    Yes.

  20           Q.    Were there members of the computer analysis and

  21       response team, were they involved in any of the planning

  22       regarding the execution of the seizure warrant?

  23           A.    Yes.

  24           Q.    How so?

  25           A.    So we understood, or we had information that Mark


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                    #:2433


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   1       Paul could control U.S. Private Vaults remotely from his

   2       house.     So it was a concern of ours, did he have a --

   3       did he have a -- a kill switch?              Did he have -- did he

   4       have remote surveillance?            This was something we had to

   5       consider, because we had information about it.

   6                 So we called our CART guys in to assist with

   7       that.     And also we understood that the -- that the

   8       computers at U.S. Private Vaults were, you know, were

   9       something that we were interested in.                And so if you can

  10       get the CART team to help you on site, it's better.

  11       Because for somebody like me, I'm not very

  12       technologically -- you know, it's not my best thing.                      So

  13       if I can get somebody who's more expert in that than I

  14       am to help me on site, then, you know, then I will do

  15       that.

  16           Q.    Okay.    So they were involved -- the CART members

  17       were involved -- because I understand the thing about

  18       the kill switch and remote control.                So were they

  19       involved in the execution of both the search warrant at

  20       Private Vaults and the seizure warrant at Private

  21       Vaults?

  22           A.    They were there.        A CART agent was at the

  23       business while we were doing the search warrant to help

  24       us navigate the computers, which was -- which was also

  25       one of the items on the seizure list.                So that's one


                                      Exhibit K
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                                    #:2434


                                                                          Page 139

   1       area where the two things actually overlapped.

   2           Q.    Okay.    And before we had talked about evidence

   3       control.      Was Ricardo Maldonado involved in the

   4       discussions about how to execute the seizure warrant?

   5           A.    So he's an evidence guy.           I don't know that he

   6       would have been -- I know that he -- yes.                  I mean, in

   7       the broad sense, yes.           The evidence guys aren't

   8       necessarily involved in, like, execution in terms of,

   9       like, tactical, but they certainly had to be involved in

  10       this case with regard to all the procedural things that

  11       we've talked about.

  12                 So all of the process, the -- the chain of

  13       custody, the evidence log, the FD-597, the bar codes,

  14       the 1-B numbers, the packaging, the sealing, the double

  15       signatures, all of that is -- that's the kingdom of the

  16       evidence.      And so agents, of course, know how to do

  17       this.     We do this -- this is what we do.               But the

  18       evidence techs are there to help us, and they are the

  19       quality control on that.            If you don't do it right, they

  20       will bring it back to you and say:               No, you need two

  21       signatures.       Or:    No, this has to be sealed this way.

  22       Or the tape has to go in this direction.                  They are the

  23       experts at that.

  24                 So they were -- they were on site, on hand at all

  25       times.     And also involved in the planning, because they


                                      Exhibit K
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                                    #:2435


                                                                          Page 140

   1       had -- they had to schedule out -- just for scheduling

   2       purposes.

   3           Q.    At the FBI, were there any other people that you

   4       can think of that really stand out as being people who

   5       were involved in the planning of how to execute the

   6       seizure warrant?

   7           A.    Yes.

   8           Q.    People who we haven't previously discussed --

   9           A.    Yes.     Asset forfeiture paralegals were also on

  10       site and were consulted in advance, because we

  11       anticipated that there would be cash.

  12           Q.    Why -- why -- why does the presence of cash

  13       necessitate having asset forfeiture paralegals on site?

  14           A.    Right.     So this gets into -- this kind of might

  15       help explain your sort of earlier question about CATS ID

  16       numbers.      It's complicated, but this is -- this is the

  17       thing.

  18                 I don't -- as I said, I don't want cash in the

  19       form of cash any longer than I have to.                 So to -- to put

  20       it into Loomis, which is our contract, you know,

  21       currency bank, it has to have the CATS ID number.                      It

  22       doesn't mean it's going to be forfeited, it's for

  23       identification purposes.            And so -- but it does have to

  24       have -- it's like -- it's like starting the process.                         It

  25       has to have that ID number to get it to Loomis.                      So in


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 142 of 294 Page ID
                                    #:2436


                                                                          Page 141

   1       order for us to get the cash that we found to Loomis, it

   2       had to have a deposit slip and a CATS ID number so that

   3       we can trace it through the system and we don't lose

   4       track of it.       And I don't have the details on how that

   5       exactly works, but I know that for me to take it to

   6       Loomis, it has to have a deposit slip and a CATS ID

   7       number, which was generated by our asset forfeiture

   8       paralegals who were there.

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  23           Q.    All right.      How many asset forfeiture paralegals

  24       were on site?

  25           A.    Well, one at a time.          You know, they worked in


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 143 of 294 Page ID
                                    #:2437


                                                                          Page 142

   1       shifts.     So there was always one there.              And there may

   2       have been more than one, I don't know that for sure, but

   3       there was always one there.

   4           Q.    Okay.     Was -- so we talked about the FBI

   5       agents -- or FBI personnel who were involved in talking

   6       about how to execute this warrant.               Was anyone from the

   7       U.S. Attorney's Office involved in discussions about how

   8       to execute the seizure warrant?

   9                         MR. RODGERS:      Again, you can identify

  10       persons, but please do not identify the content of any

  11       communications with those persons.

  12                         THE WITNESS:      Well, I mean, the answer is

  13       Andrew Brown.        Andrew Brown was the AUSA in this case.

  14       So --

  15       BY MR. FROMMER:

  16           Q.    Okay.

  17           A.    I think he's always the answer.

  18           Q.    How about Victor, was he involved in any of these

  19       conversations?

  20           A.    Not about execution.

  21           Q.    Can I -- let me move back a little bit to the

  22       paralegal point.         The asset forfeiture paralegals, was

  23       their role limited to just cash?

  24           A.    Yes.     On site?     Yeah.    During execution, yes.

  25           Q.    Okay.     So if you found a bunch of high-end


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 144 of 294 Page ID
                                    #:2438


                                                                          Page 143

   1       watches, for instance, or a huge rack of gold coins,

   2       would the asset forfeiture paralegals, would they have

   3       been involved with that property at all?

   4           A.    No, not at all.

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  12           Q.    Were there other federal agencies that were

  13       involved in the discussions about how to execute the

  14       seizure warrants, such as the DEA or USPIS?

  15           A.    Yes.    Both.

  16           Q.    Okay.    Was group supervisor Todd Boyette involved

  17       in the conversations about how to execute the seizure

  18       warrant?

  19           A.    Yes.

  20           Q.    How about group supervisor Noah Thompson, over at

  21       USPIS?

  22           A.    Yes.

  23           Q.    And what aspect of the execution of the seizure

  24       warrant -- were -- were they -- scratch that.                   I'll come

  25       back to that.


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 145 of 294 Page ID
                                    #:2439


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   1                 Were there any state and local agencies that were

   2       involved in the discussions about how to execute the

   3       warrant, seizure warrant?

   4           A.    No, not in the planning phases, but they may have

   5       been consulted separately for a specific role.                       For

   6       example, El Monte Police Department provided security

   7       for the location.         They -- black and white marked units.

   8       Beverly Hills police department also provided perimeter

   9       security and marked units.            So they may have been

  10       brought in in separate discussions, but not the planning

  11       phase.

  12           Q.    Okay.     So when it's closer to the time of

  13       execution, someone would have -- well, did you reach out

  14       to Beverly Hills PD or El Monte PD about --

  15           A.    I did not.

  16           Q.    Okay.

  17           A.    I have not.      My partners handled that.

  18           Q.    Madison MacDonald?

  19           A.    No.     So DEA and Postal handled that.             They had --

  20       they reached out to the other enforcement -- local law

  21       enforcement agencies to get their -- their assistance.

  22           Q.    Okay.     And Beverly Hills PD -- I think you said

  23       El Monte --

  24           A.    Yes.

  25           Q.    -- is that right?


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 146 of 294 Page ID
                                    #:2440


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   1           A.    Right.

   2           Q.    -- the DEA and USPIS, are they all in, like, a

   3       common task force?

   4           A.    No.

   5           Q.    No, they're not.        Okay.

   6           A.    El Monte is in a task force with DEA.

   7           Q.    Okay.     Is Beverly Hills PD in a task force

   8       with --

   9           A.    No.     But, I mean, we were in their back yard,

  10       so --

  11           Q.    Yeah.

  12           A.    -- you want to let them know what's going on.

  13           Q.    Yes.     That -- that's understandable.

  14                 Did -- I'm assuming, as part of these -- how far

  15       is El Monte from Beverly Hills?

  16           A.    Half-hour.

  17           Q.    Okay.

  18           A.    Thirty miles, maybe.

  19           Q.    Isn't, like, the LAPD, wouldn't they be much

  20       closer than El Monte?

  21           A.    Right.     But El Monte was in a task force with

  22       DEA, so they already had a working relationship, and

  23       they were -- had already participated in the

  24       investigative phase.

  25           Q.    Okay.     Oh, El Monte had been involved in the


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                                    #:2441


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   1       investigative phase of the USP investigation.

   2           A.    Correct.

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  17           Q.    Okay.    So I'm trying to -- I'm trying to get a

  18       sense of, like, everyone who's involved in this.                     So we

  19       had FBI people, we had DEA people, we had USPIS, we had

  20       El Monte there, we had the Beverly Hills PD.                   Were there

  21       any other groups -- I mean, that's five different

  22       agencies.      Is -- are there -- are there other agencies

  23       that I don't know about that were involved?

  24           A.    Yes, because we had, as I'm sure you know, we had

  25       K-9 handlers on site, and the K-9 handlers came from, in


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 148 of 294 Page ID
                                    #:2442


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   1       addition to El Monte Police Department, they also came

   2       from -- LAPD, Glendale PD, and Chino Police Department

   3       all provided K-9 handlers.

   4           Q.    So El Monte, LAPD, Chino -- and what was the

   5       other one?

   6           A.    Glendale.

   7           Q.    Glendale.      Okay.

   8                 And those police departments, are they in any

   9       sort of task force with either the FBI or the DEA?

  10           A.    Not -- not in regards to this case.               They may be

  11       in different task forces, but not -- not with regard to

  12       this investigation.

  13           Q.    Okay.    It sounds like a big operation.              It sounds

  14       like it was a -- were you -- were you -- let me ask just

  15       a very basic point.

  16                 Were you, like, the point person on the ground

  17       for, I think it was -- what is it, team six?

  18           A.    I don't know what team six is, but I was the

  19       point person on the ground for -- for the entire time,

  20       pretty much, of the searches.             Except I did -- I did

  21       leave to sleep a few hours a day.               But yes --

  22           Q.    So --

  23           A.    -- I was the point person on the ground during

  24       the execution of the warrants.

  25           Q.    Okay.    That's -- yeah, that's what I was asking.


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                                    #:2443


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   1       I had seen some document that talked about different

   2       teams, and I think it talked about the seizure team as

   3       being team six.

   4                 So it sounds like there had to have been a lot of

   5       manpower needed to execute the warrant; is that fair to

   6       say?

   7           A.    That's correct.

   8           Q.    And so as part of that, did the team leaders --

   9       you know, it sounds like you were a team leader -- and

  10       if I'm wrong on that, let me -- you can correct me.

  11       But, like, did the team leaders create, like, tactical

  12       operation plans for how they were going to execute their

  13       part of the warrant?

  14           A.    Right.     So that -- that's a little bit different.

  15       So that's the -- the search warrants, which there were

  16       four residential search warrants, one for each -- for

  17       the two owners -- for Mike Poliak, for Mark Paul, for

  18       George Vasquez, who was the manager, and for the Barths.

  19       There were four -- there were residential search

  20       warrants.      And then the fifth one being the business,

  21       the office space of U.S. Private Vaults, which, as I

  22       said, Ryan Heaton was the team leader on that.

  23                 The other four locations, Mark Paul was covered

  24       by FBI; Mike Poliak was covered by DEA, with El Monte

  25       PD; George Vasquez was done by Postal; and the Barths


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 150 of 294 Page ID
                                    #:2444


                                                                          Page 149

   1       were also done by DEA.           So they would have had their own

   2       separate tactical plan to execute those specific

   3       residential warrants.

   4           Q.    Then I think I need to be more precise.                    Was

   5       there a tactical operation plan crafted for executing

   6       the seizure warrant at U.S. Private Vaults?

   7           A.    So, yes.     There's -- there is an overall

   8       operations plan, which encompassed the whole thing.

   9       The -- all of it.         The residential warrants, the search

  10       of the office, and the seizure portion of it.

  11                 And then there was a -- I -- I drafted a very

  12       specific, sort of a supplemental process, or operation

  13       plan, for the inventory of the boxes, because I

  14       understood that that was going to be the bulk of the

  15       work, and that it was, frankly, different from what we

  16       do every day.        The residential warrants are very typical

  17       of what we do, but the seizure of the business was

  18       different, and so I wrote a separate op plan for that.

  19           Q.    Okay.    So you wrote an operations plan, some sort

  20       of supplemental plan for inventorying the boxes --

  21           A.    Correct.

  22           Q.    -- is that right?

  23           A.    Yes.

  24           Q.    Okay.    And so since you created the overall plan

  25       for this, I assume that when you were executing the


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 151 of 294 Page ID
                                    #:2445


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   1       seizure warrant, you have to secure a site.                   To secure

   2       the site, you have to seize the items.                 And then it

   3       sounded, from what you were just telling me, that, like,

   4       inventorying the boxes was the -- the biggest time

   5       commitment.       How much time did you expect to devote to

   6       inventorying?

   7           A.    We had it scheduled from Monday at -- I think we

   8       anticipated starting at noon, and going to Thursday at

   9       6:00 p.m.

  10           Q.    So four days; is that correct?

  11           A.    Correct.

  12                 And it -- it went past that a little bit.                  It

  13       went into Friday morning.

  14           Q.    Okay.    And what were the hours of operation

  15       during that week?

  16           A.    Around the clock.

  17           Q.    Wow.    So you had agents inventorying boxes

  18       24 hours a day?

  19           A.    Correct.

  20           Q.    Must have been hard to recruit some of those

  21       graveyard shifts.

  22                 So you expected it to take a number of days, and

  23       in fact took a -- inventorying boxes, you expected it to

  24       take a few days, and in fact it took a little bit longer

  25       than you expected; is that fair to say?


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 152 of 294 Page ID
                                    #:2446


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   1           A.    That's correct.

   2           Q.    Okay.     And so -- well, let me just ask this sort

   3       of directly.        We -- well, I'm trying to figure this part

   4       out.     Who -- was it only FBI personnel who were doing

   5       the actual inventorying of boxes at U.S. Private Vaults?

   6           A.    So FBI agents have to -- there's certain things

   7       that had to be done by FBI agents.               Only FBI agents can

   8       sort of initiate the -- the paperwork process.                       So every

   9       inventory team was -- was FBI agents.                Or FBI personnel.

  10       So if you had two agents, you could have a third person

  11       who was not an agent who was maybe -- I know we had,

  12       like, some of our analysts came out to assist.                       And they

  13       could assist by -- by helping, but they couldn't really

  14       be -- they -- they were -- they were a third person.

  15       They couldn't be primary one or primary two.                   So every

  16       inventory team had two to four FBI agents on it.

  17           Q.    And -- oh.      So did the size -- so the size of the

  18       inventory teams wasn't consistent?               They varied in size?

  19           A.    Yeah.     It had to have at least three, plus we --

  20       you know, I can explain the video situation -- but three

  21       was ideal.        But if you had a fourth person, you would --

  22       you could put a fourth person on that team and it makes

  23       it go a little bit faster.            But if you have three teams

  24       that have a fourth person, you could break off one and

  25       create a new team, which helped you go faster.


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 153 of 294 Page ID
                                    #:2447


                                                                          Page 152

   1                 So it had to do with how much personnel we had on

   2       site at the time, and it fluctuated.                So we created as

   3       many three-person teams as we could in order to speed up

   4       the process.        If you had an odd number of people, you --

   5       then you had a four-man team and you just had an extra

   6       set of hands getting through it.

   7           Q.    Got it.     Okay.     So were there any DEA or USPIS

   8       agents that were helping to inventory boxes?

   9           A.    So DEA was responsible for -- for the video.                And

  10       they took that whole project.             So they -- DEA obtained

  11       the video cameras, they trained their personnel on them,

  12       they got the SIM cards, and they scheduled a video

  13       person, two video persons, around the clock for as long

  14       as we were there.         So -- so the DEA agent was also

  15       another person on the team, in the sense that they were

  16       creating the video record.

  17           Q.    Got it.     So they weren't doing the physical

  18       inventorying themselves, they were -- they were

  19       capturing -- or they were supposed to capture what the

  20       FBI agents were doing.

  21           A.    Correct.

  22           Q.    Okay.     And then the local agencies, like El Monte

  23       and Beverly Hills, their role was to, essentially to

  24       provide security at -- at the -- at the facility; is

  25       that correct?


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                                    #:2448


                                                                          Page 153

   1           A.    Correct.     Local -- local agencies didn't

   2       participate in the inventory process at all.

   3           Q.    Okay.    But the locals were the ones who brought

   4       the K-9 units; correct?

   5           A.    Correct.

   6           Q.    Okay.    The -- the drug dogs.

   7           A.    Correct.

   8           Q.    Okay.    All right.       And -- all right.         And I think

   9       you already answered this, but the seizure -- the

  10       execution of the seizure warrant, it sounds like a lot

  11       of these groups were members of some task force, but was

  12       the execution of the seizure warrant done under the

  13       aegis of -- of a task force, or was it -- well, just let

  14       me leave it there.

  15           A.    FBI.    It was FBI.

  16           Q.    Okay.    So did you have conversations with these

  17       other agencies about how they would be included in the

  18       FBI's execution of the warrant?

  19           A.    Yes.

  20           Q.    You personally?

  21           A.    Yes.

  22           Q.    Okay.    So you would have talked to DEA about

  23       their role in executing the seizure warrant.

  24           A.    Yes.

  25           Q.    And the same with the -- the local police


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   1       departments.

   2           A.    I didn't talk with the local police departments,

   3       I talked with DEA and Postal about how we were going

   4       to -- you know, how we were going to do this.                   How we

   5       were going to divide the labor.              What everybody could

   6       contribute to the execution of the -- of the warrant.

   7           Q.    Okay.    You said that the locals were the ones who

   8       brought the K-9 units.           Who -- which agency was it that,

   9       well, asked the locals to bring the K-9 units?

  10           A.    Postal Inspector organized that.

  11           Q.    So USPIS ran point on drug dogs.

  12           A.    Correct.

  13           Q.    Okay.    And -- now, was that something that USPIS

  14       came up with on its own, or was it something that you

  15       had all discussed and it was just that USPIS were the

  16       ones to actually reach out?

  17           A.    Right, it was -- it was, again, discussions of

  18       what -- you know, who's going to do what, and Postal

  19       said I'll take care of that.             I'll -- we've got the

  20       contacts, we'll contact them, we'll get that organized.

  21           Q.    Okay.    So I guess what I was -- yeah.              So -- so

  22       basically the group -- by that I mean the FBI, DEA,

  23       USPIS, and Andrew -- you all discussed how to execute

  24       the warrant, came to some resolution that we should have

  25       K-9 units there, and then USPIS said we know the right


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                                                                          Page 155

   1       people, we'll reach out and get the -- the dogs there.

   2       Is that a fair and accurate statement?

   3                         MR. RODGERS:      If you have to include in your

   4       answer the communications or contents with Andrew, I

   5       instruct you not to answer on attorney-client privilege

   6       grounds.

   7                         You can answer otherwise.

   8                         THE WITNESS:      Yes.    That's -- that's

   9       accurate.

  10       BY MR. FROMMER:

  11           Q.    Okay.     All right.

  12                 So once you had come up, you and the team, had

  13       come up with how to execute the seizure warrant, did you

  14       send out -- well, I think you said you had created

  15       instructions on how to do the box inventory; is that

  16       correct?

  17           A.    Correct.

  18           Q.    Okay.     And -- and who did those instructions go

  19       out to?

  20           A.    So prior to -- approximately a week prior to the

  21       execution of the warrants, we had a, like a team

  22       meeting, and agents who had volunteered to assist came

  23       to the meeting.        I'll say normally we would have had one

  24       big meeting, but because of COVID we had, like, ten

  25       small meetings.        But basically agents who had -- who had


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                                                                          Page 156

   1       volunteered to assist came to a meeting, and we -- and I

   2       went through the instructions with them.

   3                 And I'll say not just the -- there was meetings

   4       for the agents who had volunteered to do the inventory,

   5       but there were also meetings with the -- with the --

   6       with the more technical, with the -- with the

   7       property -- the facilities people, and the evidence

   8       people.     And there was the meeting sort of directed at

   9       that, there was a meeting directed at the groups that

  10       were going to do the residential search warrants, and

  11       then there was meetings, plural, for the agents who had

  12       volunteered to do inventory search.

  13           Q.    Okay.    So there were meetings where the people

  14       who were going to be doing the inventories met to

  15       discuss how to do those inventories; is that right?

  16           A.    Correct.     Yes.

  17           Q.    Okay.    And who headed up those meetings?

  18           A.    I did.

  19           Q.    Okay.    You did.

  20                 And is it fair to say, then, that you were using

  21       those supplemental instructions on box inventory to --

  22       as part of that training?

  23           A.    Yes.

  24           Q.    Okay.    Now, did you share a copy of the seizure

  25       warrant with the FBI officials who were tasked with


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 158 of 294 Page ID
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                                                                          Page 157

   1       inventorying?

   2           A.    I'm not sure.       The -- the Attachment B, the items

   3       to be seized, would have been present at the location.

   4       I don't think I had it yet when I did the briefing, the

   5       team briefing.        So I would not have shared it with them

   6       at the team briefing, because I don't think the warrant

   7       had been sworn out yet.           But I -- honestly, the timeline

   8       is a little fuzzy there.            I don't quite remember.

   9           Q.    Do you know if there were -- well, when these

  10       officials showed up at USPV to do the inventorying, do

  11       you know if at that point they were provided with a copy

  12       of the seizure warrant?

  13           A.    Not -- I mean, not specifically.              I don't think

  14       they were handed a copy of the seizure warrant as they

  15       showed up to do inventory.

  16           Q.    Okay.    So is it fair to say, then, that you're

  17       not sure if the FBI officials who were tasked with

  18       inventorying ever saw a copy of the seizure warrant?

  19           A.    I don't know the answer to that.

  20           Q.    Okay.    But you -- you don't -- is it fair to say

  21       you don't know whether this -- a copy of the seizure

  22       warrant was ever disseminated to those FBI officials

  23       tasked with inventorying?

  24           A.    It was -- it was present at the site.                So a copy

  25       would have been there.           And it is -- it is our practice


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                                                                          Page 158

   1       at warrants to review, as I said, what we call the --

   2       the items to be seized, but I don't -- I don't have

   3       specific knowledge about that.

   4           Q.    Okay.    Do you -- is there somebody who might have

   5       better information about whether the FBI --

   6           A.    Like, each --

   7           Q.    -- officials involved with inventorying actually

   8       received a copy of the seizure warrant?

   9           A.    Each individual person probably could -- could

  10       tell you that.

  11                 And, again, this is a little bit different from

  12       what we normally do, because it's an inventory.                      It's

  13       not -- it's not -- so when we're searching, we need to

  14       know very specifically:           What am I searching for.             This

  15       is an inventory, so it was less important because it

  16       didn't matter, it was bagged and tagged.

  17                 So everything that was in the nest of boxes was

  18       going to be bagged and tagged according to procedure.

  19       It didn't really matter -- it's not like -- like, for

  20       example, when I go on a health care fraud warrant, I use

  21       this, because these are really difficult.                  They will

  22       specifically say I'm looking for -- I'm looking for the

  23       files with these people's names on it.                 And then you

  24       really need to consult the warrant.

  25                 This was less important because it didn't matter,


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   1       it was -- it didn't matter what it was, you were going

   2       to inventory it.           We didn't know what it was.            We didn't

   3       know what it was going to be.               You open it, you bag it,

   4       you tag it, you process it, you secure it, and you move

   5       on.

   6                   So the -- I'm sure the warrant was there, but I'm

   7       not sure who reviewed it, and I didn't hand it out to

   8       everybody.

   9             Q.    But you did hand out the supplemental

  10       instructions on the boxed inventory.

  11             A.    Correct, I did hand that out.

  12             Q.    So that was, really, sort of their guiding -- for

  13       the FBI officials doing the inventorying, that was sort

  14       of their guiding document; isn't that correct?

  15             A.    Correct.     Yes.

  16             Q.    Okay.     And -- all right.        Let me see what page

  17       we're on.        And I know we're coming up on 90 minutes, so

  18       just let me know and we'll take a short break then.

  19                   I wanted to go a little bit back in Exhibit 3

  20       to -- here we go.           Okay.     So this is paragraph 108, I

  21       believe, of your affidavit; is that right?

  22                           MR. RODGERS:      Paragraph 108 or page 108?

  23                           MR. FROMMER:      Sorry.     Paragraph 108, USAO

  24       111.

  25                           MR. RODGERS:      We are on that page.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 161 of 294 Page ID
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   1       BY MR. FROMMER:

   2           Q.    Okay.     All right.      So -- so, actually, what I

   3       want is to -- it's, again, the -- it's actually on the

   4       next page, 112.        It's that footnote 40.           And it states

   5       that the inspection, quote:

   6                 Should extend no further than necessary to

   7       determine ownership.

   8                 Do you see that there?

   9           A.    Yes.

  10           Q.    Okay.     And I think you previously said that -- I

  11       think you had said that Andrew Brown had drafted that,

  12       but you agreed with the substance of it; is that

  13       correct?

  14           A.    That's correct.

  15           Q.    Okay.     Because you reviewed it as part of -- as

  16       part of this work.         As part of submitting the affidavit.

  17           A.    Correct.

  18           Q.    Now, if we could go up on -- here -- if you look

  19       up on this page, page 112, lines four through seven.

  20       It's the phrase that's in parenthesis.

  21                         MR. RODGERS:      We are there.

  22       BY MR. FROMMER:

  23           Q.    If you could just read that real briefly.

  24           A.    The USPV recommends that box renters include

  25       their designees' telephone numbers on a note in the box


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                                                                          Page 161

   1       in the event the USPV removes the contents for

   2       nonpayment of rental fees.

   3           Q.    Okay.     Let me actually introduce another exhibit.

   4       Give me just one moment.

   5                         (Exhibit 6 marked at this time.)

   6                         MR. FROMMER:      Okay.    This is Exhibit 6.

   7       Just let me know when you have it -- when you see it.

   8                         MR. RODGERS:      We have it.

   9                         MR. FROMMER:      Okay.

  10       BY MR. FROMMER:

  11           Q.    So Special Agent Zellhart, you had said in

  12       that -- in your affidavit -- I'll just read it again:

  13                 USPV recommends that box renters include their --

  14       their designees' telephone numbers on a note in their

  15       box in the event that USPV removes the contents for

  16       non-payment of rental fees.

  17                 When you were thinking of that, were you

  18       referring to an executor conservator notification

  19       letter, like the one here in Exhibit 6?

  20           A.    Yes.

  21           Q.    Okay.     And you would agree with me -- you can

  22       take time to review it -- that this provides contact

  23       information for both the executor on page one, and then

  24       on page two the contact information for the owner; is

  25       that correct?


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 163 of 294 Page ID
                                    #:2457


                                                                             Page 162

   1             A.     Yes.

   2             Q.     Okay.     So my question is this:          Let's say agents

   3       pull out a box from the nest, and on this box is the

   4       conservator letter, like this one here.                    Once agents

   5       encounter a letter like this, your words in your

   6       affidavit that the inspection should, quote, should

   7       extend no further than necessary to determine ownership,

   8       once agents encounter a letter like this, your own words

   9       state that the inspection of that should stop at that

  10       point; correct?

  11                            MR. RODGERS:      Objection, mischaracterizes

  12       the document, which speaks for itself.

  13                            THE WITNESS:      So I'll just say, having done

  14       this, that where there was an executor conservator

  15       notification letter, that was extremely helpful to us,

  16       in most instances, in identifying the box holder.

  17       However, there were a number of situations where there

  18       was also, for example, a photocopy of a driver's license

  19       with a different name on it, or a photocopy of a

  20       passport, or multiple passports, with different names on

  21       it.        We also encountered executor conservator

  22       notification letters that were from the last party to

  23       rent that box and it got left in there.

  24                            So it's a -- it's a great starting point in

  25       terms of who the box holder is, but it, as it turned


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                                    #:2458


                                                                          Page 163

   1       out, is not the last word in it.

   2                       And then also to answer your question, it

   3       doesn't -- it doesn't stop us from needing to inventory

   4       the box.      It's indicative of ownership, but we still

   5       need to process what's in the box for all the reasons we

   6       discussed this morning, such as to protect the property

   7       itself, to protect us from accusations of loss or theft,

   8       to protect us from hazardous materials.                 So everything

   9       still needs to be bagged and tagged and processed

  10       according to our evidence procedures, with all of the

  11       redundancies and paperwork.

  12                       But with regard to ownership, the executor

  13       conservator notification letter is -- is really good,

  14       but, as it turns out, not the last word in the every

  15       box.

  16       BY MR. FROMMER:

  17           Q.    Let me ask this, because, you know, as you know,

  18       we had our -- some of our clients come and pick up

  19       property, and when they did that, the -- the FBI

  20       requested that they bring a copy of the key, and the key

  21       was then placed in the -- the door for their box.

  22           A.    Correct.

  23           Q.    And that -- and, you know, and the FBI agent

  24       would then check to see if, you know, it turned the

  25       lock.     So it sounds as if the FBI was using the key to


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                                    #:2459


                                                                          Page 164

   1       resolve any issues regarding is this a proper -- is this

   2       the -- the right person to get this box.                  Isn't that

   3       correct?

   4           A.    Right.     So there's -- there's -- it's a -- it's

   5       a -- it's a multi-factor thing.              It's a totality of

   6       circumstances, if you will.             There are -- it is really

   7       important for us to make sure that we return property to

   8       the correct owner.         And I have situations where there

   9       was a -- a husband and a wife in a divorce.                   I've had

  10       two brothers, and the father passed away.                  I've had

  11       family disputes.         I've had two former lovers who both

  12       had an interest in it.           So it's really important for us

  13       to not return property to the wrong party, and then have

  14       the second party come to us later and say, hey, you gave

  15       my money, or whatever, my gold watch, to my ex-husband,

  16       that, you know, sneaky thief, or whatever.

  17                 So we are -- we are -- our process was to do

  18       everything we could to ensure that property was being

  19       returned to the correct person.              So, for example, if

  20       somebody had the executor conservator notification

  21       letter and the key -- actually, both keys -- that's

  22       pretty good.       That's pretty solid.          We're pretty

  23       confident, in that situation, that somebody else is not

  24       going to show up later and lay claim to that property.

  25           Q.    Let me ask you this:          Did -- did the FBI ever


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 166 of 294 Page ID
                                    #:2460


                                                                             Page 165

   1       refuse to give somebody the property that was in a safe

   2       deposit box when that person showed up with a key that

   3       fit the lock of that box?

   4             A.     So I'm going to have trouble answering this,

   5       because we've returned about 500 boxes, and I haven't

   6       personally done them, but I do oversee the process.                         And

   7       I'm not sure about that, if that has happened or not.

   8       If --

   9             Q.     Okay.

  10             A.     -- it did, there was a reason for it, is all I

  11       can tell you.           We were committed to getting the property

  12       back to the correct person.                We -- we are committed to

  13       that.        And, you know, we don't want it in our evidence

  14       locker.        It's taking up space.           And I'm actually under a

  15       considerable amount of pressure to get it back.                         We want

  16       to get it back into the hands of the people it belongs

  17       to.        But at the same time, we can't give it to the wrong

  18       person, or take the chance that it's going to the wrong

  19       person, or that it's going to -- it's -- it's a little

  20       bit complicated, so I can't totally answer your

  21       question.

  22             Q.     I understand that, but -- and we're going to take

  23       a break in just a couple minutes, because I know we're

  24       hitting a hard limit.

  25                    Weren't there instances where an attorney would


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 167 of 294 Page ID
                                    #:2461


                                                                          Page 166

   1       show up with a key, without you -- without the FBI

   2       really knowing who the underlying owner was?

   3           A.    Yes.

   4           Q.    And you released the contents of the box based on

   5       the key fitting into the lock; correct?

   6           A.    And the representation by the attorney that the

   7       attorney represented the box holder.                And there were

   8       generally other factors as well.               So I'd have to know

   9       specifically the circumstances.               Again, totality of

  10       circumstances, multiple factors.               But we did require

  11       attorneys to -- to sign something that says:                   I in fact

  12       represent the person who rented this box and whose

  13       property this is.

  14           Q.    Okay.     But you --

  15           A.    Because that was a grave concern to us, that we

  16       were returning property to -- to anonymous people

  17       through their attorneys.

  18           Q.    Okay.     Do you recall -- well, that's --

  19                         MR. FROMMER:      Okay.     Why don't we take our

  20       break.     Why don't we take, like -- why don't we take ten

  21       minutes, and then we'll come back on the record.                     Okay?

  22                         MR. RODGERS:      Okay.

  23                         THE VIDEOGRAPHER:         We are off the record.

  24       The time is 2:45 p.m.

  25                  (A short break was taken at this time.)


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 168 of 294 Page ID
                                    #:2462


                                                                          Page 167

   1                         THE VIDEOGRAPHER:       We are back on the

   2       record.     The time is 2:56 p.m.

   3       BY MR. FROMMER:

   4           Q.    Okay.     All right.      We've talked a lot about

   5       the -- the application for the seizure warrant, and

   6       talked about the planning on the execution of the

   7       seizure warrant.         I briefly wanted to just go -- have

   8       you walk me through the day that the FBI and the other

   9       agencies we've been talking about executed the USPV

  10       seizure warrant.         So if you could just give me a general

  11       description of how that proceeded through -- from the

  12       time the place was secured, through the beginnings of

  13       the inventory process.

  14           A.    Okay.     So the residential warrants were scheduled

  15       to go at 6:00 a.m., and they did.               And, again, there was

  16       some concern with the Mark Paul location, that he might

  17       have some kind of a kill switch, or something of that

  18       nature, so the -- it was important to get his sort of

  19       digital set-up, like, under our control.

  20                 But the four locations were executed

  21       simultaneously.        The Postal Inspector had the George

  22       Vasquez location, and secured his cooperation in getting

  23       us into the business so that we didn't have to breach

  24       doors.     He agreed -- he -- he got in every day, so he

  25       agreed to assist us.          Ultimately, I think Mark Paul also


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 169 of 294 Page ID
                                    #:2463


                                                                         Page 168

   1       was cooperative in that, and I actually think the Barths

   2       were also willing to cooperate.             But basically we

   3       secured cooperation to get into the business so that we

   4       didn't have to breach doors.

   5                And so eventually -- I mean, it took a little bit

   6       of time for this to roll out, but probably around, I

   7       would say, 8:00 a.m. we had started having a number of

   8       people at the business.          And we got into the business,

   9       at which point our search team that was doing the search

  10       of the business for -- for criminal purposes executed

  11       their business -- their business search warrant for

  12       records and, you know, the types of things they were

  13       looking for.

  14                At the same time, that's about the time we got

  15       into the vault section where the nest of boxes were

  16       located, and we had some personnel helping us figure out

  17       how to open them.        How to -- how to breach them.              And so

  18       that took some time.

  19                And -- and as that's going on, our other

  20       personnel were starting to set up.              Like, our evidence

  21       techs arrive, and we were getting computers set up on

  22       site.    We're basically putting our -- our system

  23       together until -- probably around 9:00 or 10:00 we had

  24       the first two teams set up with video cameras to start

  25       doing box inventory.


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 170 of 294 Page ID
                                    #:2464


                                                                          Page 169

   1                 And the first couple, you know, I was there for

   2       to get the process going.            It was a little bit different

   3       for us.     Again, we had drawn it up on the -- the

   4       supplemental instructions, that everybody had, and had

   5       copies of, and also had it on their phone.                  So we had --

   6       like, we had a process set up.              And it was a matter of

   7       establishing the process.            Like everything we do, a --

   8       you do it a couple of reps, you get it down, and then,

   9       you know, you've got a system together.

  10           Q.    Okay.

  11           A.    And so that's probably, I would say, around

  12       10:00 a.m.-ish we started that process.                 And --

  13           Q.    Okay.

  14           A.    -- it continued on.

  15           Q.    For -- until the morning of the Friday the 26th;

  16       is that right?

  17           A.    The -- the -- my understanding, the last box was

  18       inventoried right around midnight, Thursday night going

  19       into Friday, and then the rest of that time was

  20       clean-up, breakdown, finish, like, processing the

  21       evidence.      Again, it needs bar codes, it needs 1-B

  22       numbers, it needs paperwork being generated.                   Stuff's

  23       got to be moved out.          So the last, you know, the last

  24       eight hours was breaking it down and getting it all put

  25       away.


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 171 of 294 Page ID
                                    #:2465


                                                                          Page 170

   1           Q.    Okay.     So the inventorying took basically from

   2       Monday at 10:00 a.m. until Thursday at midnight.

   3           A.    That's correct.

   4           Q.    How many boxes -- I don't -- how many boxes did

   5       the -- did the FBI inventory over that period?

   6           A.    Right around 700.

   7           Q.    Around 700 boxes?

   8           A.    That's --

   9           Q.    Okay.

  10           A.    -- ballpark.       But it's -- it's a good ballpark.

  11           Q.    Yeah.     It's a lot of boxes.

  12                 Did anybody, do you know -- so you said there was

  13       700 boxes that were inventoried.               And how many boxes

  14       ultimately were the contents returned to the -- the box

  15       holder?

  16           A.    So that's --

  17                         MR. RODGERS:      I just want to object.           To the

  18       extent these questions call for speculation, I'm

  19       objecting on that basis.            When you ask about the FBI,

  20       this witness doesn't necessarily know -- have personal

  21       knowledge of that, but she can testify based upon what

  22       she's heard from other people.

  23                         MR. FROMMER:      I understand.

  24                         MR. RODGERS:      Okay.    You can -- you can

  25       answer the question.


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 172 of 294 Page ID
                                    #:2466


                                                                          Page 171

   1                         THE WITNESS:      So it's a -- it's a changing

   2       number, because we continue to return property, as of, I

   3       think, yesterday.         I mean, we -- we are continuing to

   4       return property.         I think right now it's in the

   5       neighborhood of 400, 430, that have been returned.

   6       BY MR. FROMMER:

   7           Q.    About 430 returned?

   8           A.    I think that's --

   9           Q.    And I believe -- oh, sorry.

  10           A.    I think that's right.          But, again, I have a list

  11       somewhere, I have a record of it.               I'm just recalling.

  12       I think it's like that.

  13           Q.    Okay.     And you were -- you've been, I think -- I

  14       think you might have used this word, and if you didn't,

  15       correct me if I'm wrong, but I think you said before

  16       that you had -- you were -- had been overseeing the

  17       property return process; is that accurate?

  18           A.    That's accurate.

  19           Q.    Okay.     All right.      So you had -- you would be in

  20       a good position to know how many boxes were inventoried

  21       and how many were returned.

  22           A.    Correct.

  23           Q.    All right.      So I know you were there, like, all

  24       the time, except for those brief sleep -- that brief bit

  25       of sleep that you got.           When you were there, did you --


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 173 of 294 Page ID
                                    #:2467


                                                                          Page 172

   1       were you helping to secure the area?                I'm -- let me just

   2       ask more generally:          Was your role sort of to coordinate

   3       the other agents and other agencies that were involved

   4       with executing the seizure warrant?

   5           A.    No, I wouldn't characterize it like that.                      I

   6       mean, my role was -- I had the everything role.                      I

   7       answered all the questions, I -- I oversaw the process.

   8       I helped wherever I could.            I took out garbage, if

   9       garbage needed to be taken out.              I talked to the ASAC

  10       when things needed to be done.              I communicated it, the

  11       high level and the low level.

  12           Q.    Okay.    So is it fair to say, then -- is it fair

  13       to characterize you as sort of the person in charge as

  14       to the execution of the seizure warrant?

  15           A.    I think that's true, yes.

  16           Q.    Okay.    All right.       Did you ever happen to

  17       inventory a box yourself?

  18           A.    I did.

  19           Q.    Oh, really?      Like, how many?         Just one -- just

  20       the one or two at the beginning that you said?

  21           A.    Probably about five --

  22           Q.    Okay.

  23           A.    -- times in -- yeah.          Not very much.

  24           Q.    I know it took pretty much almost a full four

  25       days to inventory the boxes, and I -- I think you said


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 174 of 294 Page ID
                                    #:2468


                                                                          Page 173

   1       that it was longer than you had originally expected it

   2       to take.      What -- what -- what were the snafus that made

   3       it take longer than expected?

   4           A.    Our process is very thorough, and it -- it just

   5       takes time.       To fill out all the paperwork, to fill it

   6       out, you know, more than once with the same information.

   7       The boxes -- I just don't think we wrapped our mind

   8       around how many boxes were going to have content in

   9       them.     The processing of valuables is an extra step,

  10       and -- and so you have to be extra careful with it.

  11                 So there were things like that that -- I think

  12       we -- we just -- it just took longer than -- it just

  13       took longer than expected.            There were certain boxes

  14       that took the team up to 45 minutes to process one box

  15       properly.      And so that -- and then other boxes, no.

  16       Other boxes, more quickly.            But it just took longer

  17       than -- than we had anticipated.

  18           Q.    Okay.    That's understandable.           Jobs always seem

  19       to take longer than you originally expect them to.

  20                 Now, I think you -- in -- in the instance -- I

  21       understand some boxes were -- you know, you could do

  22       very quickly.        But, like, why would a box take as long

  23       as 45 minutes?

  24

  25


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 175 of 294 Page ID
                                    #:2469


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  18           Q.    Yeah.

  19           A.    So you could do jewelry -- you could do jewelry

  20       is one type of thing, but you can't mix jewelry and

  21       coins.

  22           Q.    Got it.

  23                 Okay.     And you had said before, I think, that the

  24       DEA had sort of taken point on videotaping the inventory

  25       process.      Is -- is that --


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 176 of 294 Page ID
                                    #:2470


                                                                          Page 175

   1           A.    Correct.

   2           Q.    That's correct?

   3           A.    (No audible response.)

   4           Q.    Did agents also, did they -- did DEA do just

   5       videotape, or did they also do photographs?

   6           A.    So DEA did the video.          Because we were limited to

   7       two cameras, we went with photos where we didn't have

   8       cameras.      So where there are photographs, that's FBI.

   9       So that would be a team that was a complete team to do

  10       an inventory, but there was not a video camera

  11       available, so they photographed.

  12           Q.    Okay.    So your goal was to videotape everything,

  13       but reality got in the way, and you essentially --

  14           A.    Yes.

  15           Q.    -- ended up having FBI officials just do

  16       photographs?

  17           A.    Correct.

  18           Q.    Okay.    And what percentage of the boxes would you

  19       say were videotaped as part of the inventorying process

  20       versus the percentage that were just photographs?

  21           A.    Slightly more than half were videotaped.

  22           Q.    Okay.    So there should be videotape for -- you

  23       said it was roughly 700 boxes that were inventoried, so

  24       somewhere around 350 to 400 videotapes.                 Or not

  25       videotapes, it's --


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 177 of 294 Page ID
                                    #:2471


                                                                          Page 176

   1           A.    Recordings.      Digital.

   2           Q.    Recordings.      I -- I'm a child of the '80s.             I

   3       still think in terms of the videotape.

   4                 Okay.     And then about another 300 would be

   5       pictures.        All right.

   6           A.    Yes.

   7           Q.    And so your plan had been to videotape them all.

   8           A.    Yes.

   9           Q.    Okay.     But you just had a limit on cameras?

  10           A.    Yes.

  11           Q.    Oh, okay.

  12                 So in order to have, like, a complete record,

  13       then, whether it's videotape or, you know, photographs,

  14       like, they would need to actually be able to capture

  15       what was going on throughout the inventorying process;

  16       isn't that right?

  17           A.    Well, I mean, the idea is to get -- yes, is to --

  18       is to get the -- the picture -- again with your comic

  19       book example, it's just another way to document what the

  20       process is.

  21           Q.    Yeah.     So in my example, my comic book example,

  22       as you put it, like, you would want that videographer

  23       to -- to take a picture such that you could see, oh -- I

  24       think in our hypo it was 19 comic books.                  You would want

  25       them to confirm that -- take a video as such that it


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 178 of 294 Page ID
                                    #:2472


                                                                          Page 177

   1       showed 19 comic books, because that would reinforce the

   2       19 comic -- that would -- that would help prove that

   3       there were in fact 19 comic books that you seized; is

   4       that correct?

   5           A.    No.     What you would see is the agent taking a

   6       stack of comic books from the box and putting it into a

   7       bag, and then sealing the bag.

   8           Q.    Okay.     So we're still talking in terms of overall

   9       types of property.         It's -- so the videotapes weren't an

  10       attempt to try to get a complete overview of, like, how

  11       much of each thing was there?

  12           A.    No.     They were to -- to record the process,

  13       really, in a lot of ways, to protect us, because we

  14       understood there was going to be cash and valuables.

  15           Q.    Uh-huh.

  16           A.    And so it's very much video of us putting

  17       property from the box into the bag.                Or from the box

  18       into a different box that's then going to get taped,

  19       labeled, bar coded, and processed.

  20           Q.    Okay.     I get that.

  21                 But then -- so the camera would then need to be

  22       able to capture you putting all those various items,

  23       taking them out of the box and putting them into the

  24       bag.

  25           A.    Right.     That was the idea.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 179 of 294 Page ID
                                    #:2473


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   1           Q.    Okay.    Yeah.     Because if -- if it's missing after

   2       that, it's not very useful; right?

   3           A.    Right.

   4           Q.    So who has possession of all those video records,

   5       is that the FBI or the DEA?

   6           A.    We both have it.

   7           Q.    Oh, okay.      So both DEA and FBI have it.                Okay.

   8                 Now, where were -- and both agencies have all the

   9       videos; is that correct?

  10           A.    Yes.

  11           Q.    Okay.    Where exactly were the agents actually

  12       doing the inventorying of the boxes, was it in the vault

  13       itself, or elsewhere?

  14           A.    So the -- the original two teams set up with

  15       video cameras were back in the vault area.                  So all of

  16       the video recorded inventories are in the vault area.

  17       The -- in order to create more teams and more space,

  18       because the vault was very crowded, we removed whole,

  19       like, crates of boxes to a different part of the

  20       business, to the front part, where teams of agents

  21       worked from there.

  22           Q.    Okay.    So was the original plan to have all the

  23       inventorying being done in the vault?

  24           A.    Correct.

  25           Q.    And then you -- and then not you personally, but


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 180 of 294 Page ID
                                    #:2474


                                                                          Page 179

   1       then it sounds like the FBI realized this is just --

   2       this is going to take too long if we --

   3           A.    Correct.

   4           Q.    We need to increase our -- our throughput.                 And

   5       so --

   6           A.    Correct.

   7           Q.    -- you set another group up to operate in the

   8       front area.

   9           A.    Correct.

  10           Q.    And that group was just taking photographs

  11       instead of videotaping.

  12           A.    Generally, yeah.        Yes.

  13           Q.    Okay.    Having two teams in the vault, isn't

  14       that -- wasn't that space cramped?

  15           A.    Yes.

  16           Q.    It would make it -- it seems like that would make

  17       it real hard to operate in there.

  18           A.    Yes.    As -- as time went on, it became more empty

  19       and there was more space.            It was better.        It was better

  20       towards the end than at the beginning.                 At the beginning

  21       it was very cramped.

  22           Q.    Okay.    I don't -- I don't envy them.

  23                 And do you know, like, when your agents were

  24       doing the inventorying, did they come across, you know,

  25       the conservator letters, like the one I previously


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 181 of 294 Page ID
                                    #:2475


                                                                          Page 180

   1       showed as exhibit, I think it's Exhibit 6?

   2           A.    Yes.

   3           Q.    Okay.    And they -- would they review that

   4       conservator letter once they came across it?

   5           A.    So in our -- in our briefing I had briefed the

   6       inventory agents that -- that these executor conservator

   7       letters might exist, and that we were looking for

   8       indicia as to who the box owner was, and so could they

   9       please pay attention to this.             And many of them did, but

  10       not all of them.         So it's -- during the process many

  11       times they noted it.          Like, many times they took a photo

  12       of it, or they wrote a note:             There seems to be -- this

  13       seems to be the box holder, or there seems to be indicia

  14       for this person, or this phone number, or whatever.                   But

  15       not always.

  16           Q.    And that was -- so was that, whether they would

  17       record that information, it really turned on, like, the

  18       particular team that was doing the inventorying?

  19           A.    Yes.

  20           Q.    Okay.    And did you have anything in the

  21       supplemental instructions about what to do when

  22       confronted with a -- a conservator letter, or the

  23       equivalent?

  24           A.    So I want to say probably it would help if I

  25       could see the -- my supplemental instructions could tell


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 182 of 294 Page ID
                                    #:2476


                                                                          Page 181

   1       you exactly.

   2           Q.    Okay.     Well, I'm -- I'm trying to remember.

   3       So -- I'm trying to -- with the supplemental

   4       instructions, those were supposed to walk people through

   5       what to do; right?

   6           A.    Yes.

   7           Q.    So it had, it would have in it, like, when people

   8       went in to the -- to inventory, and, like, when they

   9       found cash, what to do with it; right?

  10                 Did it mention -- did the supplemental

  11       instructions mention anything about drug dogs, or --

  12                         MR. RODGERS:      I -- go ahead.        I want to

  13       raise an objection.          If you're going to ask her

  14       questions about the document, please show her the

  15       document.

  16                         MR. FROMMER:      Well, I'm just -- she's the

  17       author of the document.           I'm just asking, like,

  18       generally, like, was there information about that in

  19       there.

  20                         MR. RODGERS:      This is not a guessing game.

  21       If there's a document which says specifically what is in

  22       it, please show it to her.

  23                         (Exhibit 7 marked at this time.)

  24                         MR. FROMMER:      Okay.    All right.       I will

  25       introduce -- here is Exhibit 7.              So let me know when you


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 183 of 294 Page ID
                                    #:2477


                                                                          Page 182

   1       have that.

   2                         MR. RODGERS:      We have it.

   3                         MR. FROMMER:      Okay.

   4       BY MR. FROMMER:

   5           Q.    And so there you are as FBI case agent.                    And

   6       is -- is this the -- so this is Exhibit 7.                  I misstated

   7       the PDF, so my apologies on that.               But it's the

   8       supplemental instructions on box inventory.

   9                 Is this the document that you drafted?

  10           A.    Yes.

  11           Q.    Okay.     Okay.     Prepared by you and Madison

  12       MacDonald.

  13                 All right.        So I see in here you have the search

  14       team, you have admin team, you have security team, and

  15       you talk about in here -- yeah, okay.                So you process

  16       the evidence, and then you put it in a privacy room.

  17       And then you see at the bottom here it says:

  18                 The FBI evidence techs and asset forfeiture

  19       agents will be working to enter evidence into Sentinel

  20       and generate CATS ID numbers for all cash.

  21           A.    Right.

  22           Q.    And what I'm wondering is was -- we know that

  23       there were drug dogs on site; right?                You previously

  24       testified to that, and there are public filings about

  25       that.     I'm wondering if this mentions anything about


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 184 of 294 Page ID
                                    #:2478


                                                                          Page 183

   1       drug dogs.

   2                 Did your -- I mean, now that you have the

   3       document in front of you, did you discuss drug dogs in

   4       the supplemental instructions?

   5           A.    Can you scroll it up?

   6           Q.    Up?    Up.

   7           A.    Sorry.       Down.    I'm sorry.     Down.

   8           Q.    Down, down.

   9           A.    I don't see it.

  10           Q.    You don't see anything about the drug dogs?

  11           A.    I don't.       Am I missing it?

  12           Q.    Is that because it's redacted?

  13           A.    Maybe.

  14           Q.    Is it this:

  15                 There will be blank on screen.               If blank is

  16       available, the cash will be taken by blank agents to the

  17       blank.

  18                 Is that referring to drug dogs?               It's in the

  19       section about cash --

  20           A.    Yes.

  21           Q.    -- and you told me that all cash was --

  22           A.    Very likely.         Very likely.

  23           Q.    You're the author of the document.

  24           A.    Yes.

  25           Q.    And you're the best -- person in the best


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                    #:2479


                                                                          Page 184

   1       position to tell me if this -- this paragraph on cash,

   2       right under the 5,000, which we talked about, you need

   3       to get a CATS number, is that talking about any cash

   4       that needed to get a CATS number would be run by drug --

   5       by the drug dogs?

   6           A.    So I wrote the document over a year ago.                   I think

   7       that's what it says, but it's redacted so I can't tell

   8       you for sure.        But I do think that's probably what it's

   9       addressing.

  10           Q.    Okay.    Let me -- where am I?           Okay.    This is 59.

  11       Let me go to 58, here.           All right.      I had a quick

  12       question about -- for 58, it says at the top:

  13                 Teams will remove the box itself, label and seize

  14       it, taking care to preserve possible fingerprint

  15       evidence.

  16                 I'm -- I'm wondering, is that -- is -- is looking

  17       for latent fingerprints a standard part of FBI inventory

  18       policy?

  19           A.    No, but this was in anticipation of really not

  20       knowing the total anonymity of the property.                   So it

  21       would be one other possible thing that you could use to

  22       identify who the box holder is.

  23           Q.    And were any latent fingerprints taken from boxes

  24       used solely for the purpose of identifying the

  25       individuals who owned those boxes?


                                      Exhibit K
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                                    #:2480


                                                                          Page 185

   1           A.    No.     None of this happened.

   2           Q.    Okay.     Did you -- so I know that they were -- you

   3       had DEA and the FBI officials either videotaping or

   4       photographing as the inventory went forward.                   Are you

   5       aware of instances where DEA agents, or FBI agents,

   6       either photographed or videotaped documents that were

   7       found inside -- inside a box?

   8           A.    Yes.

   9           Q.    In what circumstances would they videotape or

  10       photograph documents found inside a box?

  11           A.    If they were indicia.          So the -- the executor

  12       conservator paperworks were often photographed or

  13       videotaped.        They would try to hold it up to the -- to

  14       the camera.        Copies of driver's license, copies of

  15       passports.        Occasionally there might be something else

  16       that had somebody's name on it.

  17           Q.    Okay.     So is it fair to say, then, that the -- to

  18       the extent a document that was found inside a box was

  19       either videotaped or photographed, it should have been

  20       done solely for the purpose of establishing who owns the

  21       box?

  22           A.    Correct.

  23           Q.    Okay.     So it would have been inappropriate for

  24       agents to videotape or photograph any documents for

  25       purposes other than identification of the owner.                     For


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 187 of 294 Page ID
                                    #:2481


                                                                          Page 186

   1       instance, to memorialize the contents of that document.

   2           A.    Right.     But -- but it's still -- we're still

   3       memorializing the process of the inventory itself, too.

   4       So if it's -- if this -- I've got this box, and it

   5       contains documents, I'm -- I would expect the agent to

   6       hold up the documents:           I've got documents.          They're

   7       going in the bag.

   8                 Just to show -- to show the inventory.                Right?

   9       So they wouldn't be photographing it for the content of

  10       what's in it except for indicia, but they would be

  11       photographing the whole thing as part of the inventory.

  12       Does that make sense?

  13           Q.    Partially.      I understand the -- the indicia of

  14       ownership.        But are you suggesting, Lynne, that if

  15       agents came across a document inside the box, that they

  16       could flip -- flip through every page of that document

  17       and put that -- put each page in front of the camera?

  18           A.    No.

  19           Q.    That would be inappropriate.

  20           A.    Correct.     But they could show that it -- like:

  21       I've got a notebook here.            Or:    I've got a stack of

  22       papers here.        You know, it's -- again, it's a general,

  23       and it's going in this bag.

  24           Q.    Okay.     So they -- to the extent they shouldn't be

  25       videotaping or -- they should not have been videotaping


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 188 of 294 Page ID
                                    #:2482


                                                                          Page 187

   1       or photographing the contents of documents beyond that

   2       which was necessary or useful to establish ownership of

   3       the box; is that correct?

   4           A.    Correct.

   5           Q.    And that's because photographing or videotaping

   6       the contents of documents inside the box outside of the

   7       context of establishing ownership would be outside the

   8       purposes of an inventorying; is that correct?

   9           A.    Correct.

  10           Q.    So if you had -- if you had gold coins in a box,

  11       for instance, were your instructions that, you know, the

  12       videographer or the photographer should memorialize the

  13       contents of the box -- let me say that a little more

  14       cleanly.

  15                 So, for instance, let's say there's a gold --

  16       there's a bunch of gold coins in a box.                 Would -- did

  17       you tell the videographers and photographers to

  18       photograph -- to make photographs such that you could

  19       see all the gold coins in the box?

  20           A.    No.

  21           Q.    But wouldn't taking a photograph that actually

  22       showed all the coins in the box be the best evidence of,

  23       like, what kind and how many coins were in that box?

  24                       MR. RODGERS:        Objection, calls for a legal

  25       conclusion.


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 189 of 294 Page ID
                                    #:2483


                                                                          Page 188

   1                         THE WITNESS:      And then it would be a search,

   2       right?     So for us, like, if you get too -- too deep into

   3       the weeds --

   4                                 (Cell phone rings.)

   5                         THE WITNESS:      -- sorry about that -- you

   6       know, you start getting into, like -- yeah.                   No.

   7                         The goal was to document what was being

   8       taken from the box and put into an evidence bag.                     That

   9       was -- that was the goal.            That's -- that was the

  10       instructions to the videographer, was to memorialize the

  11       process of the inventory, not each little thing.

  12       BY MR. FROMMER:

  13           Q.    So they wouldn't videotape or photograph -- you

  14       know, let's say I have ten rolls of gold coins, they

  15       wouldn't necessarily take a picture of all those rolls

  16       of gold coins, but they would take pictures of

  17       documents, even -- even -- even in the instance where

  18       they first found a conservator letter.

  19           A.    No, I don't agree with that statement.

  20           Q.    Okay.     Well, I -- I'm struggling here that if the

  21       purpose of an inventory is to protect against claims of

  22       theft and loss, then how isn't taking a photograph of

  23       the contents of the box the best protection for the FBI

  24       against claims of -- of theft and loss?

  25                         MR. RODGERS:      Objection, asked and answered.


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 190 of 294 Page ID
                                    #:2484


                                                                          Page 189

   1                         THE WITNESS:      Well, it is.       So that was the

   2       point of taking the photographs or the videos --

   3       right? -- is to take a picture of the contents of the

   4       box.     So we had -- we had to memorialize.               But not --

   5       BY MR. FROMMER:

   6           Q.    Okay.

   7           A.    -- not each separate coin --

   8           Q.    Oh, no.

   9           A.    -- if that's what you're asking.

  10           Q.    It's not what I was asking.            That would be -- in

  11       my professional legal opinion, that would be insane, to

  12       videotape each and every single coin, one at a time.

  13                 Can we -- okay.        I'm here.      Let's return to

  14       Exhibit 7.        And I'm on page FBI 58.          And in the middle

  15       of the document there's a sentence that says:

  16                 A copy of the paperwork will go to asset

  17       forfeiture.

  18                 And this -- it appears to be a copy of all the --

  19       the inventory, the 597s.            Why do these -- why do your

  20       supplemental instructions direct that a copy of all the

  21       paperwork go to asset forfeiture?

  22           A.    I think that was only true if it was -- obviously

  23       if it was cash.        Otherwise, they wouldn't have anything

  24       to do with it.        But I think the asset forfeiture team

  25       needed the paperwork -- our -- our set of paperwork to


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 191 of 294 Page ID
                                    #:2485


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   1       do their set of paperwork.

   2                 So -- so basically our admin team, as I've called

   3       them, were -- were evidence people, asset forfeiture

   4       people, some agents, some support staff, who were doing

   5       the paperwork -- a lot of the paperwork, generating the

   6       paperwork process to this.            And I believe that was a

   7       request from the asset forfeiture team, to have copies

   8       of the paperwork.

   9           Q.    Okay.    All right.       And, again, like -- and this

  10       is consistent with what I think you told me before.                   At

  11       the bottom of page 58 it says:

  12                 FBI evidence techs and asset forfeiture agents

  13       will be working to enter evidence into Sentinel and

  14       generate CATS ID numbers for all cash.

  15                 Is that --

  16           A.    Correct.

  17           Q.    -- generally --

  18                 And by -- by that, you meant cash that exceeded

  19       $5,000?

  20           A.    Correct.

  21           Q.    Okay.    All right.       Let me -- give me one second.

  22       I actually lost something I wanted to ask about.

  23                 Here.    On page 59, the next page.             It states --

  24       and this is the last sentence of the paragraph right

  25       after the -- all the redactions.               It says:


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                    #:2486


                                                                          Page 191

   1                 Anything which suggests the cash may be criminal

   2       proceeds should be noted and communicated to the admin

   3       team.

   4                 Where would the admin team put information

   5       like -- any -- that -- that sort of information?

   6           A.    In a 302.

   7           Q.    Did they -- did they have a spreadsheet that they

   8       were creating?

   9           A.    No.

  10           Q.    Okay.    So -- so you told agents that they should

  11       report anything that suggests cash may be criminal

  12       proceeds, to tell that to the admin team; is that

  13       correct?

  14           A.    Well, they would note it.            So it was -- it was

  15       put down in, like, agent notes, that then went to the

  16       admin team, who was preparing, or helping to prepare,

  17       the FD-302.

  18           Q.    Okay.    And did you ask for this information so

  19       that the FBI could pursue civil forfeiture against box

  20       holders?

  21           A.    Possibly.      And because I knew that once the cash

  22       is gone, once it's in Loomis, it's gone.                  So whatever

  23       condition it's in, needs to be noted right now.                      So if

  24       it smells like chemicals, if it's wet, if it has dye

  25       pack on it, if it's got marijuana seeds mixed in with


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 193 of 294 Page ID
                                    #:2487


                                                                             Page 192

   1       it.        Whenever condition it's in, that is notable, needs

   2       to be noted now, because tomorrow it's going to be gone.

   3             Q.     Because it's off to Loomis.

   4             A.     Correct.

   5             Q.     Okay.    Can you -- I just want to ask very

   6       briefly, I don't want to spend too much time on this,

   7       but -- so you -- you say in this that agents should note

   8       things such as how cash is bundled, such as rubber bands

   9       or bank bands.           And then also if it has a strong odor,

  10       like marijuana, soil, gasoline, coffee, chemical.

  11             A.     Correct.

  12             Q.     Is that list that you have there of marijuana,

  13       soil, gasoline, coffee, chemical, are these all odors

  14       that are indicative, or potentially indicative of that

  15       money being in the proximity of drugs?

  16             A.     Yes.    Based on my training and experience, those

  17       are the kinds of things that -- for example, bank

  18       teller's note.           Regularly, or frequently, when I -- so,

  19       yes, those are things that get noted, the condition of

  20       the cash, and how it's bundled and processed and

  21       packaged.

  22             Q.     Okay.    So you're having agents tell you, when --

  23       when you're inventorying the cash, note how it's

  24       wrapped, note if it smells like drugs, note anything

  25       that suggests it's criminal proceeds, and tell all of


                                         Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 194 of 294 Page ID
                                    #:2488


                                                                          Page 193

   1       that to the admin team; is that correct?

   2           A.    Correct.     Or communicate it.          I think -- I think

   3       it got written down and then handed to the admin team.

   4           Q.    Okay.    Communicated rather than told.              But -- but

   5       that information was given to the admin team.

   6           A.    Correct.

   7           Q.    Okay.    And we've talked about drug dogs being on

   8       site at USPV before, and you were sort of the person in

   9       charge of the scene.          And so was it your idea to have

  10       drug dogs there?

  11           A.    That was discussed with the whole team.                    I -- I

  12       can't say whose idea it was.             It was consensus that that

  13       should be done.

  14           Q.    So you -- do you not recall who originally came

  15       up with the idea to have drug dogs on scene?

  16           A.    Like, I'll say this:          Whenever we come across --

  17       whenever in my entire career I've come across a large

  18       amount of cash, it's standard procedure to get a drug

  19       dog to run past it, if it's possible to do so.                       It's

  20       something that the courts in California, I think, have

  21       come to expect, to the extent that if you don't do it

  22       there will be a question, like, why didn't you have a

  23       drug dog go past, or did you have a drug dog go past it.

  24                 So it's something that is -- was available to us,

  25       and we thought it was prudent to do.                And you certainly


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 195 of 294 Page ID
                                    #:2489


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   1       don't want to wait and do it some other time, you want

   2       to do it immediately.           If it's feasible to do that.          So

   3       it's a little bit our standard practice, and -- and I do

   4       believe that when you don't do it, you get asked why

   5       didn't you do it.

   6           Q.    I mean, you said that it would be a question --

   7       like, if you didn't run the -- the money by dogs, that a

   8       judge might question you later on.               Like, what judge are

   9       you talking about?

  10           A.    Any judge who may be involved in any future thing

  11       that we do with the money or the person attached to the

  12       money.

  13           Q.    So like a -- like a judge in a forfeiture action,

  14       for instance.

  15           A.    Right.     Any judge.

  16           Q.    Okay.

  17           A.    Or any defense attorney, you know.

  18           Q.    Okay.    Let me jump a little bit.            I think I need

  19       to go back to Exhibit 3.            If we could go back to

  20       Exhibit 3, please.

  21                 And for this -- I just had some questions about

  22       the digital devices.          We talked a little bit about USB

  23       keys before, and some other digital -- I know that some

  24       people probably had, like, little portable hard drives,

  25       all that stuff, in their boxes.


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 196 of 294 Page ID
                                    #:2490


                                                                          Page 195

   1                 Did the FBI search or otherwise inspect the

   2       digital devices that were located inside safe deposit

   3       boxes?

   4           A.    Not without an additional warrant, no.

   5           Q.    Okay.     So -- so as part of the inventory process,

   6       there was no -- nobody would plug in a USB key to see

   7       what files might be on it?

   8           A.    Nope.

   9           Q.    And did the FBI seek out -- couldn't the --

  10       couldn't the USB key have potentially had -- because

  11       before you were saying you were looking at paper

  12       documents for indicia of ownership, but couldn't the USB

  13       key also have provided indicia of ownership?

  14           A.    It might have, but we didn't search them.                  We did

  15       not look at -- we did not look at any -- any digital

  16       evidence, digital devices, hard drives, thumb drives,

  17       discs, without an additional warrant.

  18           Q.    Okay.     So you're looking at papers for indicia of

  19       ownership, but not looking at any digital devices for

  20       indicia of ownership.

  21           A.    Correct.

  22                         MR. FROMMER:      Can we go back to Exhibit 7,

  23       please?

  24                         Oh.   Did I do that somehow?

  25                         Let's go off the record for a second.               Yeah,


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 197 of 294 Page ID
                                    #:2491


                                                                          Page 196

   1       it just seemed like the wrong exhibit popped up.

   2                       THE VIDEOGRAPHER:         We are off the -- I'm

   3       sorry.     We are off the record --

   4                       THE VERITEXT CONCIERGE:            Yeah, no -- hold on

   5       for a second.

   6                       THE VIDEOGRAPHER:         Do you want me to stay on

   7       the record?

   8                       THE VERITEXT CONCIERGE:            This is 7.

   9                       MR. FROMMER:        Yeah, if we're -- if we're --

  10       yeah.     Now that we have the correct exhibit up, we can

  11       just stay on the record.            That's fine.

  12       BY MR. FROMMER:

  13           Q.    All right.      We're back to Exhibit 7, Special

  14       Agent Zellhart, and I had a quick question about -- let

  15       me make sure this is -- okay.             The second paragraph

  16       here, about digital currency, says:

  17                 Evidence of digital currency, like a Bitcoin

  18       wallet, will be inventoried in the same manner as

  19       valuable evidence.         Inventory agents shall note the

  20       likelihood of the presence of digital currency and

  21       ensure that the admin team notes this on the Excel

  22       spreadsheet.

  23                 My -- I guess my question is:             Why did you

  24       instruct them to -- to inventory in the same manner as

  25       valuable evidence and to ensure the admin team noted


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 198 of 294 Page ID
                                    #:2492


                                                                          Page 197

   1       its -- the presence of -- possible presence of digital

   2       currency on the Excel spreadsheet?               Let me break those

   3       out, since that was the very definition of a compound

   4       question.

   5                 First off, can you explain to me why you told the

   6       agents in this instructions to inventory digital

   7       currency in the same manner as valuable evidence?

   8           A.    Yeah, because that's new.            So we're in a new

   9       world.     At least a year ago we were more so than now,

  10       even.     But I don't -- digital -- there's -- we have

  11       three categories of -- three.             We have more than three.

  12       But digital is its own category of evidence.                   You have

  13       general evidence, digital evidence, you have valuables,

  14       you have firearms, you have drugs.

  15                 We -- we had just moved to classifying likely

  16       cryptocurrency as valuable rather than digital.                      So that

  17       was the point of that explanation, was to let everybody

  18       know if it looks like cryptocurrency, we need to treat

  19       it as valuable now, not digital or general.

  20           Q.    Okay.    That makes sense.         Thank you.

  21                 And then the second sentence says:

  22                 Inventory agents shall note the likelihood of the

  23       presence of digital currency and ensure that the admin

  24       team notes this on the Excel spreadsheet.

  25                 So there's an Excel spreadsheet that contains


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          967
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 199 of 294 Page ID
                                    #:2493


                                                                          Page 198

   1       notes about digital currency?

   2           A.    No.     The Excel spreadsheet never materialized.

   3       It was planned for, but it never -- it -- it never

   4       happened.        It never even got started.          There were too

   5       many other things going on.             And it was -- it was meant

   6       to -- to basically give those classifications that I

   7       just said.        Is this general?       Is this valuable?           Is this

   8       digital?        Is this drug?     Is this, you know, firearm?

   9       And so it was supposed to be noted in a spreadsheet that

  10       never was created.

  11                         MR. FROMMER:      Okay.     Let's see.      Why don't

  12       we take a short five-minute break, if you don't mind,

  13       and we'll come back.          All right?

  14                         THE VIDEOGRAPHER:         We are off the record.

  15       The time is 3:49 p.m.

  16                  (A short break was taken at this time.)

  17                         THE VIDEOGRAPHER:         We are back on the

  18       record.     The time is 3:57 p.m.

  19       BY MR. FROMMER:

  20           Q.    All right.      Thank you, Special Agent Zellhart.

  21                 I want to jump forward a little bit in time.

  22       Well, not really that much, but I want to talk about

  23       the, what -- what I would call the informal claim

  24       process.        And by that I mean the claim form that was put

  25       up telling people if you had property at USPV to, I


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          968
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 200 of 294 Page ID
                                    #:2494


                                                                          Page 199

   1       think, email a certain email address at the FBI.

   2                         MR. FROMMER:      And so let me introduce that

   3       as Exhibit 8.        Just let me know when you have that.

   4                         (Exhibit 8 marked at this time.)

   5                         MR. RODGERS:      We have it.

   6                         MR. FROMMER:      Okay.

   7       BY MR. FROMMER:

   8           Q.    All right.      So do you recognize this form?

   9           A.    Actually, I have not seen this form, this

  10       specific form, before.

  11           Q.    Oh.     Did you see --

  12           A.    But I know it exists.          I'm familiar -- I mean, I

  13       am aware of it, but I haven't actually looked at it

  14       myself.

  15           Q.    All right.      Okay.

  16                 But you recognize that this is a claim form that

  17       was put out at U.S. Private Vaults instructing people

  18       to, you know -- well, this is actually the claim form

  19       that was on the website.            But this would -- do you

  20       understand this to be part of the process by which box

  21       holders were to reach out to the FBI about the status of

  22       their boxes?

  23           A.    Yes.

  24           Q.    Okay.     And did you come up with the idea of

  25       the -- this informal claim process by which box holders


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          969
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 201 of 294 Page ID
                                    #:2495


                                                                          Page 200

   1       would fill out an online form with their contact

   2       information?

   3           A.    So I'm not sure who came up with it.                We had

   4       discussions about how we were going to get property back

   5       to the property owners.           And we knew we had to get

   6       something in place, and we knew that we -- we had to

   7       have -- so this -- so I don't know who came up with

   8       this.     I'm sure I was part of the process or the

   9       discussions about it, but I -- I can't say for sure who

  10       decided that this was going to be the best way to do it.

  11           Q.    Do you recall who -- with whom you had

  12       discussions about this?

  13           A.    So my supervisor, Rich Alexander, the co-case

  14       agent, Madison MacDonald, the -- FBI headquarters had to

  15       approve whatever we were doing, our technical people had

  16       to be involved with it because it had to do with

  17       connecting to the -- the sort of grander FBI website.

  18       So there were -- there were quite a few people involved

  19       with it.      And I -- I don't know that I've named all of

  20       them even.

  21           Q.    Okay.     So I heard that you had a number of people

  22       involved with agent MacDonald and your other colleagues

  23       at the FBI, about this.           Did you have discussions with

  24       Andrew Brown about this claim form?

  25                         MR. RODGERS:      Objection.      To the extent this


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          970
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 202 of 294 Page ID
                                    #:2496


                                                                          Page 201

   1       requires the witness to reveal the contents of a

   2       communication with Mr. Brown, please do not answer that

   3       question.        I instruct you not to answer on

   4       attorney-client privilege grounds.

   5                         THE WITNESS:      So, yes.

   6       BY MR. FROMMER:

   7           Q.    So yes, you did discuss this with Andrew Brown?

   8           A.    Yes.

   9                         MR. FROMMER:      Let me introduce -- sorry for

  10       the size of this exhibit, but Exhibit 9.

  11                        (Exhibit 9 marked at this time.)

  12                         MR. FROMMER:      And please let me know when

  13       you have that.

  14                         MR. RODGERS:      We have it.

  15                         MR. FROMMER:      Okay.    Great.     I'm going to go

  16       down to -- please bear with me.              Here we go.

  17       BY MR. FROMMER:

  18           Q.    This is FBI 61, and this appears to be an email

  19       from you to a Ms. Eimiller.             First off, can I ask who is

  20       Laura Eimiller?

  21           A.    Yeah.     She's our media liaison.

  22           Q.    Okay.     And the -- the content of this says:

  23                 We -- Laura, we worked with our AUSA on the

  24       attached flier, which we plan to post at the business

  25       after we depart.


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                          971
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 203 of 294 Page ID
                                    #:2497


                                                                          Page 202

   1                 Is the AUSA you're referring to here Andrew

   2       Brown?

   3           A.    Yes.

   4           Q.    Okay.     So you worked with Andrew Brown on the

   5       language of a flier to -- that was to be posted at U.S.

   6       Private Vaults; is that correct?

   7                         MR. RODGERS:      Objection, mischaracterizes

   8       the document.

   9       BY MR. FROMMER:

  10           Q.    Who is the "we" here in this -- in -- in FBI 61?

  11           A.    Like, I guess, like, the whole team.                I mean,

  12       like I said, we were trying to figure out a way to

  13       inform the public of how to, you know, how to start the

  14       process of getting their property back.                 And so there

  15       were discussions.         Obviously Laura Eimiller is our -- is

  16       our media liaison person, so I didn't name her before.

  17       Richard Alexander is my supervisor.                I'm sure there were

  18       other people involved.           Like I said, the tech guys had

  19       to be involved.        We were trying to come up with a

  20       process to do this, and so we were getting input from

  21       lots of people.

  22           Q.    Okay.     And one of those people was Andrew Brown;

  23       correct?

  24           A.    Correct.

  25           Q.    Okay.     And -- so I understand that -- is this


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          972
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 204 of 294 Page ID
                                    #:2498


                                                                             Page 203

   1       attachment here -- so it appears that this email that

   2       you sent had two attachments.                Do you see that,

   3       "Attached," and then there's two documents listed?

   4             A.     Okay.

   5             Q.     And then it says:         USPclaimform.doc.         And then:

   6       FlyerUSPVdraft.docx.

   7             A.     Uh-huh.

   8             Q.     And so is this the -- this is one version of the

   9       claim form, is that correct, that was put up?

  10             A.     Yeah.     That appears to be an -- an early draft.

  11             Q.     That appears -- this one, the --

  12             A.     Yes.

  13             Q.     The claim form at FBI 62 appears to be an early

  14       draft?

  15             A.     Yes.

  16             Q.     And what about this claim -- this notice on FBI

  17       63?        What can you tell me about this document, which was

  18       attached to your email?

  19             A.     I don't really remember.           I don't really remember

  20       this.

  21             Q.     You sent this; correct?

  22             A.     Yup.

  23             Q.     Did you create this?

  24             A.     I'm not sure.

  25             Q.     Do you know who might have created this?


                                         Exhibit K
                                         9HULWH[W/HJDO6ROXWLRQV
                       aaa
                                             973
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 205 of 294 Page ID
                                    #:2499


                                                                          Page 204

   1                         MR. RODGERS:      Objection, speculation.

   2                         THE WITNESS:      I don't -- I don't know.         I'd

   3       have to look back and see.

   4       BY MR. FROMMER.

   5           Q.    Okay.

   6           A.    I may have created it.          I don't -- I don't

   7       remember it.

   8           Q.    Is it possible that emails -- okay.

   9                 It's possible that this might have come from

  10       someone else other than you?

  11           A.    It's possible.        And then I just forwarded it

  12       because I'm the point person.             So that's possible.

  13           Q.    Okay.     And -- now, before you told me, I believe,

  14       that the execution of the seizure warrant was not done

  15       under the aegis of a joint task force; isn't that

  16       correct?

  17           A.    That's true.

  18           Q.    But then can you reconcile that for me with the

  19       language here at the top of 63 that states, "A joint

  20       task force is investigating crimes committed at and

  21       through U.S. Private Vaults"?

  22                         MR. RODGERS:      Objection, lacks foundation,

  23       calls for speculation, assumes facts not in evidence.

  24                         THE WITNESS:      And -- and the answer is I

  25       don't know.        That's why -- I don't -- I don't know.             I'm


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                          974
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 206 of 294 Page ID
                                    #:2500


                                                                          Page 205

   1       not familiar with this document.               And I don't deny that

   2       I attached it to an email.            And I -- I don't know where

   3       this came from.        I really don't have a lot of comment

   4       about it.      I really don't know where that came from.                   It

   5       didn't get posted.

   6       BY MR. FROMMER:

   7           Q.    I understand that it didn't get posted.                    I'm

   8       wondering -- this notice of criminal seizure, would you

   9       say it's fair to -- to say that this states that the

  10       safety deposit boxes at U.S. Private Vaults were seized

  11       pursuant to a federal -- I'm trying to figure out the

  12       right way to say this.

  13                 Does this -- does the language in bold in FBI 63

  14       imply that the safety deposit at U.S. -- safety deposit

  15       boxes at U.S. Private Vaults had been seized pursuant to

  16       a -- because there was a violation of criminal law?

  17                       MR. RODGERS:        Objection, lacks foundation.

  18       The witness, or anybody else, can review this document

  19       and make a guess and make an argument as to whether it's

  20       consistent with something else.              The witness has

  21       testified she did not prepare this document.

  22                       MR. FROMMER:        Thank you for -- no speaking

  23       objections, please.

  24                       MR. RODGERS:        The next objection is going to

  25       be to instruct her not to answer.


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          975
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 207 of 294 Page ID
                                    #:2501


                                                                          Page 206

   1                         MR. FROMMER:      That's great.

   2       BY MR. FROMMER:

   3           Q.    Special Agent Zellhart, you said you don't recall

   4       drafting this.        Do you know who might have drafted this?

   5                         MR. RODGERS:      Objection, speculation.

   6       BY MR. FROMMER:

   7           Q.    You consulted with a number of people concerning

   8       the FBI claim form; correct?

   9                         MR. RODGERS:      Objection, speculation.          Might

  10       have drafted.        Anyone might have drafted a document.

  11       BY MR. FROMMER:

  12           Q.    Would one of the people with whom you consulted

  13       been the person to draft this?

  14                         MR. RODGERS:      Could you re-read that

  15       question?

  16                 (Whereupon the reporter read the record.)

  17                         MR. RODGERS:      Objection, speculation, lacks

  18       foundation, asked and answered five times now.

  19       BY MR. FROMMER:

  20           Q.    Tell me every single person you talked to

  21       concerning the FBI claim form process.

  22           A.    Okay.     So, again, to the best of my recollection,

  23       Rich Alexander, who was my supervisor at the time,

  24       Madison MacDonald, Laura Eimiller, Andrew Brown, our

  25       tech guys -- and I can't be more specific than that,


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                          976
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 208 of 294 Page ID
                                    #:2502


                                                                          Page 207

   1       because I don't deal with them that often.                  But we had

   2       to get the technical thing.             And there were people also

   3       at headquarters who had to do an approval.                  And I think

   4       that's all.

   5           Q.    A review of your emails may -- would show -- if

   6       you didn't draft this document, would a review of your

   7       emails show where this document originated from?

   8                         MR. RODGERS:      Objection, speculation, lacks

   9       foundation, assumes facts not in evidence.

  10                         THE WITNESS:      I don't think my emails would

  11       show that, because obviously this was emailed from me.

  12       So I emailed this.         So I clearly emailed this as an

  13       attachment.        But I don't -- like I said, I don't know

  14       that I created it.         I -- I may have, or somebody else

  15       could have created it and I attached it.

  16       BY MR. FROMMER:

  17           Q.    So --

  18           A.    So I don't --

  19           Q.    Okay.

  20           A.    I don't know.

  21           Q.    Okay.     So a review of the FBI system files could

  22       potentially determine who was the original author of

  23       this; is that correct?

  24                         MR. RODGERS:      Objection, speculation, lacks

  25       foundation.


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                          977
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 209 of 294 Page ID
                                    #:2503


                                                                          Page 208

   1                         THE WITNESS:      Yes.

   2       BY MR. FROMMER:

   3           Q.    Okay.     And it's fair to say that it's possible

   4       that Andrew Brown drafted this; isn't that correct?

   5                         MR. RODGERS:      Same objections.

   6                         THE WITNESS:      Yes.

   7       BY MR. FROMMER:

   8           Q.    Moving back to FBI 62, this Exhibit 9, can -- I

   9       see on here that there's a lot of information being

  10       sought, like name, date of birth, social security

  11       number, and it lists -- but one thing it lists is U.S.

  12       Private Vaults box numbers.             And do you agree that

  13       having the person -- a claimant provide their box number

  14       would be a good way to -- would be prudent if you're

  15       trying to reconnect box holders with their property?

  16           A.    Yes.

  17           Q.    Okay.     Can we go back to Exhibit 8, please?

  18                 Okay.     This is Exhibit 8, which we were just

  19       previously discussing.           This was the actual claim form

  20       on the FBI website.          I've looked at this document

  21       several times, and it nowhere asks for a box holder's

  22       box number.        Is that correct?

  23           A.    That is correct.

  24           Q.    So the claim form failed -- is it true, then,

  25       that the claim form failed to ask for the box number,


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                          978
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 210 of 294 Page ID
                                    #:2504


                                                                          Page 209

   1       which I think you previously stated would be important

   2       for reuniting box holders with their property?

   3           A.    Yes.

   4           Q.    Okay.    Once agents got information from these

   5       informal claim forms -- okay?             Once people filled them

   6       out and that information came in to the FBI agents, what

   7       did you have agents do with that information?

   8           A.    So sometimes we were able to, with their

   9       information and what we already had from, like, the

  10       executor conservator notices, match them up to a box.

  11       Other times we had to contact them with the contact

  12       information that they left, and try to get more

  13       information, such as what box numbers do you have.

  14           Q.    Okay.    Did you ever take -- did you ever have

  15       agents take the information that was on this claim form

  16       and use it to investigate the person who filed the

  17       informal claim?

  18           A.    Not specifically.         So that sort of

  19       mischaracterizes what -- what we do.                So, no, I didn't

  20       instruct an agent:         Hey, take this list and go

  21       investigate these people.            I did not do that.

  22           Q.    Did you ever -- did -- so what -- would agents --

  23       would agents, whether you instructed them to or not,

  24       would they investigate the people who -- the information

  25       provided on these claim forms to -- in order to figure


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                          979
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 211 of 294 Page ID
                                    #:2505


                                                                          Page 210

   1       out who this person is and whether they had engaged in

   2       any activities that might be -- cause the funds to be --

   3       the property found inside the box to be subject to civil

   4       forfeiture?

   5           A.    Yes.    We -- when -- we did basic records checks

   6       of people, known box holders, in many cases, yes.

   7           Q.    And so, for instance, you would -- is it the case

   8       that you would have FBI agents run the contact

   9       information through databases to -- to find out what

  10       they could about the person who submitted the form?

  11           A.    That's correct.

  12           Q.    Does that include criminal databases?

  13           A.    Sometimes.

  14           Q.    Okay.    For instance, databases that it would

  15       indicate past arrests or convictions?

  16           A.    Yes.    Sometimes, yes.

  17           Q.    Do you know what database specifically?

  18           A.    So it depended.        So sometimes -- sometimes we ran

  19       criminal history databases, sometimes we ran other

  20       databases.

  21           Q.    What's the name of the criminal history

  22       databases?

  23           A.    NCIC.

  24           Q.    And what percentage -- in what percentage of

  25       instances -- well, that's -- before I get to that...


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                          980
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 212 of 294 Page ID
                                    #:2506


                                                                          Page 211

   1                 So you said NCIC is the criminal database, and

   2       you said sometimes you have them check with other

   3       databases.        What were the -- specifically, what were

   4       those other databases?

   5           A.    FinCEN, sometimes LexisNexis, or sometimes just a

   6       Google search.        Sometimes we just straight would do a

   7       Google search.

   8           Q.    For -- for FinCEN, are -- what were -- what were

   9       they looking for in FinCEN?

  10           A.    Suspicious activity, financial suspicious

  11       activity reports.

  12           Q.    So whether an SAR had ever been filed against the

  13       claimant?

  14           A.    That would be one thing, yes.

  15           Q.    Or if there were any CTRs that referenced the

  16       claimant?

  17           A.    Yes.

  18           Q.    Okay.     And what was the purpose for that?

  19           A.    So it depended, too, on what was in the box.                So,

  20       again, if I'm looking at a pile of cash, a million

  21       dollars in cash, I'm interested in where did that cash

  22       come from.        So it had less to do with the person than

  23       with the contents of the box.

  24           Q.    So is it fair to say, then, you were

  25       investigating the claimant so as to make a determination


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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                                          981
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 213 of 294 Page ID
                                    #:2507


                                                                          Page 212

   1       about whether you viewed the contents of the box to be

   2       criminal proceeds or not?

   3           A.    That's correct.

   4           Q.    And the same purpose with NCIC?

   5           A.    Correct.

   6           Q.    And was the purpose for that to determine, you

   7       know, whether to initiate civil forfeiture proceedings

   8       against the property that was associated with the

   9       particular claimant?

  10           A.    That was part of it, yes.

  11           Q.    Now, did you have any role in deciding which

  12       boxes, or the property in the boxes, would be subject to

  13       civil forfeiture proceedings?

  14           A.    Yes.    I had a role, yes.

  15           Q.    You had a role.        Were there other people other

  16       than you involved in that decision?

  17           A.    Yes.

  18           Q.    Okay.    Who -- who were those people?

  19           A.    So our asset forfeiture people at the FBI.

  20       Again, there's a whole team of people who -- who were

  21       involved with that.          And then there are asset forfeiture

  22       attorneys at the U.S. Attorney's Office who had the

  23       ultimate decision.

  24           Q.    And who are the asset forfeiture attorneys at the

  25       USAO?


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 214 of 294 Page ID
                                    #:2508


                                                                          Page 213

   1           A.    Victor Rodgers.

   2           Q.    So Victor Rodgers was involved in the decision of

   3       which boxes the property -- let me rephrase.

   4                 So was Victor Rodgers involved in the decision

   5       about whether to pursue civil forfeiture as to the

   6       contents of the boxes that were inventoried?

   7                       MR. RODGERS:        Objection, lacks foundation,

   8       vague and ambiguous --

   9                       MR. FROMMER:        Okay.    Victor, she

  10       literally --

  11                       MR. RODGERS:        Let me -- let me --

  12                       MR. FROMMER:        -- just said you were

  13       involved.

  14                       MR. RODGERS:        Counselor, let me complete my

  15       objection.      You're the one who asked the question.               I'm

  16       entitled to assert objections.

  17                       Lacks foundation, assumes facts not in

  18       evidence, vague and ambiguous with respect to the words

  19       "civil forfeiture."          Go ahead.

  20                       MR. FROMMER:        Okay.

  21       BY MR. FROMMER:

  22           Q.    With that, was Victor Rodgers one of the people

  23       who helped decide which boxes to move on through civil

  24       forfeiture?

  25                       MR. RODGERS:        Same objections.


                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 215 of 294 Page ID
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                                                                          Page 214

   1                         THE WITNESS:      He was part of the -- part of

   2       the process, yes.

   3       BY MR. FROMMER:

   4           Q.    Okay.     Was Andrew Brown part of the process?

   5                         MR. RODGERS:      Same objections.

   6                         THE WITNESS:      No.

   7       BY MR. FROMMER:

   8           Q.    Okay.     So Victor Rodgers, the person who's

   9       defending this deposition, was involved in the decision

  10       of whether to move forward on civil forfeiture of

  11       property that was inventoried at U.S. Private Vaults?

  12                         MR. RODGERS:      Objection, vague and ambiguous

  13       as to "civil" forfeiture, assumes facts not in evidence,

  14       lacks foundation, poses an incomplete hypothetical,

  15       overbroad.

  16                         You can answer the question.

  17                         THE WITNESS:      Yes.    I think the answer was

  18       yes.

  19                         MR. RODGERS:      I think the answer was yes,

  20       too.

  21       BY MR. FROMMER:

  22           Q.    Can you tell me, when was the very first time

  23       that you recall discussing asset forfeiture, civil

  24       forfeiture, whatever you want to call it, in connection

  25       with the -- with the safe deposit box at U.S. -- safe


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 216 of 294 Page ID
                                    #:2510


                                                                          Page 215

   1       deposit boxes at U.S. Private Vaults?

   2                       MR. RODGERS:        Objection, vague and ambiguous

   3       with respect to the use of the word "civil" forfeiture,

   4       assumes facts not in evidence, calls for -- poses an

   5       incomplete hypothetical.

   6                       You can answer.

   7                       THE WITNESS:        Summer of 2020.

   8       BY MR. FROMMER:

   9           Q.    So summer of 2020 was when you first had a

  10       conversation about using asset forfeiture as -- against

  11       the property contained in the boxes at U.S. Private

  12       Vaults?

  13                       MR. RODGERS:        Same objections.

  14                       THE WITNESS:        Yes.    I believe, to the best

  15       of my recollection, the first time it was discussed

  16       would have been summer of 2020.

  17       BY MR. FROMMER:

  18           Q.    And who was that discussion with?

  19                       MR. RODGERS:        To the extent the discussion

  20       was with an attorney, I instruct you not to answer.

  21       BY MR. FROMMER:

  22           Q.    I take it, then, from your nonanswer, that your

  23       conversation about civil forfeiture was with an

  24       attorney.

  25           A.    And other team members.           So, again, Justin


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 217 of 294 Page ID
                                    #:2511


                                                                          Page 216

   1       Carlson from DEA, Lyndon Versoza from Postal.                   Possibly

   2       other people from their agencies or mine.                  It was a,

   3       sort of a group.

   4           Q.    Was this discussion in the presence of an

   5       attorney?

   6           A.    Yes.

   7                        MR. RODGERS:       I instruct the witness --

   8       BY MR. FROMMER:

   9           Q.    Who were the non-attorneys involved in this

  10       process of deciding when to move -- to use civil asset

  11       forfeiture as to some of the property seized in the U.S.

  12       Private Vaults -- from the U.S. Private Vaults facility?

  13                        MR. RODGERS:       Objection.      To the extent this

  14       question is about meetings that occurred, one or two, or

  15       whatever, in the summer of 2020, if an attorney was

  16       present, I instruct the witness not to answer on the

  17       attorney-client privilege.

  18                        MR. FROMMER:       I'm asking who -- what

  19       non-attorneys were involved in the initial conversation

  20       in the summer of 2020 to use civil asset forfeiture

  21       against some of the property seized at U.S. Private

  22       Vaults.

  23                        MR. RODGERS:       Your question requires the

  24       disclosure of an attorney-client communication.

  25                        MR. FROMMER:       I do not -- Victor --


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 218 of 294 Page ID
                                    #:2512


                                                                          Page 217

   1                       MR. RODGERS:        I instruct the witness not to

   2       respond on attorney-client grounds.

   3                       MR. FROMMER:        Victor, I'm asking for the

   4       identity of non-attorneys.            That in no way reveals a

   5       privilege.

   6                       MR. RODGERS:        I disagree.      A discussion

   7       concerning, as your question asked, whether to use asset

   8       forfeiture in the presence of an attorney requires a

   9       discussion of the contents of the communications.                    That

  10       is privileged by the attorney-client privilege.

  11                       MR. FROMMER:        Okay.    We can -- we can keep

  12       fighting about this, but I'll rephrase.

  13       BY MR. FROMMER:

  14           Q.    Tell me the first conversation that you recall

  15       having without attorneys present regarding the decision

  16       to use civil asset forfeiture as to the property seized

  17       at U.S. Private Vaults.

  18                       MR. RODGERS:        Objection, vague and ambiguous

  19       with respect to the use of the word "civil" asset

  20       forfeiture.

  21                       THE WITNESS:        So it's -- it's hard to -- I

  22       wouldn't characterize it like that.                We would

  23       occasionally have meetings where we discussed the

  24       investigation, where we were with the investigation,

  25       what still needed to be done, where we were headed, when


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 219 of 294 Page ID
                                    #:2513


                                                                          Page 218

   1       we thought we were going to get there, and what, you

   2       know, what we were going to do next.

   3                         And so the first time anybody would have

   4       ever discussed anything having to do with asset

   5       forfeiture would have been summer of 2020, during one of

   6       these meetings, but I don't have a specific recollection

   7       about it, or what was said.             But --

   8       BY MR. FROMMER:

   9           Q.    Would you have -- oh, I'm sorry.              I didn't mean

  10       to interrupt you.

  11           A.    But -- but it was discussed.

  12           Q.    Would you have a date book or an Outlook calendar

  13       that would identify any such meeting and who the

  14       attendees were?

  15                         MR. RODGERS:      I'll let her answer that.

  16       Anything else I will instruct the witness not to answer

  17       on attorney-client privilege grounds.                And the law

  18       enforcement investigatory privilege as well.

  19                         THE WITNESS:      I could probably find the

  20       date, but I don't -- I won't know who all was there.

  21       BY MR. FROMMER:

  22           Q.    All right.      I might be asking for that.

  23           A.    Other than who I've already identified.

  24           Q.    Okay.     Do you recall -- let me start with a, just

  25       a -- I want to be -- make sure we're all on the same


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 220 of 294 Page ID
                                    #:2514


                                                                          Page 219

   1       page.     When I say "civil forfeiture," or "civil asset

   2       forfeiture," you understand what I'm talking about; is

   3       that correct?

   4                         MR. RODGERS:      Objection, vague and

   5       ambiguous, lacks foundation, assumes facts not in

   6       evidence, calls for speculation.

   7                         THE WITNESS:      Yes, I think so.

   8       BY MR. FROMMER:

   9           Q.    Okay.     From -- okay.       As the period leading up to

  10       the search in March 2021 occurred -- so I understand you

  11       had your initial conversations about civil forfeiture in

  12       the summer of 2020.          Were there -- excuse me -- any

  13       conversations about the use of civil forfeiture as to

  14       the property that was seized at U.S. Private Vaults

  15       subsequent to the conversations in summer of 2020 during

  16       the lead-up towards the execution of the warrant?

  17                         MR. RODGERS:      Same objections.        Vague and

  18       ambiguous with respect to "civil" asset forfeiture,

  19       assumes facts not in evidence, calls for -- lacks

  20       foundation, invades the criminal investigatory

  21       privilege.        And to the extent you had discussions where

  22       attorneys were present, please do not answer the

  23       question.

  24       BY MR. FROMMER:

  25           Q.    So did you -- were there any situations in which


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                                                                          Page 220

   1       you had conversations about civil forfeiture during the

   2       run-up to the execution of the seizure warrant in

   3       March 2021 that did not involve attorneys?

   4           A.    So there would have been, you know, procedural

   5       issues.     I mean, we anticipated lots of cash, and we

   6       anticipated that some of the cash was going to be

   7       proceeds of a crime.          And so, for example, you know, we

   8       contemplated the idea that cash and drugs might be in

   9       the same box, and so that would be -- that's the easy

  10       case -- right? -- for us.

  11                 I don't -- I mean, we had a lot of meetings and a

  12       lot of discussions about this case.                We did a lot of

  13       planning.      And, you know, I can tell you that myself,

  14       Justin Carlson, Lyndon Versoza, and, to some extent,

  15       Madison MacDonald, discussed this case a lot in the

  16       months leading up to the execution of warrants.

  17           Q.    How many times do you think that you discussed

  18       the issue of civil asset forfeiture with regards to U.S.

  19       Private Vaults with those individuals between the summer

  20       of 2020 to the execution of the warrant?

  21                       MR. RODGERS:        To the extent those

  22       discussions include an attorney, I instruct you not to

  23       answer.     Vague and ambiguous, and lacks foundation, and

  24       assumes facts not in evidence with the reference to

  25       "civil" asset forfeiture proceedings.


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                                    #:2516


                                                                          Page 221

   1                         THE WITNESS:      And -- and, yeah, I can't -- I

   2       can't give you a hard answer on that because it's hard

   3       for me to separate out discussions we had with attorneys

   4       versus just discussing among ourselves.                 Among ourselves

   5       the discussions were very practical.                Like, everything

   6       leading up to the execution of warrants was getting down

   7       to the nuts and bolts of -- of how do we execute this.

   8       So they would not -- we wouldn't have -- we would have

   9       been -- not that many discussions.               We weren't talking

  10       about it.      It wasn't -- it was there, we knew it was

  11       there, we knew it was part of the thing, and we were

  12       planning for it.         The way I described this morning we

  13       planned for things is when I find something that may be

  14       criminal proceeds, I get my asset forfeiture team

  15       involved.

  16       BY MR. FROMMER:

  17           Q.    Okay.     So when information from the claim forms

  18       came in, did you or other FBI agents investigate the --

  19       the claimants in order to determine whether you should

  20       bring civil asset forfeiture proceedings, whether

  21       through administrative forfeiture or judicial

  22       forfeiture?

  23                         MR. RODGERS:      That's a compound question,

  24       vague and ambiguous, assumes facts not in evidence.

  25                         MR. FROMMER:      Let me -- let me rephrase.


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                                    #:2517


                                                                          Page 222

   1       BY MR. FROMMER:

   2           Q.    Did you --

   3           A.    It also depended what was in the box.                So -- so I

   4       think I already kind of answered this.                 It depended what

   5       was in the box.        So if they put a claim in and I

   6       connected them with a box that had legal documents, or

   7       comic books, collectibles, personal jewelry, no.                     I

   8       didn't do any investigation.             I put them in a -- on a

   9       list of people to get their property back.

  10           Q.    Okay.     But if there was, let's say, in the

  11       claimant's -- in the box that's associated with the

  12       claimant, there was, let's say, a large amount of cash,

  13       let's say 50,000 -- $100,000 in cash.

  14           A.    Okay.

  15           Q.    In that situation would you or would you have

  16       other FBI agents take the information from the claim

  17       form and investigate to see whether the claimant --

  18       whether the government should move forward on civil

  19       asset forfeiture proceedings as to that claimant's

  20       property, cash?

  21                         MR. RODGERS:      Objection, vague and ambiguous

  22       with respect to the use of the word "civil" asset

  23       forfeiture proceedings, invades the law enforcement

  24       investigatory privilege, lacks foundation, assumes facts

  25       not in evidence.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 224 of 294 Page ID
                                    #:2518


                                                                          Page 223

   1                       THE WITNESS:        Yes.

   2                       MR. FROMMER:        Okay.    Can -- Susan, can you

   3       read back my question?           I just want to make sure that

   4       the "yes" is in reference to something -- to a clean

   5       question.

   6                 (Whereupon the reporter read the record.)

   7       BY MR. FROMMER:

   8           Q.    And you answered "yes;" correct?

   9                       MR. RODGERS:        Same objections.        I'll add --

  10       same objections.

  11       BY MR. FROMMER:

  12           Q.    So I'm going to just ask it one more time so it's

  13       a little cleaner.

  14                 In situations where there was a large amount of

  15       cash or other valuable items in a box, such as gold

  16       coins, or gold bars, would you personally, or would you

  17       have other FBI agents investigate the box holder so as

  18       to determine whether to bring forfeiture proceedings

  19       as -- against his or her property?

  20                       MR. RODGERS:        Objection, vague and ambiguous

  21       with respect to the use of the word "forfeiture

  22       proceedings," assumes facts not in evidence, lacks

  23       foundation, calls for information protected by the law

  24       enforcement investigatory privilege.

  25                       You can answer.


                                      Exhibit K
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                                    #:2519


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   1                         THE WITNESS:      So cash is -- cash more so

   2       than -- you lumped them together, cash and gold.                     Cash

   3       certainly more so.         My experience in law enforcement is

   4       that cash, a big pile of cash, I don't walk past a big

   5       pile of cash without asking some questions about it.

   6                         So -- so to the extent I found cash, a large

   7       amount of cash in a box, yes, I would do due diligence

   8       on the box holder to see if I could determine the source

   9       of the cash.

  10       BY MR. FROMMER:

  11           Q.    Okay.

  12           A.    That's how I would characterize it.               I wouldn't

  13       characterize it, necessarily, as an investigation.                     I

  14       would do some database searches, open-source, Google,

  15       maybe run criminal history, to basically do some due

  16       diligence to try to determine, if possible, the source

  17       of the cash.

  18           Q.    And that includes querying the NCIC database?

  19           A.    Some --

  20                         MR. RODGERS:      Same objections.

  21                         THE WITNESS:      Sometimes, yes.

  22       BY MR. FROMMER:

  23           Q.    And the FinCEN database as well?

  24                         MR. RODGERS:      Same objections.

  25                         THE WITNESS:      Sometimes, yes.


                                      Exhibit K
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                                    #:2520


                                                                          Page 225

   1       BY MR. FROMMER:

   2           Q.    Who were the non-lawyers who would make -- at the

   3       FBI -- make the ultimate determination as to whether to

   4       proceed with administrative forfeiture proceedings as to

   5       a claimant's property?

   6           A.    Me.

   7           Q.    You -- so you were the decision maker as to

   8       whether to move forward on administrative forfeiture

   9       proceedings with respect to a claimant's property?

  10           A.    So I'm the triage.         So I did the first cut.         So I

  11       did the due diligence, the initial -- the initial look

  12       to decide if this needs further looking.                  So does this

  13       look like it might be criminal proceeds, do we need to

  14       take a deeper look.          Versus this clearly needs to go

  15       back right now.        So I did the original triage, I made

  16       those decisions, and that was -- that was my role.

  17           Q.    Okay.     And who would help you with that?

  18           A.    Different agents on the squad would help me with

  19       the database searches in doing -- doing that type of

  20       thing.     I think the decision was mine.

  21           Q.    Okay.     So you would use information from the

  22       claim form to do that; correct?

  23                         MR. RODGERS:      Objection, overbroad,

  24       compound.

  25                         MR. FROMMER:      Let me -- I'll withdraw the


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                                    #:2521


                                                                          Page 226

   1       question.

   2       BY MR. FROMMER:

   3           Q.    You mentioned agents would help you.                Which

   4       agents specifically would help you in determining

   5       whether to bring forfeiture proceedings?

   6                         MR. RODGERS:      Objection, vague and ambiguous

   7       with respect to the use of the word "forfeiture

   8       proceedings."

   9                         THE WITNESS:      So probably just Madison

  10       MacDonald and myself did the vast majority of this.

  11       Other agents would do the sort of leg work.                   They would,

  12       you know, maybe look at the databases, run the Google

  13       searches, sort of give us what they had.                  And then we

  14       would take a look at it and make -- try to make a

  15       determination.

  16       BY MR. FROMMER:

  17           Q.    Okay.     So let me ask one more question.                 So in

  18       that process, when you're deciding whether to bring

  19       forfeiture proceedings, I understand that you would

  20       query databases and do some Google, Lexis searches.

  21                 Would you or other FBI agents use any information

  22       or documents that were in a claimant's safe deposit box

  23       in determining whether to bring forfeiture proceedings

  24       as to some or all of that claimant's property?

  25                         MR. RODGERS:      Objection, vague and ambiguous


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                                    #:2522


                                                                          Page 227

   1       with respect to the use of the word "forfeiture

   2       proceedings."

   3                         THE WITNESS:      And so also to be clear, I

   4       don't make that decision.            Right?     I look at -- I look

   5       at it and I make a determination as to whether I think

   6       the -- the property is proceeds of a crime.                   That's --

   7       that's what I'm looking at.             I'm looking at the totality

   8       of circumstances and do I -- why do I think -- or do I

   9       think that this cash is or may be proceeds of a crime.

  10       And I present my, you know, my evidence of that.                      This

  11       is why I think these are proceeds of a crime.

  12                         And then I push that forward to both our

  13       forfeiture team and the U.S. Attorney's Office.                      I don't

  14       make an ultimate decision.            I triage the box holders,

  15       but I -- what I'm doing is I'm assessing whether there's

  16       probable cause to believe that the contents of this box

  17       are the proceeds of a crime.

  18       BY MR. FROMMER:

  19           Q.    Okay.     And when you say "our forfeiture team," do

  20       you mean the asset forfeiture specialists within the

  21       FBI's L.A. field office?

  22           A.    Correct.     And I believe there are head -- there's

  23       a headquarters person who may also be involved.                      Again,

  24       that's -- like, I give that to asset forfeiture and

  25       they -- they run their show.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 229 of 294 Page ID
                                    #:2523


                                                                          Page 228

   1           Q.    Okay.     And you said that you don't make the

   2       ultimate determination about whether to initiate

   3       forfeiture proceedings, civil forfeiture proceedings, as

   4       to some or all of the claimant's property; correct?

   5                         MR. RODGERS:      Objection, vague and ambiguous

   6       with respect to the use of the words "civil forfeiture

   7       proceedings," assumes facts not in evidence, and lacks

   8       foundation.

   9                         THE WITNESS:      But, yes, that's correct, I

  10       don't make that determination.

  11       BY MR. FROMMER:

  12           Q.    Okay.     I want to sort of drill down a little bit

  13       here so I can understand who we're talking about.                    When

  14       you said "our forfeiture team," you said there were

  15       people in both -- I think you said there were people

  16       both in the L.A. field office, and I think you said

  17       there was one person, maybe, at headquarters here in

  18       D.C.

  19                 Who specifically are these people?               Can you

  20       identify them for me?

  21           A.    So Jessie Murray is the supervisor of the

  22       forfeiture squad in Los Angeles, and beneath her are

  23       asset forfeiture paralegals.             There's, I think, three to

  24       five of them who have done -- who do different work

  25       under her.        But their role is more administrative.              And


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                                                                          Page 229

   1       then there's a headquarters person whose name I don't

   2       recall.

   3           Q.    All right.      But you believe they're at -- they're

   4       at the D.C. headquarters.

   5           A.    I do.

   6           Q.    Okay.    Jessie Murray is, you said, the supervisor

   7       for forfeiture in the L.A. field office; is that

   8       correct?

   9           A.    Correct.

  10           Q.    Is she an attorney?

  11           A.    I don't know.

  12           Q.    So was she one of the people who would make the

  13       ultimate determination of whether to proceed with

  14       administrative forfeiture proceedings as to some or all

  15       of the claimant's property?

  16           A.    I don't -- I don't know.           And -- and there's

  17       two -- there's two processes here, too.                 There's a

  18       petition and a claim.

  19           Q.    Yeah.

  20           A.    And I just learned this this year, but I know one

  21       of them is -- is administrative, and one of them is

  22       legal and goes through the U.S. Attorney's Office.                   So

  23       one goes through the U.S. Attorney's Office and one does

  24       not.

  25           Q.    Yeah.


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   1                         MR. RODGERS:      I just want to caution the

   2       witness.      Please do not speculate.           If you have an

   3       estimate, please provide it.

   4                         THE WITNESS:      I don't know any more than

   5       that.     I -- so I don't know how to answer your question

   6       about what Jessie Murray's authority is.                  It depends on

   7       what it is.

   8       BY MR. FROMMER:

   9           Q.    Well, you would provide -- it's correct to say

  10       that you would provide sort of your analysis as to

  11       whether property was criminal proceeds; correct?

  12           A.    Right.     Whether I believed there was probable

  13       cause to believe that the property was criminal

  14       proceeds.

  15           Q.    And then who --

  16           A.    Yes.

  17           Q.    I apologize.

  18                 Who would you tell that to?

  19           A.    That went to Jessie Murray and the asset

  20       forfeiture team.

  21           Q.    Okay.     Now, I have a question:          Are you aware

  22       that in, I believe it was late May of 2021, the FBI

  23       published an omnibus forfeiture notice as to some of the

  24       property at U.S. Private Vaults?

  25           A.    Yes, I'm aware of that.


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   1           Q.    Do you know who produced that omnibus notice?

   2           A.    Asset forfeiture team from the FBI.

   3           Q.    From the L.A. field office?

   4           A.    I'm not sure.

   5           Q.    Okay.     So would Jessie Murray be one of the

   6       people who would be involved with creating of that

   7       omnibus forfeiture notice?

   8           A.    I'm not sure.       But she would know.

   9           Q.    But she would -- she would be the right person to

  10       talk to about that?

  11           A.    I think so.

  12           Q.    Okay.     And is it also -- would she also have a

  13       better idea of who the asset forfeiture person at the

  14       headquarters might be?

  15           A.    Yes.

  16           Q.    Okay.     Was -- was Jessie Murray involved in the

  17       planning of the execution of the seizure warrant?

  18           A.    Yes.

  19           Q.    Okay.     What was her -- what was her involvement,

  20       if you could -- to the best of your knowledge?

  21           A.    So we -- again, we understood that there was

  22       likely going to be cash, that the cash was going to need

  23       a deposit slip and a CATS ID number, which forfeiture

  24       generates.        And so her team was going to need to be

  25       involved.        So we contacted her during the planning phase


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                                                                          Page 232

   1       to say this is what we're doing, we need you guys

   2       involved.       Because the earlier you get -- you know, you

   3       want to be ahead of these things, not behind them.

   4           Q.    Okay.    Did Jessie Murray, or anyone on her team,

   5       provide input to you as to the contents of the

   6       supplemental instructions for box inventory?

   7           A.    No.

   8           Q.    Did Jessie Murray have any involvement in the

   9       decision to have drug dogs on site at U.S. Private

  10       Vaults?

  11           A.    No.

  12           Q.    So you said there were a number of different

  13       groups at -- that were involved in executing the seizure

  14       warrant; right?        There was -- there was the DEA, USPIS,

  15       the FBI, obviously.          I believe there was the LAPD, El

  16       Monte PD, Glendale PD.           Am I missing any?

  17           A.    Beverly Hills PD.

  18           Q.    Oh, yeah.      Oh, and Chino, the Chino PD; right?

  19           A.    Correct.

  20           Q.    So let me ask this question, because I just want

  21       to square this away.          If assets from U.S. Private

  22       Vaults, claimants' assets, are forfeited through either

  23       administrative forfeiture or a judicial forfeiture

  24       proceeding, would the FBI get some of those forfeiture

  25       proceeds?


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                                                                          Page 233

   1                         MR. RODGERS:      Objection, lacks foundation,

   2       calls for speculation, irrelevant.

   3                         THE WITNESS:      No, I don't think so.

   4       BY MR. FROMMER:

   5           Q.    What's your familiarity with how asset forfeiture

   6       money is distributed?           And if the answer is "I don't

   7       really know that," that's fine, just say.

   8           A.    Again, I'm just learning on this, so I know some

   9       but I'm not -- I'm not an expert at it.                 I don't do it a

  10       lot.     My understanding is that there's a -- there's a

  11       system by which local law enforcement can receive some

  12       portion of money which has been forfeited.

  13           Q.    Okay.     So is it fair to say that your -- you

  14       understand that there's some mechanism by which local

  15       agencies could receive some percentage of the forfeiture

  16       proceeds, but you're not sure as to the FBI itself?

  17                         MR. RODGERS:      Objection, speculation, lacks

  18       foundation, assumes facts not in evidence, irrelevant.

  19                         You can answer.

  20                         THE WITNESS:      And I don't -- it's not the

  21       FBI.     I think it's -- it's the bigger umbrella.                   I think

  22       it's DoJ.      So there's some -- some mechanism.               It's

  23       called equitable sharing, I know that.                 And it's a --

  24       it's a system -- I know it's there.                Really, the asset

  25       forfeiture guys are the better people to ask about that.


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   1       BY MR. FROMMER:

   2           Q.    Okay.     So -- so you mentioned, like, the local

   3       agencies here, and -- so it's your understanding that

   4       they would be the ones who would be able to receive

   5       forfeiture proceeds through equitable sharing; is that

   6       correct?

   7                         MR. RODGERS:      Objection, mischaracterizes

   8       her testimony, lacks foundation, assumes facts not in

   9       evidence.

  10                         THE WITNESS:      But, yes, that's my

  11       understanding, is that they can receive a portion of --

  12       of forfeited assets.

  13       BY MR. FROMMER:

  14           Q.    Yeah.     Are you aware if the local agency -- same

  15       local agencies that were involved in the execution of

  16       the seizure warrant, if they would be entitled to

  17       receive equitable sharing payments?

  18                         MR. RODGERS:      Absent -- absent a showing of

  19       relevancy, I'm going to instruct her not to answer these

  20       questions.        This goes far afield of the only cause of

  21       action that remains in this case.               The only cause of

  22       action pertains to an inventory search.                 Nothing else.

  23       If you can make a showing of relevancy, fine.

  24       Otherwise, I'm going to instruct her not to answer.                   It

  25       lacks foundation, completely irrelevant to any issues in


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                                    #:2530


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   1       this case, assumes facts not in evidence, calls for

   2       speculation.          If you want to make a showing, please do

   3       so.

   4       BY MR. FROMMER:

   5             Q.    Special Agent Zellhart, I'm sorry to say that

   6       you've been instructed not to answer.                  This may require

   7       us to bring you back at a later point to discuss that in

   8       more detail, after we discuss that.

   9                   Who would be the best person to know about --

  10       would Jessie Murray be the right person to speak to

  11       about the potential distribution of forfeiture proceeds

  12       from -- that -- that were forfeited as -- from the U.S.

  13       Private Vaults seizure?

  14                           MR. RODGERS:      Objection, speculation.          Same

  15       objections as before.

  16                           THE WITNESS:      Jessie Murray and one of the

  17       asset forfeiture paralegals has done it a little bit

  18       more than everybody else, knows -- knows more about the

  19       procedure.

  20       BY MR. FROMMER:

  21             Q.    Do you remember --

  22             A.    We don't do it as much as DEA does, so it's -- I

  23       don't know.          Like, it's -- it's not our best thing.

  24             Q.    Okay.     Do you know what the asset forfeiture

  25       paralegal, do you know who that -- that person's name?


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 237 of 294 Page ID
                                    #:2531


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   1           A.    Yes.     Judy Scott.

   2           Q.    Judy Scott.      Okay.

   3                 And how long -- okay.          That's fine.       Thank you

   4       for that.

   5                         MR. FROMMER:      All right.      Let me -- let me

   6       take a five-minute break.            I -- I think we're almost --

   7       almost done, but give me five minutes and we'll come

   8       back.     Okay?

   9                         THE WITNESS:      Sure.

  10                         THE VIDEOGRAPHER:         We are off the record.

  11       The time is 4:56 p.m.

  12                  (A short break was taken at this time.)

  13                         THE VIDEOGRAPHER:         We are back on the

  14       record.     The time is 5:03 p.m.

  15                         MR. FROMMER:      All right.      Thank you for

  16       answering my questions.            I think we're done for today,

  17       with two caveats.

  18                         The first is that counsel for defendants

  19       instructed you not to answer certain questions regarding

  20       meetings.        We might have to recall you to ask you

  21       questions about that later on.

  22                         The second, which I had mentioned, is that

  23       we just received 3,000 pages of documents yesterday, and

  24       it might be, once we've done a fuller review of those

  25       documents, we might need to bring you back to answer


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                                    #:2532


                                                                         Page 237

   1       some additional questions.

   2                      But with that, we have no more further

   3       questions, and thank you for bearing with me today.

   4                      THE VIDEOGRAPHER:           Are you --

   5                      THE WITNESS:        Thank you.

   6                      THE VIDEOGRAPHER:           Are you --

   7                      MR. RODGERS:        I need to just say -- I just

   8       need to say for the record, and I'm not necessarily

   9       asserting this objection, but I need to do it in order

  10       to avoid waiving it.         Under the Federal Rules of Civil

  11       Procedure, depositions are limited to seven hours.                      To

  12       the extent we go over that period, or to the extent we

  13       already have, I need to preserve my objection.                      I'm not

  14       asserting it at this point, but I need to preserve it.

  15       Otherwise, it's waived.

  16                      THE VIDEOGRAPHER:           Are you ready for me to

  17       conclude?

  18                      MR. FROMMER:        I am.

  19                      THE VIDEOGRAPHER:           This concludes --

  20                      MR. RODGERS:        I -- I -- I'm sorry.             I am as

  21       well.

  22                      THE VIDEOGRAPHER:           This concludes today's

  23       testimony given by Special Agent Lynne Zellhart.                      The

  24       number of media used was eight, and will be retained by

  25       Veritext Legal Solutions.


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 239 of 294 Page ID
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   1                          We are off the record at 5:05 p.m.
   2                                  (Deposition concludes.)
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 240 of 294 Page ID
                                    #:2534


                                                                        Page 239

   1                                         -oOo-

   2

   3                     I, LYNNE K. ZELLHART, hereby declare under

   4       penalty of perjury that I have read the foregoing pages

   5       6 through 238; that any changes made herein were made

   6       and initialed by me; that I have hereunto affixed my

   7       signature.

   8

   9                     Dated:     _________________________

  10

  11

  12                     ________________________________

  13                                LYNNE K. ZELLHART

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                                    #:2536


                                                                         Page 241

   1       STATE OF NEVADA          )
                                    ) ss.
   2       COUNTY OF WASHOE         )
   3
   4                I, SUSAN E. BELINGHERI, a Certified Court
   5       Reporter for the State of Nevada, do hereby certify;
   6                That on Friday, the 6th day of May, 2022, at the
   7       hour of 9:08 a.m. of said day, at the offices of Bonanza
   8       Reporting & Videoconference Center, 1111 Forest Street,
   9       Reno, Nevada, appeared LYNNE K. ZELLHART via
  10       videoconference, who was duly remotely sworn by me, was
  11       thereupon deposed in the matter entitled herein, and
  12       that before the proceeding's completion the reading and
  13       signing of the deposition has not been requested by the
  14       deponent or party;
  15                That the foregoing transcript, consisting of
  16       pages 1 through 241, is a full, true, and correct
  17       transcript of my stenotype notes of said deposition to
  18       the best of my knowledge, skill, and ability.
  19                I further certify that I am not an attorney or
  20       counsel for any of the parties, nor a relative or
  21       employee of any attorney or counsel connected with the
  22       action, nor financially interested in the action.
  23                DATED:     At Reno, Nevada, this 6th day of May,
  24       2022.
                                 <%406,Signature%>
  25                      _____________________________
                          SUSAN E. BELINGHERI, CCR #241


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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 243 of 294 Page ID
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                                                  
                                    
                                                                  
                                       
                                                        
                                       
                                                      
                                       
                                                      
                                       
                                                       
                                       
                                                           
                                        
                                                       
                                        
                                                        WK 
      WK                                   
                                                            
                                           
                                                                   
                                    
                          
                                                               
                           
                                                         
                         WK          
                                                          
                                        
                                                          
                                          
                                                               
                                      
                                                                
                         QG                


                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                        1012
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 244 of 294 Page ID
                                    #:2538

     >DJHQW@                                                                    3DJH

                   DFFHVVLEOH      DFWLYLW\           
                           DFFLGHQWDOO\                 
                                                          DIILGDYLWV 
       
                            DFFRPSOLVKLQJ         DFWXDO      DIILOLDWLRQV 
        
                                                      DIIL[HG 
      V 
                            DFFRXQW           DGG        DILHOG 
       
                            DFFRXQWDQW           DJH 
                           DFFRXQWLQJ       DGGLWLRQ        DJHQFLHV 
                                            
           DFFXUDWH       DGGLWLRQDO         
                          
                                   
                DFFXUDWHO\        DGGUHVV         
                                         
               DFFXVDWLRQ                           
                           DGGUHVVHG          
                         DGGUHVVLQJ         
                      DFFXVDWLRQV      DGMRXUQ             
                         DGPLQ           DJHQF\ 
                  DFKLHYH                  
                         DJHQW 
               D            DFKLHYLQJ                
      DP      DFNQRZOHGJHG          DGPLQLVWUDWLYH          
                                         
                DFTXLUHG                  
                DFTXLVLWLRQ                        
                 DFURQ\P           DGRSWLQJ          
      DEDWH           DFURQ\PV         DGYDQFH           
      DEDWHPHQW       DFW              DGYLFH             
             DFWHG            DGYLVHG             
      DELOLW\         DFWLQJ            DHJLV             
      DEOH        DFWLRQ                
                 DIILGDYLW        
                         
                                
                                  
                                              
      DEVHQW       DFWLRQV                     
      DEVROXWHO\       DFWLYH                  
      DFDGHP\          DFWLYLWLHV                
                                                     

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1013
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 245 of 294 Page ID
                                    #:2539

     >DJHQWDSSHDUV@                                                                3DJH

                         DQGUHZ            
      DJHQWV        DJUHHG                 
                            
              DKHDG              DQVZHU V 
                                 DQVZHUHG 
                                   
                                          
               DLUERUQH                
                DO                          
            DOH[DQGHU       DQJHOHV       DQVZHULQJ 
                                
                                DQVZHUV 
                 DOH[DQGHU V                        
              DOOH\    DQRQ\PLW\        DQWKUD[ 
                                                    DQWL 
                DOORZHG         DQRQ\PRXV           
                 DOORZV                             
            DOWHUQDWLYH    DQVZHU         DQWLFLSDWHG 
                           
              DOWHUQDWLYHV               
                             DQWLFLSDWLRQ
                                       
             DPELJXRXV             DQ\ERG\ 
                               
                            
                            DQ\ERG\ V 
                          DQ\ZD\ 
                                 DSDUWPHQW 
                            DSRORJLHV 
                                             
                DPHULFD           DSRORJL]H 
            DPRXQW           DSSHDUDQFH 
                                          
      DJR                             DSSHDUDQFHV 
                                
                              DSSHDUHG 
      DJUHH                                     
                  DQDO\VLV               DSSHDULQJ 
                                        
             DQDO\VWV                  DSSHDUV 
                                                   

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1014
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 246 of 294 Page ID
                                    #:2540

     >DSSHDUVDWWRUQH\@                                                             3DJH

             DUJXPHQWDWLYH          DVVHW       DVVXPHV 
                                            
      DSSOLFDWLRQ      DUL]RQD                   
            DUOLQJWRQ                   
           DUPRUHG                  
           DUUHVW                    
                          
                                
                                      
      DSSOLFDWLRQV                                    
      DSSOLHG          DUUHVWHG                    
      DSSO\         DUUHVWLQJ                   
                                                    
      DSSO\LQJ      DUUHVWV            DVVXPLQJ 
                                            
      DSSRLQWHG                                DWKOHWH 
      DSSRLQWLQJ       DUULYH                 DWWDFKHG 
                DVDF                  
                      DVNHG               
      DSSRLQWPHQW                            
                                  DWWDFKPHQW 
      DSSUDLVDO                            
      DSSUHFLDWH                             
      DSSURSULDWH                                          DWWDFKPHQWV 
            DVNLQJ          DVVHWV      DWWHPSW 
      DSSURYDO                           
      DSSURYH               DVVLJQHG          DWWHQGHG 
      DSSUR[LPDWHO\                           DWWHQGHHV 
                    DVVLVW       DWWHQWLRQ 
                                
      DSULO                              DWWRUQH\ 
                           DVVLVWDQFH         
                                      
                 DVNV             DVVLVWDQW        
      DUHD      DVSHFW                           
                                  DVVLVWLQJ           
             DVSHFWV            DVVRFLDWHG          
      DUHDV      DVVHUW                              
      DUJXH             DVVHUWLQJ      DVVRFLDWLRQ        
      DUJXPHQW        DVVHVVLQJ        DVVXPH         
                                                             

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1015
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 247 of 294 Page ID
                                    #:2541

     >DWWRUQH\EHVW@                                                               3DJH

               DZDUH      EDG           
                                     
      DWWRUQH\ V                 EDJ        EDVLV 
                               EDWHV 
                           EDWRQ 
                                EHDU 
                               EHDULQJ 
      DWWRUQH\V                          
                     E            EDJJHG           EHJDQ 
                                            
                            E 
                                   EDJJLQJ            
                             
                                       EDOOSDUN         EHJLQQLQJ 
                             
      DWWUDFWV                                              
                             
      DXGLEOH                               EDQGV            
                            EDFN 
                                             EDQH             EHJLQQLQJV 
                             
      DXGLEO\                                 EDQN        EHJLQV 
                             
      DXGLR                                              
                             
      DXVD                                         EHKDOI 
                             
                                      EDQNHU          EHLQJV 
                             
                                     EDU     EHOLHI 
                             
                                                     EHOLHYH 
                             
      DXVDV                                         
                             
      DXWKRU                                        
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                                                
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      DXWKRULWLHV                           EDUV              
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      DXWKRULW\                              EDUWKV         
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                                                         
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      DXWKRUL]H                             EDVH               
                             
                                     EDVHG       EHOLHYHG 
                             
                                                     EHOLQJKHUL 
                             
      DXWKRUL]HG                                    
                             
                                           EHORQJV 
                             
      DXWKRUL]HV                                      EHQHDWK 
                             
      DXWRPDWHG                                               EHQLPRII 
                             
      DYDLODEOH                               EDVLF       EHVW 
                             
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                            EDFNJURXQG 
                                            EDVLFDOO\           
                            EDFNORJJHG
      DYRLG                                      
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                                                       
                            EDFNSDFN 
                                                           

                                       Exhibit K
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1016
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 248 of 294 Page ID
                                    #:2542

     >EHVWEURZQ@                                                                   3DJH

              EOLQG                     ER\HWWH 
      EHWWHU        EORFN             EUHDFK 
                               
                                         EUHDN 
                EORFNV                 
      EHYHUO\           EORRG\                    
            EORZ                          
                ERDW                    
                EROG                     
      EH\RQG            EROWV                
      ELJ                                 EUHDNGRZQ
             ERQDQ]D              
                 ERRN              EUHDNLQJ 
                              EUHQW 
                              EULHI 
                             EULHIHG 
      ELJJHU           ERRNHU                        
      ELJJHVW           ERRNV               EULHILQJ 
      ELUWK                     
                            EULHIO\ 
                                          
      ELW              ER[HG               
                    ER[HV              
                             EULQJ 
                              
              ERUGHU                     
                ERUQ                     
                ERVV                         
             ERWWRP                       
                                     
                 ER[             EULQJLQJ 
                                 
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                                  EURDG 
                                       EURWKHUV 
      ELWFRLQ                       EURXJKW 
                                        
      EODFN                         
      EODQG                            EURZQ 
      EODQN                           
                                                 

                                        Exhibit K
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1017
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 249 of 294 Page ID
                                    #:2543

     >EURZQFDWV@                                                                    3DJH

                    FDPHUD              
                                     
                                   
            EXVLQHVVHV                        
                           FDPHUDV         FDVHV 
      EURZVHU                                   
      EXFNHW            EXVLQHVVPDQ                       
      EXFNHWV                           FDPSEHOO            
      EXFNV             EX\                                 
      EXLOGLQJ                    F           FDSDEOH             
      EXON                                   FDSDFLW\       FDVK 
                             F 
      EXQFK                              FDSWXUH             
                             FDELQHW 
                                             
                             FDGHWV 
                                                         
                               
      EXQGOHG                              FDSWXULQJ         
                             FDOHQGDU 
      EXUHDX                              FDU       
                             FDOLIRUQLD 
                                                                 
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      EXUHDXFUDWLF                                 FDUG               
                               
                                              FDUGV             
                               
      EXUQW                                    FDUH         
                             FDOO 
      EXVLQHVV                                           
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                             FDOOHG 
                                   FDUOVRQ           
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                             FDOOV 
                                  FDVH            
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                               
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                                            FDWHJRULHV 
                               
                                       FDWHJRUL]H 
                               
                                                 FDWHJRU\ 
                               
                                               FDWV 
                               
                                                 
                               

                                        Exhibit K
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                      aaa
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 250 of 294 Page ID
                                    #:2544

     >FDWVFROODUG@                                                                  3DJH

               FKDQJHV                      FOHDUO\ 
                               FODLP              
               FKDQJLQJ                 
              FKDUDFWHUL]H                FOHYHODQG 
                                    
                              FOLHQW 
                         FKDUJH                       
      FDXVH                             
                                            
                      FKDUJHV                     
      FDXWLRQ             FKHFN      FODLPDQW        FOLHQWV 
                                                       
      FDYHDWV            FKHFNLQJ               FORFN 
      FFU           FKHFNV           FODLPDQW V        
      FHDVLQJ            FKHPLFDO                FORVH 
      FHOO                                   
      FHQWHU          FKHPLFDOV                       FORVHU 
      FHQWUDO       FKLOG            FODLPDQWV         
                  FKLPH                             FORVLQJ 
      FHUWDLQ             FKLQR          FODLPLQJ        FORWKHV 
                                 FODLPV           FRDFKHG 
                   FKRRVH                       FRGH 
                                         FODULI\        
      FHUWDLQO\           FLUFXPVWDQFHV         FODVV       
                                            
                               FODVVLILFDWLRQ        FRGHG 
      FHUWLILFDWH                                  FRGHV 
                                 FODVVLILFDWLRQV         
                    FLW\                          FRIIHH 
      FHUWLILHG                          FODVVLI\LQJ     FRLQ 
      FHUWLI\          FLYLO         FODVVURRP          
      FKDLQ                                  FRLQV 
      FKDLU                         FOHDQ       
      FKDLUV                                     
      FKDOOHQJH                  FOHDQHU            
      FKDQFH                                      FROODU 
                               FOHDQO\           
      FKDQJH                   FOHDU         
                                         
      FKDQJHG                              FROODUG 
                                 

                                          Exhibit K
                                          9HULWH[W/HJDO6ROXWLRQV
                        aaa
                                             1019
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 251 of 294 Page ID
                                    #:2545

     >FROOHDJXHVFRQVLVWHQW@                                                       3DJH

      FROOHDJXHV       FRPPLWWHG               
      FROOHFWLEOHV                              FRQIHU 
      FROOHFWLRQ        FRPPRQ          FRQFHUQ           FRQIHUHQFHV 
      FROOHJH                         
      FRPELQDWLRQ                                        
                        FRPPXQLFDWH                          FRQIHUULQJ 
      FRPELQH                           FRQFHUQLQJ        FRQILGHQW 
                        FRPPXQLFDWHG                
      FRPH                          FRQILGHQWLDO 
                                                FRQILUP 
            FRPPXQLFDWLRQ        FRQFHUQV          
                     FRQFHUW          FRQIURQWHG 
                      FRQFLHUJH         FRQIXVHG 
               FRPPXQLFDWLRQV              
                                 FRQIXVLQJ 
                                FRQMXQFWLRQ 
                FRPSDQ\        FRQFOXGH          
                     FRQFOXGHG       FRQQHFWHG 
                FRPSOHWH                  
                                   FRQQHFWLQJ 
                         FRQFOXGHV       FRQQHFWLRQ 
                                    
                 FRPSOHWHG       FRQFOXVLRQ       FRQVHQVXV 
                                               
      FRPIRUWDEOH       FRPSOHWHO\            FRQVHUYDWRU
      FRPLF                              
            FRPSOHWLRQ                
             FRPSOLFDWHG                  
                             
                     FRQGLWLRQ         
                FRPSOLFDWLRQV                      FRQVLGHU 
                              FRQGLWLRQV         
           FRPSRXQG        FRQGXFW          FRQVLGHUDEOH
                            
                                                 FRQVLGHUHG 
      FRPLQJ       FRPSUHKHQVLYH                   
                           FRQGXFWHG           
      FRPPHQW           FRPSXWHU               FRQVLVWHQW 
      FRPPLW                               
      FRPPLWPHQW             FRPSXWHUV      FRQGXFWLQJ          
                                         

                                       Exhibit K
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1020
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 252 of 294 Page ID
                                    #:2546

     >FRQVLVWLQJFRXQVHO@                                                            3DJH

      FRQVLVWLQJ                  FRS\          
      FRQVWLWXWLRQ       FRQWLQXHG                  
      FRQVWLWXWLRQDO                                
                          FRQWLQXHV                
      FRQVXOW          FRQWLQXLQJ                          
                           FRUH               
      FRQVXOWHG                                 
                         FRUSRUDWLRQ         
      FRQWDFW                                         
              FRQWUDEDQG                
               FRQWUDFW                             
                                         FRUUHFW        
      FRQWDFWHG         FRQWUDULO\                  
      FRQWDFWV          FRQWULEXWH               
      FRQWDLQ           FRQWULEXWLRQ                 
      FRQWDLQHG                                      
      FRQWDLQHU           FRQWURO                    
      FRQWDLQV                         
                                
                                  
      FRQWHPSODWHG                                        
                         FRQYHQLHQW                  
      FRQWHQW            FRQYHUVDWLRQ                
                                
                                     
                                                
      FRQWHQWV        FRQYHUVDWLRQV                      
                                 
                                     
                                 
                                           
                  FRQYLFWLRQV             
             FRRSHUDWH                  
                   FRRSHUDWLRQ                    FRUUHFWLRQV 
                                      FRUUHFWO\ 
                                            FRUURERUDWH 
                  FRRSHUDWLYH                 FRUUXSWLRQ 
      FRQWH[W       FRRUGLQDWH               FRVWFR 
      FRQWLQXDQFHV        FRSLHV             FRXQVHO 
      FRQWLQXH                            
                                           

                                       Exhibit K
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                           1021
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 253 of 294 Page ID
                                    #:2547

     >FRXQVHOGHD@                                                                  3DJH

                     FUDIWLQJ             FXWWHU 
      FRXQVHORU         FUDPSHG                  FY 
      FRXQVHORU V                                        G
      FRXQW       FUDWHV            
                                                                          G 
                 FUHDWH        
                                                                          GF 
                          
                                                                          GDPDJH 
                          
                                                                            
      FRXQWHULQWHOOLJH                       
                                                                          GDPDJHG 
                          FUHDWHG          FULPLQDOLW\ 
                                                                          GDQJHURXV 
      FRXQWHUV                     FULPLQDOV 
                                                                            
      FRXQWHUVLJQ                    
                                                                          GDQJHUV 
      FRXQWHUVLJQDWXUHV                  
                                                                          GDWDEDVH 
                             
                                                                            
      FRXQWHUWHUURULVP        FUHDWHV            
                                                                            
                          FUHDWLQJ          
                                                                          GDWDEDVHV 
      FRXQWLQJ                      FURZGHG 
                                                                            
              FUHDWLRQ         FUX] 
                                                                            
                        FUHGLW           FU\SWR 
                                                                            
      FRXQWU\           FULPH     FU\SWRFXUUHQF\
                                                                          GDWH 
      FRXQW\                      
                                                                            
                     FWUV 
                                                                          GDWHG 
                            FXELF 
                                                                            
      FRXSOH                        FXOPLQDWHG 
                                                                          GDYLV 
                            FXOWXUH 
                                                                          GD\ 
                                FXUUHQF\ 
                                                                            
      FRXUVH        FULPHV        
                                                                            
                          
                                                                            
                                
                                                                            
      FRXUW       FULPLQDO     FXUUHQW 
                                                                          GD\V 
                     FXUUHQWO\ 
                                                                            
                      
                                                                          GHD 
                   FXVWRG\ 
                                                                            
      FRXUWV                    
                                                                            
      FRYHU                        
                                                                            
      FRYHUHG                
                                                                            
      FRYLG                       FXVWRPHUV 
                                                                            
      FUDFN                         
                                                                            
      FUDFNLQJ                   
                                                                            
      FUDIW                          
                                                                            
      FUDIWHG                      FXW 
                                                                            
                                
                                                                            

                                         Exhibit K
                                         9HULWH[W/HJDO6ROXWLRQV
                       aaa
                                            1022
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 254 of 294 Page ID
                                    #:2548

     >GHDGLVDJUHH@                                                                3DJH

               GHSDUW           GHVFULSWLRQ        
               GHSDUWPHQW                    
      GHDGO\                   GHVFULSWLYH         
      GHDO                     GHVLJQHHV         
      GHDOHU          GHSDUWPHQWV                              
                                  GHVSRQGHQW       GLIIHUHQWO\ 
      GHDOLQJ                    GHWDLO             
                       GHSHQG            GHWDLOV       GLIIHUV 
      GHDOW            GHSHQGHG                GLIILFXOW 
      GHDU                      GHWHUPLQDWLRQ           
      GHFLGH       GHSHQGHQW                      
               GHSHQGLQJ                   GLIILFXOW\ 
      GHFLGHG         GHSHQGV                
                                  GHWHUPLQH         GLJLWDO 
      GHFLGLQJ        GHSRQHQW                     
               GHSRVHG                  
      GHFLVLRQ                                     
           GHSRVLW                   
                          GHWHUPLQLQJ        
                                      
                              GHWURLW           GLOLJHQFH 
      GHFLVLRQV                  GHYLFH              
      GHFODUH                  GHYLFHV         GLRJ 
      GHFODUHG                               
      GHGLFDWHG                   GHYRWH             
      GHHS                              GLDPRQG             
      GHHSHU          GHSRVLWLRQ         GLFWLRQDU\          
      GHIHQGDQWV             GLHJR               
                       GLIIHUHQFH         
                                               
                                    GLIIHUHQW        GLUHFW 
      GHIHQGLQJ        GHSRVLWLRQV                
      GHIHQVH                                     GLUHFWHG 
                      GHSXWLHV                  
      GHIHQVLYH        GHVFULEH                 GLUHFWLRQ 
      GHILQLWHO\                      GLUHFWO\ 
      GHILQLWLRQ                                     
      GHJUHH         GHVFULEHG              GLUHFWRU 
                                    GLUW\ 
      GHQ\             GHVFULELQJ              GLVDJUHH 
                                                     

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1023
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 255 of 294 Page ID
                                    #:2549

     >GLVDSSHDUHGGUXJV@                                                          3DJH

      GLVDSSHDUHG        GLVSXWHV                   GUDIWHG 
      GLVDSSHDULQJ           GLVUXSW                 
                   GLVVHPLQDWHG          GRJ         
      GLVFORVXUH                       GRJV        
      GLVFRYHU\         GLVWLQFW                   GUDIWLQJ 
                         GLVWLQJXLVK              
      GLVFV            GLVWULEXWHG                  
      GLVFXVV           GLVWULEXWLRQ               GUDJ 
                                                 GUDZHU 
            GLVWULFW      GRLQJ         
                                          GUDZQ 
      GLVFXVVHG        GLYLGH                 GULOO 
             GLYLVLRQ            GULYH 
                                          
              GLYRUFH                  
                GRFXPHQW                  GULYH V 
                                 GULYHU V 
                                     
      GLVFXVVHV                         
      GLVFXVVLQJ                       GULYHV 
                                 
                             GUXJ 
                                            
      GLVFXVVLRQ                              
                                  
                                 
                              GRM          
      GLVFXVVLRQV                 GROODUV           
                  GRPHVWLF           
                                            
                         GRRU              
                       GRRUV             
                                       
                GRFXPHQWDU\           GRXEOH              
                                         
                    GRFXPHQWV         GRZQORDGHG         
      GLVKRQHVW               GR]HQV        
      GLVPDQWOH                                 GUXJV 
                         GUDIW       
      GLVSXWH                     
                                                    

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          1024
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 256 of 294 Page ID
                                    #:2550

     >GUXJVHYLGHQFH@                                                            3DJH

                             HQJDJHG          HYHQW 
      GUXQN                   HQJLQH            
      GXH                                   HYHQWXDOO\ 
                                     HQJOLVK           HYHU\ERG\ 
      GXHV              HOHPHQWV         HQVXUH             
      GXO\        HOVH V             
      G\H                                           
                H           HPDLO         HQWHU           HYHU\ERG\ V 
                                                  HYLGHQFH 
      H 
                                            HQWLUH         
        
                            HPDLOHG                  
        
                                                             
        
                            HPDLOV       HQWLWOHG          
      HDUOLHU 
                                            
        
                            HPSKDVLV        HQWLW\             
        
                            HPSOR\       HQYHORSH        
      HDUO\ 
                            HPSOR\HG                  
        
                            HPSOR\HH               
        
                            HPSOR\HHV              
      HDVLHU 
                                                       
      HDV\ 
                            HPSOR\PHQW              
        
                            HPSW\          HQY\              
        
                            HQDEOLQJ       HTXDOO\           
      HGLWLRQ 
                            HQFRPSDVVHG          HTXLSPHQW         
      HGXFDWLRQ 
                                            HTXLWDEOH         
        
                            HQFRXQWHU                       
      HIIHFW 
                                     HTXLYDOHQW        
      HIIHFWLYH 
                            HQFRXQWHUHG          HUUDWD             
        
                                           HVSHFLDOO\          
      HIIHFWLYHO\ 
                            HQF\FORSHGLD                      
      HIIHFWXDWHG 
                                       HVT            
      HIILFLHQWO\ 
                            HQGHG          HVVHQWLDOO\        
      HLJKW 
                            HQGV                 
        
                                                             
      HLPLOOHU 
                            HQIRUFHPHQW      HVWDEOLVK          
        
                                 HVWDEOLVKLQJ       
      HLWKHU 
                                                
        
                                 HVWLPDWH           
        
                                    HW               
        
                                     HYDOXDWLRQ         
      HO 
        

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1025
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 257 of 294 Page ID
                                    #:2551

     >HYLGHQWLDU\IDFLOLWLHV@                                                        3DJH

      HYLGHQWLDU\                            
                                   
      H[                                     
      H[DFW                              
      H[DFWO\            H[HFXWHG                H[SODQDWLRQ
                                
                                  H[SORGHV 
      H[DPLQDWLRQ          H[HFXWLQJ                   H[SORUH 
                                                   
      H[DPLQHG                        H[KLELWV     H[SORUHG 
      H[DPSOH                   H[LVW      H[WHQG 
                      H[LVWHG           
                            H[LVWHQFH        H[WHQW 
                  H[HFXWLRQ          H[LVWV          
                                         
                              H[SHFW        
                                     
                                    
                                              
                                    H[SHFWHG          
      H[DPSOHV                                   
                                                 
      H[FHHGHG                H[SHFWLQJ          
      H[FHO                       H[WUD 
               H[HFXWLYHV                            
      H[FHSWLRQ          H[HFXWRU         H[SHQVLYH           
      H[FHUSW              H[SHULHQFH       H[WUHPHO\ 
                            H\H 
                                       H\HEDOO 
      H[FKDQJH                                                I
                   H[HPSODUV            
                                                                           IDEULFDWLQJ 
                                          H[SHULHQFHG 
                                                                           IDFLOLWDWLQJ 
      H[FOXGH            H[KDXVWLYH          
                                                                             
      H[FOXVLYH                            H[SHUW 
                                                                           IDFLOLWDWLRQ 
      H[FXVH            H[KLELW         
                                                                             
      H[HFXWH                H[SHUWLVH 
                                                                           IDFLOLWDWRU 
                       H[SHUWV 
                                                                             
                       H[SLUHG 
                                                                             
                       
                                                                             
                       H[SODLQ 
                                                                           IDFLOLWLHV 
                      
                                                                             

                                        Exhibit K
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1026
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 258 of 294 Page ID
                                    #:2552

     >IDFLOLWLHVILOHG@                                                              3DJH

                                        
      IDFLOLW\          IDLWK                        
                        IDPLOLDU                   
      IDFW                             
                                    IHDVLEOH 
                                               
      IDFWRU             IDPLOLDULW\                    
      IDFWRUV                         IHGHUDO 
      IDFWV        IDPLO\                    
                                        
                 IDPRXV                     
                   IDU                      
                                        
                 IDVW                 IHHO 
                                   IHHOV 
                  IDVWHU              IHHV 
                  IDW                        IHOORZ 
               IDWKHU                   IHOW 
                 IDYRU                       IHQWDQ\O 
                  IDYRULWH                      
                  IEL             IHZHU 
                                          ILHOG 
      IDLOHG                           
      IDLOV                                
      IDLU                             
                                   
                                  
                                 
                                     
                                ILIWK 
                            ILIW\ 
                                     ILJKWLQJ 
                      IEL V        ILJXUH 
                                 
                                        
                                             
                   IG             
                               ILJXUHG 
                              ILOH 
                              ILOHG 
                                   

                                         Exhibit K
                                         9HULWH[W/HJDO6ROXWLRQV
                       aaa
                                            1027
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 259 of 294 Page ID
                                    #:2553

     >ILOHVIRXQG@                                                                     3DJH

      ILOHV                            
                                       
                                                
      ILOLQJV                               
      ILOO                         
                                      
                                                       
      ILOOHG                   IRUFHV         
                                    
                                                         
      ILOOLQJ       ILW                IRUHJRLQJ           
                         ILWQHVV                               
      ILQDQFLDO          ILWWLQJ            IRUHLJQ            
                        ILYH                        
      ILQDQFLDOO\                     IRUHVW        IRUJHW 
                                   IRUIHLWHG        IRUJRW 
      ILQFHQ                                    IRUP 
                        IOLHU                   
      ILQG          IOLS        IRUIHLWXUH       
                                        
                 IORRU                       
                 IORZ                         
                 IORZHU                
      ILQGLQJ             IOXFWXDWHG                
      ILQH          IO\HUXVSYGUDIWG             
                                      IRUPHU 
              IRFXV                    IRUPV 
                                         
                  IRFXVHG                     
      ILQJHUSULQW       IROGHU              IRUWK 
      ILQJHUSULQWV            IRONV                       IRUZDUG 
                     IROORZ                    
      ILQLVK                                        
                 IROORZHG                    
      ILUHDUP            IROORZV                         IRUZDUGHG 
      ILUHDUPV           IRRWQRWH                IRXQG 
                                                         
      ILUP       IRUFH                     
                                                 
      ILUVW                         
                        

                                         Exhibit K
                                         9HULWH[W/HJDO6ROXWLRQV
                       aaa
                                            1028
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 260 of 294 Page ID
                                    #:2554

     >IRXQGDWLRQJHWWLQJ@                                                         3DJH

      IRXQGDWLRQ                          
                           IXWXUH 
                       IX]]\ 
                                    J
                     
                                                                         JDLQ 
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                                                                         JDPH 
                        
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                                                                         JDUEDJH 
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      IUDXG                 
                                                                         JHQHUDWH 
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                                                                         JHQHUDWHG 
      IUHTXHQWO\                IXOOHU 
                                                                           
                             IXOO\ 
                                                                           
      IUHVK                       IXPEOLQJ 
                                                                         JHQHUDWHV 
      IULGD\              IXQ 
                                                                         JHQHUDWLQJ 
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                                                                         JHRUJH 
                                 IXQGLQJ 
                                                                           
      IULHGPDQ                 IXQGV 
                                                                         JHVWXUHV 
      IURPPHU                  IXUWKHU 
                                                                         JHWWLQJ 
                        
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                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1029
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 261 of 294 Page ID
                                    #:2555

     >JHWWLQJJXHVV@                                                               3DJH

                                JRWKLHU 
                                JRWWHQ 
                                        
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      JLYH                               
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                                 JUDGXDWH 
                                   JUDGXDWHG 
                            JUDQG 
                               JUDQGHU 
                                 JUDQW 
                              JUDYH 
                                             JUDYH\DUG 
      JLYHQ                        JUHDW 
             JRDO                   
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                 JRDOV                 
      JLYLQJ                         JURXQGV 
                                                 
      JOHEH               JRHV                
      JOHQGDOH         JROG         JURXS 
                                         
      JR                                      
             JRLQJ                   
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                                  JURXSV 
                  JRRG             
                                    
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                           JXDUG 
                            JXHVV 
                              
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                     JRRJOH            
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                                       Exhibit K
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                     aaa
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 262 of 294 Page ID
                                    #:2556

     >JXHVVKRQHVWO\@                                                             3DJH

               KDQGOHV          KHDOWK     KHUHXQWR 
      JXHVVLQJ          KDQGOLQJ                          KHVLWDWH 
                                 KHDU            KH\ 
      JXLGDQFH         KDQGV      KHDUG          
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      JXLGH       KDQJ                        
                       KDSSHQ                    KLGWD 
      JXLGHOLQHV             KHDULQJ          KLJK 
                                  KHDW         
      JXLGHV                     KHDWRQ            
      JXLGLQJ                                      KLJKHU 
      JXQV       KDSSHQHG          KHDY\             KLJKOLJKWHG
      JX\                  KHOG         
                                           KLOOV 
      JX\V                    KHOOR               
                 KDSSHQLQJ       KHOS           
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               K                             KLVWRU\ 
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      K 
                            KDUG             KLW 
      KDELW 
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      KDOI 
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                                                 
      KDOW 
                                           KROG 
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                                                     
      KDQG 
                            KDWH              KHOSHG             
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                            KDZNLQV                    
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                                                      
      KDQGERRN 
                            KD]DUGRXV                   KROGHU 
      KDQGFXII 
                                                     
      KDQGFXIIV 
                            KHDG        KHOSIXO            
        
                                                         
      KDQGHG 
                            KHDGHG                   KROGHU V 
        
                                            KHOSLQJ          KROGHUV 
      KDQGOH 
                            KHDGHU                      
        
                            KHDGTXDUWHUV                      
      KDQGOHG 
                                                  
        
                                                     KROGLQJ 
      KDQGOHUV 
                                    KHOSV            KRQHVWO\ 
        
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                                       Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 263 of 294 Page ID
                                    #:2557

     >KRSHLQVWLWXWH@                                                               3DJH

      KRSH                        LQFOXGHG           
                       LGHQWLILHG        LQFOXGHV        
      KRSHIXOO\                                 
      KRSLQJ                 LQFOXGLQJ            
                         LGHQWLILHV                    
      KRXU          LGHQWLI\          LQFRPSOHWH          
                                  
                                     
      KRXUV                              LQLWLDO 
                       LQFUHDVH            
                               LQFUHDVHG        LQLWLDOHG 
      KRXVH                       LQFUHGLEO\         LQLWLDWH 
               LGHQWLI\LQJ       LQGHSHQGHQWO\            
                                      LQLWLDWHG 
      KXJH                        LQGLFDWH          LQSXW 
      KXK         LGHQWLW\                             
                          LQGLFDWLYH        LQVDQH 
      KXPDQ             LJQRUH                          LQVLGH 
      KXPDQO\           LLL               LQGLFLD             
      KXQGUHG            LPPHGLDWHO\                 
                        LPSOLFDWHG                
      KXQGUHGV          LPSO\                       LQVSHFW 
             LPSRUWDQW       LQGLFWHG        
      KXVEDQG                 LQGLFWPHQW         LQVSHFWLRQ 
      K\SR                              
      K\SRWKHWLFDO                              LQVSHFWRU 
                          LQGLYLGXDO         
                                       
                 LPSUDFWLFDOLW\         LQGLYLGXDOV      LQVWDQFH 
                                                             
                 L           LPSUHVVLRQ        LQIRUP               
                             LPSURSHU                              
      LH 
                                               LQIRUPDO           
      LGHD 
                             LQDFWLYH                 
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                             LQDGYHUWHQWO\      LQIRUPDQWV           
         
                             LQDSSURSULDWH          LQIRUPDWLRQ       LQVWDQFHV 
         
                                                     
      LGHDO 
                                               
         
                             LQFOXGH                       LQVWLWXWH 
      LGHQWLFDO 
                                                    
      LGHQWLILFDWLRQ
                                         
         

                                       Exhibit K
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1032
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 264 of 294 Page ID
                                    #:2558

     >LQVWLWXWLRQLQYROYHG@                                                           3DJH

      LQVWLWXWLRQ                                  
                           LQWHUHVWLQJ                
      LQVWUXFW                       
                   LQWHUHVWV             LQYHVWLJDWHG 
                    LQWHUIHUH               LQYHVWLJDWLQJ
                                           
                 LQWHUQDO                  
                    LQWHUQDOO\               
                LQWHUQHW                 LQYHVWLJDWLRQ 
      LQVWUXFWHG            LQWHUUXSW                  
                                          
                    LQWHUYLHZLQJ                  
      LQVWUXFWLQJ          LQWLPDWH                      
                    LQWURGXFH                
      LQVWUXFWLRQ                               
                                     
                                         
                   LQWURGXFHG               
                                                    
      LQVWUXFWLRQV         LQWUXGH                  
                     LQWUXVLYH                
                                   
                                    LQYHVWLJDWLRQV
                                     
                                                 
                    LQYDGHV        LQYHQWRU\LQJ             
                                           
                     LQYDVLYH                  LQYHVWLJDWLYH
      LQVWUXFWRUV          LQYHQWRULHG                   
      LQWHJULW\                              
      LQWHOOLJHQFH                              
      LQWHQVH                                
      LQWHQVLW\                         LQYHVWLJDWRU
                     LQYHQWRULHV                  
      LQWHUDFWLRQ                         LQYHVWLJDWRU\
      LQWHUGLFWLRQ                          
                            LQYHQWRU\                     
      LQWHUHVW                                      
                                 LQYHVWLJDWH       LQYROYH 
      LQWHUHVWHG                           LQYROYHG 
                                     

                                       Exhibit K
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                            1033
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 265 of 294 Page ID
                                    #:2559

     >LQYROYHGNQRZ@                                                               3DJH

                           MXG\           NLQGV 
             LWHPV         MXPS               
                                  
                 MXPSLQJ         NLQJGRP 
                      MXULVGLFWLRQ     NQHZ 
                              
                      MXU\          
                     MXVWLFH         
                                          NQLIH 
                       MXVWLQ          NQRZ 
                       M                      
                                                  N             
                             MDP 
                                                           
                                             N 
                                                           
                             MDPHV          
                                                          
                             MHQL                 
                                                               
                             MHQQLIHU        
                                                            
                             MHVVLH       
                                                            
                                       NDWKU\Q 
                                                            
                                  NHHS 
                                                                     
                                    
      LQYROYHPHQW                                                     
                             MHZHOU\          NHHSLQJ 
                                                               
                                   NH\ 
      LQYROYLQJ                                                      
                                         
      LUUDWLRQDO                                                     
                             MRE          
      LUUHOHYDQW                                                      
                                      
                                                              
                                     NH\V 
      LVK                                                            
                             MREV          
      LVVXH                                                       
                                             NLOO 
                                                            
                             MRKQ                
                                                               
                             MRKQVRQ           NLQG 
                                                                     
                             MRLQ         
      LVVXHG                                                         
                             MRLQHG        
                                                                     
                                         
      LVVXHV                                                       
                             MRLQLQJ             
                                                          
                             MRLQW          
                                                                
                             MRLQWO\           
                                                                     
                             MRVHSK               
      LWHP                                                       
                             MXGJH          
                                                          
                                     
                                                          
                             MXGLFLDO        NLQGO\ 
                                                                
                               

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          1034
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 266 of 294 Page ID
                                    #:2560

     >NQRZOHDUQ@                                                                  3DJH

                   ODFN               
                    ODFNV         
                              
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                              
              NQRZLQJ                      
                                      
            NQRZOHGJH                          
                             ODPHQW              
                       ODQJXDJH          
              NQRZQ                    
                                          
            NQRZV                      ODZIXO 
                            ODSG      ODZV 
            NRRQV                          
              NULVWL             ODUJH         ODZVXLW 
                NU\VWL                     ODZ\HU 
                                    
                       O                            ODZ\HUV 
                                        ODWH     OD\ 
                             O 
                                                   OD\HU 
                             OD 
                                        ODWHQW       OD\HUV 
                                
                                     ODXGDEOH         OHDG 
                                
                                    ODXQGHU           
                                
                                        ODXQGHUHU       OHDGHU 
                                
                                                     
                                
                                    ODXQGHULQJ      OHDGHUV 
                                
                                          OHDGLQJ 
                             ODEHO 
                                            
                                
                                               OHDUQ 
                             ODEHOHG 
                                                    
                             ODEHOV 
                                               
                             ODERU 
                                             

                                        Exhibit K
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1035
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 267 of 294 Page ID
                                    #:2561

     >OHDUQHGORRNLQJ@                                                            3DJH

      OHDUQHG        OLDLVRQ        OLWWOH       ORFNHU 
                                       ORJ 
      OHDUQLQJ        OLF                           
                        OLFHQVH               
      OHDYH                   ORJLVWLFDO 
                                            ORJLVWLFV 
      OHDYLQJ           OLFHQVHG               ORQJ 
      OHG               OLFHQVHV                    
      OHIW      OLH                    
      OHJ              OLHX                         
      OHJDO        OLIH                   
              OLJKWLQJ                   ORQJHU 
             OLNHOLKRRG                    
                              
             OLPLW             
             OLPLWDWLRQ                 ORRN 
                OLPLWDWLRQV                        
                                  OLYHG               
                 OLPLWHG    OLYLQJ               
                         ORDGV               
                          ORFDO       
                OLPLWV                   
      OHJLWLPDWH       OLQH               
      OHVVHU                           
      OHWWHU                      
                               
           OLQHV                     
                     ORFDOV      ORRNHG 
                OLRQV                               
              OLVW      ORFDWH              
                                                
      OHWWHUV                  ORFDWHG             
                                    ORRNLQJ 
      OHYHO                       ORFDWLQJ        
              OLVWHG    ORFDWLRQ            
      OHYHOV       OLVWV                
                       OLWHUDOO\                       
      OH[LV                           ORFDWLRQV            
      OH[LVQH[LV        OLWLJDWLRQ                 
      OLDELOLW\                         ORFN         
                                                                      

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1036
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 268 of 294 Page ID
                                    #:2562

     >ORRNLQJPHHWLQJV@                                                         3DJH

              ORYH        PDQDJHU         
      ORRNV      ORYHUV          PDQGDWRU\        
                      ORZ             PDQQHU          PHDQ 
      ORRPLV           OXFN                    
               OXPSHG                            
           OXQFK      PDQSRZHU         
                      PDQXDO      
                                         
                O\QGRQ          PDQXDOV           
      ORV               PDU           
                O\QQH      PDUFK        
                                 
                                         
      ORVH                     PDULMXDQD       
      ORVV                P                         
                                 PDUN            
                            PDFGRQDOG 
                                                 
                              
                                               
                              
      ORVW                                           
                              
                                            PDUNHG        
                              
      ORW                                   
                            PDFKLQHV 
                                            
                            PDGLVRQ 
                                            
                              
                                 PDUNHW           
                              
                                  PDUNHWHG        
                              
                                   PDWFK            
                              
                                                      PHDQV 
                            PDJD]LQH 
                                   PDWHULDO          
                            PDJQHW 
                                         PHDQW 
                            PDLQ 
                                                 
                            PDLQWDLQ 
                                    PDWHULDOL]HG         PHFKDQLVP
                              
                                                       
                            PDMRUHG 
                                      PDWHULDOV     PHGLD 
                            PDMRULW\ 
                                              
                            PDNHU 
                                      PHGLFDWLRQ 
                              
                                   PDWWHU      PHHW 
                            PDNLQJ 
                                                 PHHWLQJ 
                              
      ORWV                                     
                              
                                           
                            PDOGRQDGR 
                                               PHHWLQJV 
                            PDQ 
                                                       

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1037
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 269 of 294 Page ID
                                    #:2563

     >PHHWLQJVQHHG@                                                             3DJH

              PLQXWH                 
                             
                                       
      PHJKDQ                       PXUUD\ 
      PHPEHUV        PLQXWHV                 
                             
                                       
      PHPRULDOL]H                   PXUUD\ V 
                             
                      PLUDQGD                             Q
      PHPRULDOL]LQJ        PLVFHOODQHRXV          
                                                                       Q 
                                   
                                                                       QDPH 
      PHQWLRQ     PLVFKDUDFWHUL]HV      PRQWH 
                                                                         
      PHQWLRQHG                
                                                                         
                           
                                                                         
                         
                                                                         
               PLVVHG            
                                                                       QDPHG 
                PLVVLQJ           
                                                                       QDPHV 
                                PRQWKV 
                                                                         
      PHQWLRQV                 
                                                                         
      PHUHO\          PLVVLRQ          
                                                                       QDWXUH 
                               PRUQLQJ 
                                                                         
      PHW          PLVVLRQV         
                                                                       QDYLJDWH 
                     PLVVWDWHG         
                                                                       QFLF 
      PHWKRG          PLVWDNH          PRWLRQ 
                                                                         
      PH[LFR     PLVWDNHV         PRWLYDWHG 
                                                                       QHFHVVDULO\ 
      PLFKDHO           PL[       PRWLYDWLRQ 
                                                                         
      PLFKLJDQ        PL[HG           PRYH 
                                                                         
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      PLGQLJKW       PRPHQW             
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      PLOHV                            
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      PLOOLRQ        PRQH\        PRYLQJ 
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      PLQLPDOO\                 PXOWLSOH 
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                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 270 of 294 Page ID
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     >QHHGREMHFWLRQV@                                                            3DJH

            QHZ                        QXWV 
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                 QHZVSDSHUV       QRWLFHV         QY 
              QLJKW           QRWLFLQJ                   R
                QLQH             QRWLILFDWLRQ
                                                                         RDWK 
                  QRDK             
                                                                         REMHFW 
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      QHVWV                      
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      QHYDGD        QRWHERRN         
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                   QRWHG            
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      QHYHU               QXPEHUV 
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                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 271 of 294 Page ID
                                    #:2565

     >REMHFWLRQVRND\@                                                           3DJH

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      REMHFWLYH        RIILFLDOV                  
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      REVFXUH                                 
      REVWUXFWHG      RK             
      REWDLQHG                      
      REYLRXVO\                      
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      RFFXUULQJ                          
      RGG                                
      RGRU                            
      RGRUV                           
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                                      Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 272 of 294 Page ID
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     >RND\SDJHV@                                                                  3DJH

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                                                                         SDFN 
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      RPQLEXV               RYHUODSSHG 
                                                                           
                               RYHUO\ 
                                                                           
      RQFH                 RYHUVDZ 
                                                                           
                           RYHUVHH 
                                                                           
            RSLQLRQ          RYHUVHHLQJ 
                                                                           
                       RYHUYLHZ 
                                                                           
                                RYHUZKHOPLQJ
                                                                           
               RSSRUWXQLW\         
                                                                         SDJHV 
                                    RZQHG 
                                                                           
        
                                                                           

                                        Exhibit K
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1041
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 273 of 294 Page ID
                                    #:2567

     >SDQQHWRQSHUVRQDO@                                                          3DJH

      SDQQHWRQ                 SDXO            
      SDSHU                            
                              
                                      
                                SDXO V             
      SDSHUV                  SD\                
                      SD\PHQW           
                               SD\PHQWV        SHRSOH V 
      SDSHUZRUN                  SG        SHUFHQW 
                                  SHUFHQWDJH 
                                 
              SDUWLDOO\              
            SDUWLFLSDQWV                  SHUIHFW 
                    SDUWLFLSDWH     SGI        SHULPHWHU 
      SDSHUZRUNV             SDUWLFLSDWHG         SHDUVRQV           SHULRG 
                                SHQDOW\            
      SDUDJUDSK                       SHQGLQJ             
               SDUWLFLSDWLQJ        SHRSOH       SHULRGLFDOO\ 
                             SHUMXU\ 
                 SDUWLFLSDWLRQ         SHUNLQV 
                       SDUWLFXODU              SHUVRQ 
      SDUDJUDSKV                         
      SDUDOHJDO                       
                                        
      SDUDOHJDOV        SDUWLFXODUO\             
                             
                                  
                SDUWLHV                   
      SDUFHO                                    
                       SDUWQHUV                
      SDUHQWKHVLV            SDUWV               
                                        
      SDUW                                  
            SDUW\              
                              
               SDVV                        
              SDVVDJHV                
             SDVVHG                  SHUVRQ V 
                 SDVVSRUW               
              SDVVSRUWV            SHUVRQDO 
                                      

                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         1042
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 274 of 294 Page ID
                                    #:2568

     >SHUVRQDOSRVVLEOH@                                                           3DJH

                                       SODLQWLIIV       
      SHUVRQDOO\         SKRWRJUDSKV                     
                            SODQ         
                              SRLQWLQJ 
                                  SROLDN 
                                             
      SHUVRQQHO          SKRWRV                            SROLFH 
              SKUDVH           SODQH             
                                 SODQQHG            
               SKUDVHG                            
              SK\VLFDO         SODQQLQJ          
                                         SROLFLHV 
      SHUVRQV       SLFN                      SROLF\ 
                       SLFWXUH                   
      SHUVSHFWLYH                          
      SHUWDLQV                           
      SHVR              SLFWXUHV         SODQV             
      SHWLWLRQ                         SOHDVH      SROLWLFV 
      SKDVH            SLHFH           SRRUO\ 
                                  SRSSHG 
                                      SRSSLQJ 
      SKDVHV                                  
      SKRHQL[          SLHFHV            SRUWDEOH 
      SKRQH                                   SRUWLRQ 
                 SLOH               
                                                
      SKRWR            SLOLQJ                     SRUWLRQV 
      SKRWRFRS\        SLWFKHG                      
                       SODFH                  SRVHV 
      SKRWRJUDSK                SOXJ               
                       SOXUDO            
                      SOXV       SRVLWLRQ 
      SKRWRJUDSKHG                  SRFNHW              
                               SRFNHWV             
                       SODFHG           SRLQW        SRVVHVVLRQ 
      SKRWRJUDSKHU                            
                       SODFHV                      SRVVLELOLW\ 
      SKRWRJUDSKHUV          SODLQ              SRVVLEOH 
                                       
      SKRWRJUDSKLQJ          SODLQWLII                 
                                              

                                       Exhibit K
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1043
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 275 of 294 Page ID
                                    #:2569

     >SRVVLEOHSURFHGXUDO@                                                          3DJH

                  SUHSDUHG         SULPDULO\          
                                          
      SRVVLEO\           SUHSDUHV         SULPDU\            
                                                        
      SRVW               SUHSDULQJ                       
      SRVWDO                      SULQFLSDOV         
                  SUHVHQFH                          
                       SULRU        
                                    SULYLOHJH 
                   SUHVHQW                    
      SRVWHG                    SULRULW\          
                             SULYDF\        
      SRWHQWLDO                                 
                                           
                                SULYDWH     SULYLOHJHG 
                    SUHVHQWDWLRQ                    
                                     SUREDEOH 
      SRWHQWLDOO\          SUHVHQWDWLRQV                 
                                     SUREDEO\ 
              SUHVHUYH                
                                
      SRZGHU\              SUHVVXUH               
                          SUHWHQG                  
      SRZHUSRLQW          SUHWW\            
                                    
      SUDFWLFDO                      
                                         
                                     
      SUDFWLFH                            
                                       
                   SUHYHQW                 SUREDWLRQDU\ 
      SUDFWLFHG                               SUREOHP 
      SUDFWLFHV           SUHYLRXV                
                                                       
      SUHFLVH             SUHYLRXVO\                   
                                      
      SUHIHU                                SUREOHPV 
      SUHSDUH                                
                                    
                         SULFH                     SURFHGXUDO 
                                                                  

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 276 of 294 Page ID
                                    #:2570

     >SURFHGXUDOO\SXUSRVH@                                                        3DJH

      SURFHGXUDOO\             SURSHUO\         SURWHFWLRQ 
      SURFHGXUH                            SURWHFWLYH 
                       SURSHUW\         SURWHFWV 
                            SURYH 
                                  
                            SURYHG 
                                       SURYLGH 
      SURFHGXUHV                           
                                
                              
      SURFHHG                           
                                    
      SURFHHGHG                        
      SURFHHGLQJ                          SURYLGHG 
                                        
      SURFHHGLQJ V                               
                                        
      SURFHHGLQJV                      SURYLGHV 
                                   
                             
            SURFHVVHG                 SURYLGLQJ 
                                   SUR[LPLW\ 
                                    SUXGHQW 
                       SURFHVVHV                
      SURFHHGV       SURFHVVLQJ              SXEOLF 
                                   
                                         
                 SURFHVVLQJV                SXEOLVKHG 
                 SURGXFH          SURSRVHG         SXOO 
                              SURSRVLQJ       SXUFKDVHV 
                 SURGXFHG         SURWHFW       SXUSRUW 
                                        
            SURIHVVLRQDO                   SXUSRVH 
                                      
                SURILWV                   
                 SURJUDP           SURWHFWHG        
      SURFHVV                                 
             SURJUHVV                    
           SURMHFW         SURWHFWLQJ       
              SURSHU                       
                                                          

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          1045
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 277 of 294 Page ID
                                    #:2571

     >SXUSRVHVUHFHLYHG@                                                         3DJH

      SXUSRVHV                            
                  TXRWH          
                            
                                 
                    TXRWHG             
                                U             
      SXUVXDQW                                    
                                                  U 
                                           
                                                  UDFHV 
                                                   
                                                  UDFN 
      SXUVXH                                       
                                                  UDLVH 
                                                         
                                                    
      SXVK                                           
                                                  UDQ 
      SXW                                         
                                                    
                                               
                                                  UDUH 
                                             
                                                  UHDFK 
                                             
                                                    
                                       UHDOP 
                                                    
                                                 UHDVRQ 
                                                  UHDFKHG 
                                                 
                                                  UHDG 
                                             
                                                    
                                                 
                                                    
                                            
                                                    
                                           
                                                    
                                                     UHDVRQDEO\ 
                                                    
                TXHVWLRQLQJ                          UHDVRQV 
                                                    
      SXWWLQJ                                               
                                                    
                TXHVWLRQV                               
                                                    
                                          UHFDOO 
                                                    
               T                                          
                                                    
                                                               
      TXDOLW\                                
                                                              
                                            UHDGLQJ 
                                                             
      TXDQWLFR                              
                                                              
                                    UHDGV 
                                                              
                                UHDG\ 
                                                                   
                                    UHDO 
                             TXLFN                                 UHFDOOLQJ 
                                                
                                                           UHFHLSW 
      TXDUWHU                                   
                             TXLFNO\                               UHFHLYH 
      TXHU\                                 UHDOLW\ 
                                                          
      TXHU\LQJ                              UHDOL]HG 
                             TXLWH                           UHFHLYHG 
      TXHVWLRQ                           UHDOO\ 
                                                         
                                  

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1046
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 278 of 294 Page ID
                                    #:2572

     >UHFHLYHUUHVROYH@                                                           3DJH

      UHFHLYHU       UHFRUGV         UHLQIRUFH        UHSRUW 
                          UHODWHG            UHSRUWHG 
                UHFUXLW         UHODWHV          UHSRUWHU 
      UHFHLYHUVKLS           UHFXUUHQFH       UHODWLRQVKLS            
                UHGDFWHG                          
                                         UHODWLYH          
      UHFHLYHV          UHGDFWLRQV      UHOHDVH          UHSRUWLQJ 
                     UHGXQGDQFLHV          UHOHDVHG           
      UHFRJQL]H                   UHOHYDQFH        UHSRUWV 
                                     UHOHYDQF\         
      UHFRJQL]LQJ       UHGXQGDQF\                       UHSUHVHQW 
                                  UHOHYDQW           
      UHFROOHFWLRQ      UHIHUHQFH       UHOLDEOH           
                                 UHPDLQV         UHSUHVHQWDWLRQ
                        UHIHUHQFHG      UHPHPEHU           
      UHFRPPHQGV             UHIHUUHG                UHSUHVHQWHG 
                UHIHUULQJ               UHSUHVHQWLQJ 
      UHFRQFHLYHG                     UHSV 
      UHFRQFLOH                                UHSXWDWLRQ 
      UHFRQQHFW        UHIOHFW                   UHTXHVW 
      UHFRUG          UHIOHFWHG       UHPRWH        UHTXHVWHG 
               UHIUHVK           UHPRWHO\        
              UHIXVH                   UHTXLUH 
             UHJDUG                             
                    UHPRYH          UHTXLUHG 
                                               UHTXLUHPHQWV
            UHJDUGLQJ        UHPRYHG           
                   UHPRYHV       UHTXLUHV 
                        UHQR        
                                UHQW              
                UHJDUGV          UHQWDO          
                 UHQWHG          UHTXLVLWH 
                                      UHVLGHQFH 
              UHJXODU     UHQWHUV           
                                         UHVLGHQWLDO 
      UHFRUGHG                        UHSKUDVH        
                       UHJXODULW\             
      UHFRUGLQJ       UHJXODUO\                 
                                             UHVROXWLRQ 
      UHFRUGLQJV                        UHSODFHG         UHVROYH 
                                                                      

                                       Exhibit K
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1047
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 279 of 294 Page ID
                                    #:2573

     >UHVROYHGURGJHUV@                                                          3DJH

      UHVROYHG         UHYLHZHG               
      UHVROYLQJ                            
      UHVRXUFH                        
                       UHYLHZLQJ                  
      UHVRXUFHV       UJN                   
      UHVSHFW          ULFDUGR                   
               ULFK                   
                                   
                              
                ULFKDUG                 
           ULJKW                  
      UHVSRQG                      
      UHVSRQVH                    
                                  
      UHVSRQVHV                       
      UHVSRQVLEOH                      
      UHVW                               
      UHVXOWHG                           
      UHVXOWLQJ                            
      UHWDLQHG                        
      UHWLUHG                        
      UHWXUQ               ULJKWV       
                  ULQJV             
                      URDG                
      UHWXUQHG              URE                
                        UREEHU\            
                          UREHUW         
      UHWXUQLQJ                                
      UHXQLWLQJ             URG               
      UHYHDO               URGJHUV       
                               
      UHYHDOLQJ                         
                                     
      UHYHDOV                          
      UHYLHZ                          
                           
                        
                                
                          
                                  
                                           

                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1048
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 280 of 294 Page ID
                                    #:2574

     >URGJHUVVHH@                                                                 3DJH

                      VFRWW            
                                      VFUDWFK           VHDUFKLQJ 
      UROH       VDIHNHHSLQJ                             
                                   VFUHHFKLQJ       VHFRQG 
                 VDIHO\           VFUHHQ        
                                      
              VDIHW\                       
                                  VFUROO       
      UROO                         VFUROOLQJ       
      UROOV          VDOHV           VHDO          
      URRP               VDQ                                  
                        VDQWD             VHDOHG             
      URXJKO\           VDU                       VHFRQGDU\ 
                        VDZ        VHDOLQJ           VHFUHWH 
      UXEEHU                                       VHFUHWLQJ 
      UXL]                 VD\LQJ     VHDUFK           VHFWLRQ 
      UXOH                        
      UXOHV                       
                                VHFXUH 
      UXQ                           
                              
                 VD\V              VHFXUHG 
                                     
                                 VHFXULQJ 
                                      VHFXULW\ 
                                   
                                       
      UXQQLQJ                           VHH 
                                  
      UXQV                                    
      U\DQ        VFDQ                     
                        VFDQQHUV                  
                V             VFHQDULR                 
                              VFHQH                    
      VDFUDPHQWR 
                              VFKHGXOH                   
      VDIH 
                              VFKHGXOHG                  
        
                                                         
        
                              VFKHGXOLQJ       VHDUFKHG          
        
                              VFKRRO         VHDUFKHV            
        
                                            
        
                                                               
        

                                         Exhibit K
                                         9HULWH[W/HJDO6ROXWLRQV
                       aaa
                                            1049
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 281 of 294 Page ID
                                    #:2575

     >VHHVLWXDWLRQ@                                                                 3DJH

                                  VKRZV 
                                         VKUHGGHG 
                                        VKXW 
                          VHWV            VKXWWHULQJ 
                           VHWWOHPHQW        VLGH 
      VHHGV                       VHYHQ           VLJQ 
      VHHLQJ                                   VLJQDWXUH 
                            VKDNLQJ             
      VHHN                       VKDUH           VLJQDWXUHV 
      VHHQ                   VKDUHG        
                                               
                             VKDULQJ         VLJQLILFDQW 
                                                  VLJQLQJ 
      VHL]H           VHL]XUHV        VKHHW            VLP 
                VHQG      VKHULII V     VLPLODU 
                                              
                    VHQGLQJ                   VLPLODUO\ 
      VHL]HG         VHQLRU                           
               VHQVH        VKLIW           VLPSO\ 
                                        
                                VKLIWV          VLPXOWDQHRXVO\
                                          
                                        VLQJOH 
                VHQW      VKRS           
                                   VKRSOLIWLQJ        
                          VHQWHQFH         VKRUW      VLU 
      VHL]LQJ                                  VLV\SKHDQ 
                                VLW 
                           VHQWLQHO                          
      VHL]XUH                         VKRXOGHU         VLWH 
               VHSDUDWH         VKRZ          
                               
                                      
                                
                                         
                 VHSDUDWHO\                        
                                  VKRZHG       VLWWLQJ 
                    VHULDO                VLWXDWLRQ 
                    VHW                           
                             VKRZLQJ        
                                              

                                           Exhibit K
                                           9HULWH[W/HJDO6ROXWLRQV
                         aaa
                                              1050
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 282 of 294 Page ID
                                    #:2576

     >VLWXDWLRQVSHFXODWLRQ@                                                        3DJH

                       VROYH                   
      VLWXDWLRQV                                  
              VROYHG                             
             VRPHERG\       VRXJKW             
                       VRXQG            VSHFLDOLVWV 
                               VRXQGHG           VSHFLDOL]HG 
      VL[            VRXQGV       VSHFLDOW\ 
                              VSHFLILF 
                                    
      VL[WHHQ        VRPHERG\ V                    
      VL]H                               
                       VRPHRQH V                   
      VNLOO                                 
      VNLOOV      VRPHSODFH                 
                   VRUU\                 
      VOHHS                               
                                             
      VOLGHV                  VRXUFH        
      VOLJKW                  VRXWKZHVW        VSHFLILFDOO\ 
      VOLJKWO\                                        
                          VRYHUHLJQW\              
      VOLS                                     
                            VSDFH               
      VORZ                                   
      VPDOO       VRUW                
      VPDOOHU                     VSDQQHG          VSHFLILFLW\ 
      VPHOO                      VSHDN          
      VPHOOV                               VSHFLILHG 
                            VSHDNLQJ           VSHFLI\ 
      VQDIXV                       VSHFXODWH 
      VQHDN\                            VSHFXODWLRQ 
      VQLWNR                 VSHDNV             
                                               
      VRFLDO                                      
      VRLO                   VSHFLDO         
      VROHO\                            
                                       
      VROLG                           
      VROXWLRQ                            
      VROXWLRQV                     
                               

                                       Exhibit K
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1051
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 283 of 294 Page ID
                                    #:2577

     >VSHHFKVXSSRVHG@                                                           3DJH

      VSHHFK         VWDUWLQJ         VWUHHWV     VXJJHVWV 
                                              
      VSHHG                    VWUHVVIXO        VXLWH 
      VSHOOLQJ        VWDWH       VWULNH         VXPPHU 
      VSHQG                    VWULYH            
      VSLGHUPDQ               VWURQJ             
                                 VWURQJO\           
      VSRNH                    VWUXFN              
                     VWDWHG      VWUXJJOLQJ        
      VSRNHQ          VWDWHPHQW       VWXG\            VXPPLW 
      VSRQVRUHG                 VWXII      VXSHU 
                                           VXSHUVHGHG 
      VSRUHV           VWDWHV                   
      VSRW                                  VXSHUYLVLRQ 
      VSUHDGVKHHW          VWXII V         VXSHUYLVRU 
                      VWXIIHG           
             VWDWXV          VXE       
      VSULQJ     VWD\          VXEMHFW        
      VTXDG       VWHDO                         
            VWHQRW\SH                    
               VWHS                       VXSHUYLVRU\ 
                               VXEMHFWV           
      VTXDUH         VWHSV       VXEPLWWHG       VXSSOHPHQWDO
      VV                   VXEPLWWLQJ        
      VWDFN    VWLFN             VXESDUW            
      VWDII           VWROHQ        VXEVHTXHQW        
      VWDPS           VWRS        VXEVWDQFH           
      VWDPSHG                               
      VWDQG                            
      VWDQGDUG       VWRSV      VXEVWDQWLDOO\         VXSSRUW 
                                       
      VWDQGV    VWRUDJH                   
      VWDUW    VWRUF                                  
           VWRUH      VXEVWDQWLYH        
              VWRUHG               VXSSRUWLQJ 
                                VXFFHVVIXO        
               VWRULQJ          VXJJHVW         VXSSRVHG 
              VWUDLJKW                            
      VWDUWHG    VWUHHW        VXJJHVWLQJ        
                                      


                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1052
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 284 of 294 Page ID
                                    #:2578

     >VXSSRVHGO\WHDP@                                                             3DJH

      VXSSRVHGO\      V\VWHP          WDNHQ          
      VXSUHPH                                   
      VXUH                          
                                    
                                  
                                     
                      W                       
                                               
                            W 
                                               
                            WDEOH 
                                  WDNHV         
                            WDEOHV 
                                                   WDVNHG 
                            WDFWLFDO 
                                      WDON         
                              
                                             WDXJKW 
                              
                                            WHDFK 
                            WDFWLFV 
                                              
                            WDJ 
                                           
                              
                                                   
                            WDJJHG 
                                              
                              
                                                      WHDFKLQJ 
                            WDNH 
                                     WDONHG         WHDP 
                              
                                              
                              
      VXUSULVHG                                      
                              
      VXUURXQGLQJ                                            
                              
                                                         
                              
      VXUYHLOODQFH                                        
                              
                                                   
                              
      VXVDQ                                         
                              
                                              
                              
                                            WDONLQJ             
                              
      VXVSHFW                                   
                              
      VXVSLFLRXV                                     
                              
                                                        
                              
      VZDSSLQJ                                           
                              
      VZHDU                                      
                              
      VZHDULQJ                                        
                              
                                                           
                              
      VZLWFK                              WDSH               
                              
                                            WDSHG              
                              
      VZLWFKLQJ                              WDVN        
                              
      VZRUQ                                      
                              
                                               
                              

                                     Exhibit K
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 285 of 294 Page ID
                                    #:2579

     >WHDPVWKUHH@                                                                  3DJH

      WHDPV       WHOOHU V        WKHVDXUXV           
               WHOOLQJ    WKLHI           
                                                
                 WHPSRUDULO\      WKLQJ          
                                                    
      WHFK        WHPSRUDU\               
                                                
      WHFKQLFDO          WHQ                  
                                 
                                              
      WHFKQLFLDQV                                    
      WHFKQLTXH           WHQG                         
                WHUP                  
                                              
      WHFKQLTXHV                                      
      WHFKQRORJLFDOO\         WHUPV                 
                                                   
      WHFKQRORJ\                     WKLQJV           
                                             
      WHFKV             WHUUL            
                 WHVWLILHG                     
                                              
      WHOHSKRQH         WHVWLI\                 
                        WHVWLI\LQJ                 
      WHOO        WHVWLPRQ\                     
                           WKLQNLQJ 
                                 
             WH[DV                      
             WKDQN                 WKLUG 
                  WKLQN     WKLUGV 
                                  WKLUW\ 
                              WKRPSVRQ 
                                 WKRURXJK 
                                  
                                WKRXJKW 
                                        
                WKDQNIXOO\                   
              WKHIW                
                             WKUHH 
                                
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                                         Exhibit K
                                         9HULWH[W/HJDO6ROXWLRQV
                       aaa
                                            1054
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 286 of 294 Page ID
                                    #:2580

     >WKUHHWZR@                                                                    3DJH

                          WUDFH             WULSSHG 
                        WUDFN          WURXEOH 
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      WKUHVKROG                        WUDF\              WUXH 
      WKURXJKSXW       WLPHOLQH          WUDGH               
      WKXPE       WLPHV        WUDGLQJ             
                        WUDIILF             
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                                               
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                          WUDLQ         
      WLJHUV                  WUDLQHG      WU\ 
      WLPH                          
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             WRGD\                     
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             WROG                 
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              WRS         WUDLQLQJV          
                                     WXUQHG 
              WRSLF            WUDQVFULSW         
              WRSLFV                             WXUQV 
            WRVVHG             WUDQVIHUUHG         
           WRWDO            WUDQVJUHVV         WZLFH 
            WRWDOLW\          WUDYLV              WZR 
                            WUHDW              
             WRWDOO\          WUHDWHG            
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                                  WULDJH          
             WRXFK                                 
                                                                

                                       Exhibit K
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1055
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 287 of 294 Page ID
                                    #:2581

     >WZRXVSY@                                                                 3DJH

                           XQLWV 
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                            XQLYHUVLW\ 
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      W\OHU                              XVH 
      W\SH                      
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      W\SHV             XQGHUVWDQGLQJ        
                                        
      W\SLFDO         XF                     
               X            XK                  
                                    XQGHUVWRRG         
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                                                      
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                            XOWLPDWHO\     XQGHUWDNHQ            XVS 
        
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        
                            XPEUHOOD        XQGHUWDNLQJ             
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        
                            XQFOHDU         XQIHDVLEOH        
        
                            XQFRXQWHG       XQIROG              
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                            XQGHUFRYHU      XQLGHQWLILHG        
        
                            XQGHUO\LQJ       XQLRQ             
        
                                      XQLW    XVSY 
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                            XQGHUVWDQG     XQLWHG         
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                                      Exhibit K
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 288 of 294 Page ID
                                    #:2582

     >XVXDOYV@                                                                     3DJH

      XVXDO             YDULRXV                      
      XVXDOO\                        
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                YDVTXH]                  
                                           
      XWLOLW\        YDVW                               
               Y             YDXOW       YHUEDO             YLGHRJUDSKHUV
                                  YHUEDOO\             
      YD 
                                       YHUGRQ              YLGHRV 
      YDJXH 
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        
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      YDOXDEOH 
                                      YHUVR]D          YLGHRWDSHV 
        
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        
                                     YHUVXV       YLGHRWDSLQJ
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      YDOXDEOHV 
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      YDOXH 
                                      YLGHRFRQIHUHQFH          
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                                                 YROXQWHHUHG
      YDULDWLRQ 
                                                   
      YDULDWLRQV 
                                      YLGHRJUDSKHU       YV 
      YDULHG 
                                          
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                                      Exhibit K
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                    aaa
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 289 of 294 Page ID
                                    #:2583

     >ZDLWZLWQHVV@                                                                 3DJH

              Z                    ZDUUDQWV           
                                        ZHHNV 
      ZDLW 
                                           ZHQW 
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      ZDLYHG 
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     >ZLWQHVV]RRP@                                                               3DJH

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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 291 of 294 Page ID
                                    #:2585


                       &DOLIRUQLD&RGHRI&LYLO3URFHGXUH

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            DOOSDUWLHVDWWHQGLQJWKHGHSRVLWLRQZKHQWKH

            2ULJLQDOWUDQVFULSWRIWKHWHVWLPRQ\IRUHDFK

            VHVVLRQRIWKHGHSRVLWLRQLVDYDLODEOHIRUUHDGLQJ

            FRUUHFWLQJDQGVLJQLQJXQOHVVWKHGHSRQHQWDQG

            WKHDWWHQGLQJSDUWLHVDJUHHRQWKHUHFRUGWKDWWKH

            UHDGLQJFRUUHFWLQJDQGVLJQLQJRIWKHWUDQVFULSW

            RIWKHWHVWLPRQ\ZLOOEHZDLYHGRUWKDWWKH

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            WKHWHVWLPRQ\ZLOOWDNHSODFHDIWHUWKHHQWLUH

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            ZULWLQJWRDORQJHURUVKRUWHUWLPHSHULRGWKH

            GHSRQHQWPD\FKDQJHWKHIRUPRUWKHVXEVWDQFHRI

            WKHDQVZHUWRDTXHVWLRQDQGPD\HLWKHUDSSURYH

            WKHWUDQVFULSWRIWKHGHSRVLWLRQE\VLJQLQJLWRU


                                  Exhibit K
                                    1060
             
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 292 of 294 Page ID
                                    #:2586


            UHIXVHWRDSSURYHWKHWUDQVFULSWE\QRWVLJQLQJLW

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            GHSRQHQWPD\FKDQJHWKHIRUPRUWKHVXEVWDQFHRI

            WKHDQVZHUWRDQ\TXHVWLRQDQGPD\DSSURYHRU

            UHIXVHWRDSSURYHWKHWUDQVFULSWE\PHDQVRID

            OHWWHUWRWKHGHSRVLWLRQRIILFHUVLJQHGE\WKH

            GHSRQHQWZKLFKLVPDLOHGE\FHUWLILHGRUUHJLVWHUHG

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            UHIXVLQJWRDSSURYHWKHWUDQVFULSW

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            WKHWUDQVFULSWZLWKLQWKHDOORWWHGSHULRGWKH


                                  Exhibit K
                                    1061
             
Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 293 of 294 Page ID
                                    #:2587


            GHSRVLWLRQVKDOOEHJLYHQWKHVDPHHIIHFWDVWKRXJK

            LWKDGEHHQDSSURYHGVXEMHFWWRDQ\FKDQJHVWLPHO\

            PDGHE\WKHGHSRQHQW

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            VHDVRQDEOHPRWLRQWRVXSSUHVVWKHGHSRVLWLRQ

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            UHDVRQVJLYHQIRUWKHIDLOXUHRUUHIXVDOWRDSSURYH

            WKHWUDQVFULSWUHTXLUHUHMHFWLRQRIWKHGHSRVLWLRQ

            LQZKROHRULQSDUW

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            DJDLQVWDQ\SDUW\SHUVRQRUDWWRUQH\ZKR

            XQVXFFHVVIXOO\PDNHVRURSSRVHVDPRWLRQWR

            VXSSUHVVDGHSRVLWLRQXQGHUWKLVVHFWLRQXQOHVV

            WKHFRXUWILQGVWKDWWKHRQHVXEMHFWWRWKH

            VDQFWLRQDFWHGZLWKVXEVWDQWLDOMXVWLILFDWLRQRU

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                                  Exhibit K
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Case 2:21-cv-04405-RGK-MAR Document 112-19 Filed 07/19/22 Page 294 of 294 Page ID
                                    #:2588
                      VERITEXT LEGAL SOLUTIONS
            COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

       Veritext Legal Solutions represents that the
       foregoing transcript is a true, correct and complete
       transcript of the colloquies, questions and answers
       as submitted by the court reporter. Veritext Legal
       Solutions further represents that the attached
       exhibits, if any, are true, correct and complete
       documents as submitted by the court reporter and/or
       attorneys in relation to this deposition and that
       the documents were processed in accordance with
       our litigation support and production standards.

       Veritext Legal Solutions is committed to maintaining
       the confidentiality of client and witness information,
       in accordance with the regulations promulgated under
       the Health Insurance Portability and Accountability
       Act (HIPAA), as amended with respect to protected
       health information and the Gramm-Leach-Bliley Act, as
       amended, with respect to Personally Identifiable
       Information (PII). Physical transcripts and exhibits
       are managed under strict facility and personnel access
       controls. Electronic files of documents are stored
       in encrypted form and are transmitted in an encrypted
       fashion to authenticated parties who are permitted to
       access the material. Our data is hosted in a Tier 4
       SSAE 16 certified facility.

       Veritext Legal Solutions complies with all federal and
       State regulations with respect to the provision of
       court reporting services, and maintains its neutrality
       and independence regardless of relationship or the
       financial outcome of any litigation. Veritext requires
       adherence to the foregoing professional and ethical
       standards from all of its subcontractors in their
       independent contractor agreements.

       Inquiries about Veritext Legal Solutions'
       confidentiality and security policies and practices
       should be directed to Veritext's Client Services
       Associates indicated on the cover of this document or
       at www.veritext.com.




                                  Exhibit K
                                    1063
